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                             EXHIBIT 2
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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division

   CENTER FOR WORKPLACE COMPLIANCE
   (f/k/a EQUAL EMPLOYMENT ADVISORY
   COUNCIL),
   Plaintiff,

   v.                                              Case No. 1:20-cv-01387-AJT-JFA

   LITTLER MENDELSON, P.C., LANCE E. GIBBONS,
   THERESA GOKTURK (a/k/a CHRIS GOKTURK), and
   DOE DEFENDANTS 1-10, INCLUSIVE,

   Defendants.                                     JURY TRIAL DEMANDED


                      FIRST SECOND AMENDED COMPLAINT
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            Plaintiff non-profit Center for Workplace Compliance (“CWC,” “Association,” or

  “Plaintiff”), by and through their undersigned counsel, brings this action against Defendants Littler

  Mendelson, P.C. (“Littler”), Defendant Littler Shareholder Lance E. Gibbons (“Gibbons”), and

  Defendant Littler Principal Theresa Gokturk (a/k/a Chris Gokturk) (“Gokturk” or “Chris Gokturk”)

  (collectively, “Littler Defendants”), on the grounds and seeking the relief as set forth below:

                                             I.      INTRODUCTION

            1.     This case involves the misappropriation of a voluminous amount of CWC’s

  intellectual property and information that was infringed and unlawfully obtained by, and used for the

  benefit and profit of, Defendant Littler.              As set forth below, the recurring and extensive

  misappropriation of CWC’s intellectual property by the Littler Defendants occurred each and every

  month during the seventeen months from November 2018 through March 2020.1

            2.     For more than forty years, Plaintiff non-profit CWC has been serving its member

  employers by helping them understand and manage their workplace compliance requirements and

  risks, primarily but not exclusively in the areas of equal employment opportunity and affirmative

  action.

            3.     For just as long, the Association’s membership eligibility rules have prohibited law

  firms, consulting firms, and certain other organizations who provide employers with workplace legal

  and compliance services from becoming Association members, and from accessing the restricted

  content from the CWC’s password-protected and member-restricted website (“CWC Members-Only

  Site”) generated exclusively for the benefit of CWC’s member employers and paid for by their

  membership dues.2



  1
    See Exhibit A (List of CWC Information Obtained by the Littler IP Address), attached hereto and incorporated herein;
  see also Exhibit B (CWC Copyright Registrations), attached hereto and incorporated herein.
  2
    See Exhibit C (CWC Membership Application), attached hereto and incorporated herein.
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          4.       Given the Association’s clear and longstanding rules prohibiting law firms from

  accessing its member-restricted content, CWC was surprised to discover that one or more users

  operating through an IP address belonging to Defendant Littler, self-described as “the largest global

  employment and labor law practice, with more than 1,500 attorneys in 80 offices worldwide,”3 had

  been used to download and infringe what was initially believed to be a limited number of member-

  restricted materials from the CWC Members-Only Site.

          5.       The scale and scope of this unlawful conduct from the Littler IP address was

  extraordinary. Over the course of approximately seventeen (17) months beginning at least by

  November 16, 2018, Defendant Littler’s servers were used to unlawfully obtain CWC Members-Only

  Site materials approximately four hundred forty-twotwenty-six (442426) times, and to unlawfully

  infringe CWC works approximately four hundred and twenty seventeen (420417) times. The period

  of infringement and obtaining CWC information spanned 489 days. This misappropriated content

  consisted of proprietary and member-restricted materials more than 2,100 pages including

  memoranda, templates, checklists, guides, and other resources that CWC produced for the exclusive

  use and benefit of its member employers.

          6.       Further infringement of other materials was uncovered.                     CWC discovered that

  Defendant Littler’s recurring misappropriation of CWC’s intellectual property had been facilitated

  by at least two Littler representatives and agents, both of whom were former CWC staff members:

  Defendant Littler Shareholder Lance E. Gibbons, who previously served as CWC’s Assistant General

  Counsel, and Defendant Littler Principal Chris Gokturk, who previously served as CWC’s Senior

  Advisor, Compliance Solutions.


  3
   See Exhibit D (“Littler Adds Shareholder Lance Gibbons in Washington, D.C.”) (July 25, 2018) (“Littler is the largest
  global employment and labor law practice, with more than 1,500 attorneys in 80 offices worldwide.”), previously
  available at https://www.littler.com/publication-press/press/littler-adds-shareholder-lance-gibbons-washington-dc (last
  accessed on April 5, 2020), attached hereto and incorporated herein; see also note 11, infra.

                                                             2
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          7.       As former CWC staff members, both Defendant Gibbons and Defendant Gokturk were

  familiar with the proprietary nature of the CWC intellectual property, the manner in which the

  intellectual property was created, and the restrictions on its access and use.

          8.       Using Littler’s information technology and other resources, Defendants Littler,

  Gibbons, and Gokturk engaged in an extensive campaign to misappropriate, infringe and use CWC’s

  material and information in at least five distinct ways for the benefit and profit of Littler:

                   a.      First, Defendants Littler and Littler Shareholder Gibbons, using a Littler IP

  address,4 accessed, selected, obtained, viewed, downloaded, retained, printed, used, and/or infringed

  CWC’s information and copyrighted materials from the CWC Members-Only Site, which they were

  prohibited from doing so.

                   b.      Second, Defendants Littler and Littler Shareholder Gibbons used the CWC

  information and copyrighted materials that was infringed, unlawfully obtained, and downloaded to

  provide Littler clients with oral and written legal services and work product, which Littler billed for.

                   c.      Third, in 2019 Defendants Littler and Littler Principal Chris Gokturk infringed

  CWC material by using it to create derivative works, including Littler presentations shown to

  prospective and current Littler clients. For example, as further detailed below, Defendants Littler and

  Defendant Gokturk infringed the copyright in a 2017 CWC Pre-Existing Big Data Analytics

  Presentation5 by creating derivative works, including at least one Littler presentation entitled

  “Technology in Recruiting and Hiring: Hidden Legal Risks,” dated October 18, 2019 (“October 2019

  Infringing Littler Presentation”). The infringing 2019 Littler presentation falsely represented Littler

  as the original author of content copied directly from the 2017 CWC Pre-Existing Big Data Analytics


  4
   IP address, 199.108.124.252, registered to Littler in 2014 (“Littler IP address”), as further described below.
  5
   “Big Data Analytics and Artificial Intelligence: The Compliance and Diversity Implications Of Automating Early
  State Recruitment” (presented on May 12, 2017) (“2017 CWC Pre-Existing Big Data Analytics Presentation”)
  (Copyright Registration No. TX0008882252).

                                                          3
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  Presentation, and from CWC member-restricted memoranda, and were presented for purposes of

  engaging prospective and current Littler clients.

                 d.      Fourth, on March 18, 2020, Defendants Littler and Littler Shareholder Lance

  E. Gibbons accessed and obtained information from CWC’s highly confidential Connect CWC

  Collaboration Center Communication Platform which is a confidential online community for CWC

  members, and only CWC members, to share ideas, benchmark, and connect with each other, as

  described below.

                 e.      Fifth, CWC is informed and believes and, based thereon, alleges, and to be

  fully determined at trial, that all of the Littler Defendants produced an indeterminate number of

  infringing derivative works in client communications or other work product produced within the

  course and scope of Defendant Gibbons’s and Defendant Gokturk’s employment and for the benefit

  of Littler, with the actual or implied knowledge of Littler, as further described below.

         9.      With the explicit or tacit approval of Defendant Littler, Defendants Gibbons and

  Gokturk engaged in this unlawful conduct while serving as Littler representatives and agents,

  providing legal and related services, promoting and pursuing the interests and profits of Littler to

  obtain, infringe, and use CWC’s information and copyright protected materials related directly to (1)

  the practice areas of the Littler Defendants; (2) the business of Littler and legal services provided to

  prospective and current Littler clients; and (3) the areas in which Littler competes with CWC.

         10.     The Littler Defendants, using the Littler IP address and Littler resources, engaged in

  fraud to access, select, obtain, view, download, use, and/or infringe CWC’s information and

  copyrighted materials. For example, as further described below, some or all of the Littler Defendants

  individually and/or collectively have falsely represented that Littler was the original author of content

  copied from CWC materials. The relevant conduct has included a series of false and misleading



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  statements to an organization that was both a Littler client and a CWC member for the purpose of

  obtaining and retaining use of login credentials of an individual employed by that organizations to

  access the CWC Members-Only Site without authorization and in violation of CWC’s membership

  policies. In using the login credentials of another individual, the Defendants falsely represented that

  the Defendants had a CWC member account, were the account holder, and were entitled to access the

  CWC Members-Only Site. The Defendants concealing the fact that they were actually making access

  to the CWC Members-Only Site since they were ineligible to do so.

         11.     Plaintiff Center for Workplace Compliance, by and through its undersigned counsel,

  brings this action to identify, recover, and enjoin the further use of CWC’s information and

  copyrighted materials; to recover appropriate statutory, punitive and other damages and costs suffered

  as a result of the Defendants’ unlawful conduct, including reasonable attorney’s fees; and to compel

  a full accounting of all CWC information and materials, including but not limited to derivative works,

  within Littler’s possession custody or control, and that were provided to any Littler shareholders,

  associates, attorneys, principals, employees, and/or agents, or that were provided by Littler to clients

  and any other third parties, along with a full accounting of any monetary or other benefits received

  by each Defendant as a result of their unlawful acts, as set forth below.

                                            II.     PARTIES

         12.     Plaintiff CWC is a non-profit association incorporated in the District of Columbia,

  with its principal place of business at 1501 M Street, N.W., Washington, DC 20005.

         13.     Defendant Littler is a professional corporation incorporated in the State of California,

  with a principal office address of 333 Bush Street, 34th Floor, San Francisco, California, 94104.

  Littler’s Workplace Policy Institute® (WPI™) provides guidance on legislative and regulatory

  workplace issues on local, state and federal labor policy developments. (Littler and Littler’s

  Workplace Policy Institute® (WPI™) are collectively referred to herein as “Littler”). Among
                                                     5
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   Littler’s many offices are the Littler Washington, DC Office, located at 815 Connecticut Avenue NW,

   Suite 400, Washington, DC 20006, and the Littler Tysons Corner Office, located at 1650 Tysons

   Boulevard, Suite 700, Tysons Corner, VA 22102.

          14.     Defendant Lance E. Gibbons is an individual residing at 19198 Chartier Drive,

   Leesburg, Virginia, 20176, and served as a Littler Shareholder during July 25, 2018 to the beginning

   of April 2020 in the Littler Washington, DC and Tysons Corner Offices, and during June 2007 to

   July 2015 in Littler’s Pittsburgh, PA Office. From approximately October 1, 2017 to July 20, 2018,

   Defendant Gibbons served as an Assistant General Counsel of CWC, and in other roles with CWC’s

   affiliated organizations. During July 25, 2018 to the beginning of April 2020, Defendant Gibbons

   was acting as a shareholder, representative, and agent of Littler and within the course and scope of

   his employment with Littler as further described below.

          15.     Defendant Chris Gokturk is an individual residing at 4908 Montgomery Street,

   Annandale, Virginia, 22003, and since February 26, 2019 has served as a Littler Principal in the

   Littler Tysons Corner Office. During 2002 to February 2019, Defendant Gokturk served as a staff

   member of CWC and its affiliated organizations, most recently as a CWC Senior Advisor,

   Compliance Solutions. During February 26, 2019 to the present, Defendant Gokturk was acting as a

   principal, representative and agent of Littler and within the course and scope of her employment with

   Littler as further described below.

          16.     Doe Defendants 1-10 are as-yet-unidentified individuals who are Littler shareholders,

   associates, attorneys, principals, employees, and/or agents, who participated and aided and abetted in

   the counts alleged in this Complaint. CWC is informed and believes and, based thereon, alleges, and

   to be fully determined at trial, that each of the Doe Defendants is responsible in some manner for the

   events and acts alleged herein, or may have engaged in further misappropriation of CWC intellectual



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   property once the full scope of the conduct is determined, in a scope to be fully determined at trial.

   CWC will seek leave to amend the Complaint to allege the true names and capacities of Doe

   Defendants 1 to 10 when their identities are ascertained. At all times relevant, the Doe Defendants

   were acting as shareholders, associates, attorneys, principals, employees, representatives, or agents

   of Littler, and acted within the course and scope of their employment with Littler as further described

   below.

                                 III.    JURISDICTION AND VENUE

            17.   This is a civil action for damages and injunctive relief against Defendants Littler,

   Gibbons and Gokturk arising under the Copyright Act, 17 U.S.C. § 101, et seq., and against

   Defendants Littler and Gibbons under the Computer Fraud and Abuse Act, 18 U.S.C. §§

   1030(a)(2)(C), 1030(a)(4), 1030(g), and fraud, and against Defendants Littler and Gokturk under the

   Alteration or Removal of Copyright Management Information, 17 U.S.C. § 1202, brought due to the

   infringement of CWC’s copyrighted works and the unauthorized access to information.

            18.   This Court has federal question jurisdiction over Plaintiff’s Copyright Act, Computer

   Fraud and Abuse Act, Alteration or Removal of Copyright Management Information counts pursuant

   to 28 U.S.C. § 1331, and original jurisdiction over the Copyright Act claim pursuant to 28 U.S.C. §

   1338. This Court also has diversity jurisdiction over this matter pursuant to 28 U.S.C. § 1332, because

   Plaintiff CWC is a citizen of the District of Columbia, and Defendant Littler, upon information and

   belief, is a citizen of California, and Defendants Gibbons and Gokturk are citizens of Virginia, and

   the amount in controversy exceeds the sum of $75,000, exclusive of interest and costs.

            19.   This Court has supplemental jurisdiction over Plaintiff’s claim for fraud which arises

   from the same set of operative facts as at least some of Plaintiff’s counts under the Computer Fraud

   and Abuse Act, such that they form part of the same case or controversy under Article III of the

   United States Constitution, pursuant to 28 U.S.C. § 1367.
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              20.   This Court has personal jurisdiction over Littler because it (1) directly or through its

   shareholders, associates, attorneys, principals, employees, and/or agents accessed through Littler’s

   computer network infrastructure the servers that host CWC’s website, located in Ashburn, Virginia,

   including the CWC Members-Only Site that are password-protected and restricted only to CWC’s

   members, (2) maintains an office at 1650 Tysons Boulevard, Suite 700, Tysons Corner, Virginia

   22102 at which Defendant Gibbons, Defendant Gokturk, and/or Does 1-10, at least in part committed

   the acts constituting violations of the Copyright Act, Computer Fraud and Abuse Act, Alteration or

   Removal of Copyright Management Information and fraud alleged in this Complaint, and/or (3) has

   otherwise established minimum contacts with Virginia and/or this judicial district such that the

   exercise of personal jurisdiction over Littler would not offend traditional notions of fair play and

   justice.

              21.   This Court has personal jurisdiction over Defendants Gibbons and Gokturk because,

   as noted, they are both residents of Virginia and of this judicial district, and a substantial part of the

   events or omissions giving rise to CWC’s claims occurred within this district and/or a substantial part

   of the property that is the subject of the action is situated within this district.

              22.   Venue is proper in this Court as to all parties pursuant to 28 U.S.C. § 1391, as each

   Defendant is subject to personal jurisdiction in this district and a substantial part of the events or

   omissions giving rise to this action occurred in this district. Venue for the Copyright Act and

   Alteration or Removal of Copyright Management Information counts also is prepare in this Court as

   to all parties pursuant to 28 U.S.C. § 1400(a), Pursuant to Local Civil Rule 3 and 28 U.S.C. § 1391,

   venue is proper as to all parties in the Alexandria Division of the Eastern District of Virginia given

   that a substantial portion of the events or omissions giving rise to CWC’s claims occurred in the

   Alexandria Division of the Eastern District of Virginia, including at Littler’s Tysons Corner office,



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   and the servers hosting CWC’s website are both located in the Alexandria Division, and because

   Defendants Gibbons and Gokturk are both residents of the Alexandria Division.

                                  IV.    FACTUAL BACKGROUND

          A.      CWC Background

          23.     Founded in 1976, CWC is a non-profit association dedicated to helping its member

   employers understand and manage their workplace compliance requirements and risks. CWC is

   committed to effective labor and employment compliance, lawful diversity and inclusion efforts, and

   the sensible regulation of the U.S. workplace.

          24.     Since its founding in 1976, CWC’s membership has included and CWC has served

   hundreds of the nation’s largest employers and organizations of all sizes, including employers from

   all major U.S. sectors and industries and many Fortune 500 organizations.

          25.     For many years, CWC has held three annual conferences, including an annual Policy

   Conference (focusing on labor and employment policy and generally open only to CWC members),

   an annual Compliance Conference (concerning compliance and diversity management and generally

   open only to CWC members), and a Talent Acquisition Compliance Summit (addressing the unique

   requirements affecting talent acquisition and open to both members and non-members).

          B.      CWC Membership

                  1.     Application and Approval Process Based on Eligibility Requirements

          26.     Prospective CWC members complete an application that confirms eligibility

   requirements and provides additional information including name, company, and e-mail address. The

   membership application is reviewed by the membership services team. The CWC board of directors

   reviews and provides final approval of each new membership application before an organization is

   permitted to join the Association.



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             27.     Each CWC member employer designates a Primary Representative (or “Prime Rep”)

   to serve as the principal membership contact for the employer. Prime Reps receive “prime-rep-only”

   communications, vote on proposed changes to CWC by-laws, and manage membership renewals.

                     2.      Law Firms Are Ineligible for Membership

             28.     Law firms are expressly excluded from membership under the CWC membership

   guidelines and requirements. Specifically, CWC’s membership eligibility policy states that “[l]aw

   firms, consulting firms, and other organizations providing workplace legal and compliance services

   are not eligible for membership.”6 This policy has existed since the Association’s founding in 1976

   to prevent law firms and consulting firms from using CWC’s proprietary material to provide legal

   services for their clients and to facilitate the candid and open discussion of workplace compliance

   and risk management issues by the Association’s member employers.

             29.     For example, CWC members use CWC’s content to promote and manage their

   workplace compliance requirements and risks. Active participants employed by CWC’s members

   typically include human resource employees and in-house labor and employment attorneys focused

   on      issues   such    as   compensation,       talent    acquisition,   compliance,   equal   employment

   opportunities/affirmative action, diversity and inclusion, training and development, and related

   topics.

             30.     Unlike CWC’s member employers, who use the CWC’s materials to manage their

   workplace compliance needs, a law firm’s business is focused on providing employment-related legal

   advice, counsel, services, and representation to employers like those who are members of CWC.




   6
       See Exhibit C (CWC Membership Application).

                                                              10
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          31.     Defendant Littler, along with its shareholders, associates, attorneys, principals,

   employees, and agents, as well as Defendants Gibbons and Gokturk, are ineligible from being

   members of CWC based on the CWC’s membership restrictions.

          32.     If Littler had applied for membership, Littler would have been denied under the

   established rules governing membership. Specifically, the application would have been screened for

   eligibility, a process that includes review by CWC’s board of directors.

          33.     As former CWC staff members, both Defendant Gibbons and Defendant Gokturk were

   familiar with CWC’s membership restrictions. Because Defendants Gibbons and Gokturk were

   aware of the law firm membership restriction, they knew that Littler was ineligible for CWC

   membership.

          34.     In this case, as described below, the Littler Defendants used CWC’s information and

   materials to profit and benefit in the delivery of Defendant Littler’s legal business. Avoiding this

   type of unauthorized use of CWC’s materials—which undermines its business—is directly contrary

   to the purpose of CWC’s membership restrictions.

          C.      CWC’s Members-Only Site and Resources

          35.     For more than twenty (20) years, CWC has provided valued, timely, and proprietary

   workplace compliance information through the CWC Members-Only Site. Many of these materials

   have been provided in the form of weekly memoranda, which in the early years of the CWC

   Members-Only Site were featured through a service known as “Memos On-Line.” Members use

   CWC’s content to promote workplace compliance. Members have exclusive access to a substantial

   amount of CWC intellectual property and other information, including through the following site

   resources:

                  a.     CWC Publications/Memos On-Line: Copyright-protected memoranda and

   other materials providing topical analysis of key compliance and workplace risk issues. Weekly
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   memoranda provide updates on the latest legal, regulatory, and policy developments affecting

   employer compliance, diversity, and risk management programs.

                          (i)    An extensive library of thousands of copyrighted memoranda and other

   materials, spanning more than 20 years, can be located through a convenient search tool on the

   Association’s online publications page. The library was previously known as EEAC Memos On-

   Line.

                          (ii)   Each memorandum provides notice of the copyright restrictions such

   as:

                  Copyright 2020 by the Center for Workplace Compliance (CWC®). All rights
                  reserved. Formerly EEAC. No part of this document may be reproduced without
                  permission of CWC.

                  b.      CWC “Confidential Connect Communications Platform” or “Platform”:

   A confidential online community, available only for CWC members, to share ideas, benchmark, and

   connect with fellow members at any time. The communications are made through a secure,

   password-protected and member-restricted Connect CWC Collaboration Center Communication

   Platform. The Platform allows CWC members to privately share information and ask questions on

   various workplace compliance and diversity issues. Members communicate with each other and with

   CWC’s staff in a confidential setting that is only viewable by CWC members. In the Platform’s

   secured communications, the name of the user and their company or organization are identified along

   with a timestamp of the communication.

                  c.      CWC Compliance Tools:             Copyright-protected checklists, templates,

   policies, procedures, and guides covering a broad range of workplace compliance and diversity and

   inclusion issues. The Compliance Tools are available for the internal use of member organizations.

                  d.      CWC Data Center: An online hub of compliance and diversity benchmark

   data, federal enforcement statistics, state-level compliance requirements, and graduate diversity data.
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   Benchmark data examples include workforce demographics, educational attainment demographics,

   state standards, and enforcement agency performance.

                     e.      CWC Education and Training: A comprehensive curriculum of online,

   classroom, and customized training solutions on workplace compliance issues, made exclusively

   available for CWC members.

             36.     The CWC Members-Only Site, including the information and copyrighted

   memoranda, is exclusively available to member organizations (including member employers and

   their designated employees). CWC members have access to a comprehensive suite of resources to

   help them manage workplace compliance and risk.

             37.     Non-Members do not have access to the intellectual property and information on the

   password-protected CWC Members-Only Site. Non-Members may register and attend certain

   conferences and training programs that are open to non-Members.

             38.     As noted, organizations that are not eligible for membership include “[l]aw firms,

   consulting firms, and other organizations providing workplace legal and compliance services.”7

             39.     Access to the CWC Members-Only Site is restricted to members and their employees

   through a password-protected, members-only portion of the website located at www.cwc.org. Login

   is required to access members-only content. Access is made by logging in with the member’s

   username and password.

             40.     CWC’s copyrighted materials, including those available through the CWC Members-

   Only Site, also confirm that the content may not be reproduced or distributed to anyone outside of

   the member employer without the express written consent of CWC.




   7
       See Exhibit C (CWC Membership Application).

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            D.       Former CWC Staff Members Lance E. Gibbons and Chris Gokturk Join Littler

            41.      Defendants Gibbons and Gokturk, as former CWC staff members, were familiar with

   the proprietary nature of the CWC intellectual property, the processes used to create and protect

   CWC’s intellectual property, and the limitations on its use including on the CWC Members-Only

   Site. After Defendant Gibbons rejoined Littler as a shareholder on July 25, 2018 and Defendant

   Gokturk joined Littler as a principal on February 26, 2019, they used Littler’s “robust platform and

   resources”8 to obtain, infringe and/or use CWC’s information and copyrighted materials to benefit

   and profit Littler directly and indirectly and themselves as a Littler shareholder and principal. As

   further described below, the former CWC staff members at Littler were acting as a shareholder or

   principal, representative and agent of Littler and within the course and scope of their employment

   with Littler.

            42.      During July 2015 to July 20, 2018, Defendant Gibbons served as a staff member of

   CWC, first as Senior Counsel and later as Assistant General Counsel. As Assistant General Counsel

   at CWC, Defendant Gibbons was aware of and responsible for helping to manage the Association’s

   policies and practices concerning the protection of CWC’s intellectual property. He also had

   responsibility for workplace compliance requirements and risks including the Office of Federal

   Contract Compliance Programs (OFCCP), government contracts, anti-discrimination laws and

   affirmative action regulations, among other responsibilities.

            43.      When Defendant Gibbons resigned and departed CWC on July 20, 2018, his

   credentials and system access, including access to CWC’s computers, its network and the CWC

   Members-Only Site, were terminated and revoked. The termination was made consistent with the



   8
    See Exhibit D (“Littler Adds Shareholder Lance Gibbons in Washington, D.C.”) (July 25, 2018), previously available
   at https://www.littler.com/publication-press/press/littler-adds-shareholder-lance-gibbons-washington-dc (last accessed
   on April 5, 2020) (Defendant Gibbons noting his plans to use “Littler’s robust platform and resources to serve clients”).

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   policy that applied to departing employees and staff members, a policy with which Defendant

   Gibbons was very familiar.

           44.      During 2002 to the beginning of February 2019, Defendant Gokturk served as a staff

   member of CWC and its affiliated organizations. In this position, Defendant Gokturk provided

   services consistent with her experience in the areas of human resources compliance and data-related

   services, affirmative action plan preparation, compensation analyses, training, and OFCCP

   compliance review management.

           45.      When Defendant Gibbons rejoined Defendant Littler as a shareholder on July 25,

   2018, Littler issued a press announcement, “Littler Adds Shareholder Lance Gibbons in Washington,

   D.C.”9 highlighting Mr. Gibbon’s background, practice areas, and experience and his ability to assist

   Littler clients by using the Littler platform and resources.

                    a.       The Littler announcement emphasized Defendant Gibbons’s “extensive

   experience before the U.S. Department of Labor’s Office of Federal Contract Compliance Programs

   [OFCCP]” and his ability to assist clients “on anti-discrimination laws and affirmative action

   regulations,” “compliance with the array of employment-related requirements associated with

   government contracts, as well as in preparing for and resolving OFCCP audits,” and “other workplace

   regulatory and enforcement agencies, including the Equal Employment Opportunity Commission.”

                    b.       In the Littler announcement, Defendant Gibbons stated: “In addition to

   drawing on Littler’s robust platform and resources to serve clients, I look forward to supporting the




   9
     See Exhibit D (“Littler Adds Shareholder Lance Gibbons in Washington, D.C.”) (July 25, 2018), previously available
   at https://www.littler.com/publication-press/press/littler-adds-shareholder-lance-gibbons-washington-dc (last accessed
   on April 5, 2020); see also Exhibit E (Littler Bio for Lance E. Gibbons Shareholder), previously available at
   https://www.littler.com/people/lance-e-gibbons (last accessed on April 2, 2020), attached hereto and incorporated
   herein.

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   firm’s efforts to engage with the government on behalf of employers on labor and employment related

   developments.”

                     c.     The Littler announcement underscored that “Gibbons will work closely with

   members of Littler’s Workplace Policy Institute® (WPI™), which serves as a resource for employers

   to ensure that they have a voice in legislative and regulatory developments that impact their

   workplaces and business strategies.” Defendant Littler listed Defendant Gibbons as a member of the

   Workplace Policy Institute® (WPI™).

                     d.     The Littler announcement highlighted Defendant Gibbons’s role at CWC:

   “Gibbons also served as assistant general counsel to the Center for Workplace Compliance, where he

   assisted the association’s members in understanding and managing their workplace compliance

   requirements and risks.”

                     e.     As reflected on Exhibit A (List of CWC Information Obtained by the Littler

   IP Address), the CWC information and copyrighted materials that Defendants Littler and Gibbons,

   using the Littler IP address, accessed, selected, obtained, viewed, downloaded, used, and/or infringed,

   related to the practice areas that the Littler July 25, 2018 press announcement highlighted when

   Defendant Gibbons returned to Littler.

          46.        Defendant Lance E. Gibbons previously served as a Littler shareholder during June

   2007 to July 2015 in Littler’s Pittsburgh, PA Office. As a Littler shareholder, he became familiar

   with Littler information technology platforms and resources to assist prospective and current Littler

   client’s including how to use those resources to communicate directly with clients, engage in

   promotional activities, provide legal services to clients, and use information to benefit Littler directly

   and indirectly.




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            47.      On February 26, 2019, Littler issued a press announcement, “Littler Adds Chris

   Gokturk in Northern Virginia,”10 emphasizing that Defendant Gokturk, as a Littler principal, had

   “more than 20 years of experience in compliance, enterprise risk management and statistical

   analyses.”

                     a.       The Littler announcement noted Defendant Gokturk’s background and

   highlighted her history of assisting clients “on all phases of the OFCCP compliance review process,”

   including reviews of compliance with affirmative action regulations and anti-discrimination laws.

                     b.       The Littler announcement stated that Defendant Gibbons previously worked

   with Defendant Gokturk. In the Littler announcement, Defendant Gibbons is quoted highlighting

   Defendant Gokturk’s “extensive experience advising on OFCCP matters, risk management and

   analyses of employment data.”

            E.       Unlawful Conduct Using Littler’s Infrastructure, Platform and Resources to
                     Obtain and Use CWC’s Information and Infringe Copyrighted Materials
                     Related to Littler’s Practice Areas, Business Interests and Profits

            48.      Established in 1942, Littler describes itself as a law firm with “the largest global

   employment and labor law practice, with more than 1,500 attorneys in 80 offices worldwide,”11 and

   as a firm which provides workplace legal and compliance services.


   10
      See Exhibit F (“Littler Adds Chris Gokturk in Northern Virginia”) (Feb. 26, 2019), accessible at
   https://www.littler.com/publication-press/press/littler-adds-chris-gokturk-northern-virginia (viewed on Nov. 9, 2020),
   attached hereto and incorporated herein; see also Exhibit G (Littler Bio for Chris Gokturk Principal), accessible at
   https://www.littler.com/people/lance-e-gibbons (viewed on Nov. 9, 2020), attached hereto and incorporated herein.
   11
      See Exhibit D (“Littler Adds Shareholder Lance Gibbons in Washington, D.C.”) (July 25, 2018) (“Littler is the
   largest global employment and labor law practice, with more than 1,500 attorneys in 80 offices worldwide.”),
   previously available at https://www.littler.com/publication-press/press/littler-adds-shareholder-lance-gibbons-
   washington-dc (last accessed on April 5, 2020); see also Exhibit H (“Littler Adds Healthcare Industry Veteran William
   Vail”) (May 6, 2019) (referring to Littler as “the world’s largest employment and labor law practice representing
   management”), accessible at https://www.littler.com/publication-press/press/littler-adds-healthcare-industry-veteran-
   william-vail (last viewed Nov. 9, 2020); (“Littler Adds Shareholder Jaime Laurent in Los Angeles”) (Aug. 20, 2018)
   (referring to Littler as “the world’s largest employment and labor law practice representing management”; “Littler is the
   largest global employment and labor law practice, with more than 1,500 attorneys in 80 offices worldwide.”), accessible
   at https://www.littler.com/publication-press/press/littler-adds-shareholder-jaime-laurent-los-angeles (viewed Nov. 9,
   2020); (“Littler Mendelson Continues High-Profile Lateral Growth; JoAnna Brooks Joins in San Francisco”) (June 17,
   2013) (referring to Littler as “the world’s largest employment and labor law firm representing management”; “Littler

                                                              17
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            49.      Littler and Littler’s Workplace Policy Institute® (WPI™) compete directly with CWC

   for the resources of employers seeking guidance concerning workplace legal and compliance

   requirements and related matters.

            50.      Littler’s practice areas include: “Affirmative Action/ Office of Federal Contract

   Compliance Programs (OFCCP) Compliance”; “Corporate Compliance and Ethics, Discrimination

   and Harassment, Employment Practices Audits”; “Labor Management Relations, Legislative and

   Regulatory Practice”; “Robotics, Artificial Intelligence (AI) and Automation”; “Training -

   Compliance, Ethics, Leadership”; “Unfair Competition and Trade Secrets”; “Workplace Privacy and

   Data Security”; and “Workplace Safety and Health (Occupational Safety and Health Administration

   (OSHA) & Mine Safety and Health Administration (MSHA))”.12

            51.      Littler publicly highlights and promotes its “robust platform and resources” that it

   provides its shareholders, associates, attorneys, principals, employees, and agents to serve clients and

   provide legal services.13 In fact, as described above, in rejoining Littler as a shareholder in July 2018,




   Mendelson is the world’s largest labor and employment law firm exclusively devoted to representing management.
   With over 980 attorneys and 57 offices throughout the U.S. and globally, Littler has extensive resources to address the
   needs of U.S.-based and multi-national clients from navigating domestic and international employment laws and labor
   relations issues to applying corporate policies worldwide. Established in 1942, the firm has litigated, mediated and
   negotiated some of the most influential employment law cases and labor contracts on record.”), accessible at
   https://www.littler.com/publication-press/press/littler-mendelson-continues-high-profile-lateral-growth-joanna-brooks-
   joins- (viewed Nov. 9, 2020), attached hereto and incorporated herein.
   12
      See, e.g., Exhibit I (Littler Practices), accessible at https://www.littler.com/practices-industries (viewed Nov. 9,
   2020), attached hereto and incorporated herein.
   13
      See, e.g., Exhibit H (“Littler Adds Healthcare Industry Veteran William Vail”) (May 6, 2019) (referring to “Littler’s
   robust platform and resources”), accessible at https://www.littler.com/publication-press/press/littler-adds-healthcare-
   industry-veteran-william-vail (viewed Nov. 9, 2020); “Littler Adds Shareholder Jaime Laurent in Los Angeles” (Aug.
   20, 2018) (noting “the firm’s robust national and global platform and dedication to innovation in the delivery of legal
   services”), https://www.littler.com/publication-press/press/littler-adds-shareholder-jaime-laurent-los-angeles (viewed
   Nov. 9, 2020); “Littler Mendelson Continues High-Profile Lateral Growth; JoAnna Brooks Joins in San Francisco”
   (June 17, 2013) (describing “Littler’s global platform, innovative resources and depth of our subject matter expertise”),
   accessible at https://www.littler.com/publication-press/press/littler-mendelson-continues-high-profile-lateral-growth-
   joanna-brooks-joins- (viewed Nov. 9, 2020).

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   Defendant Gibbons expressly noted that he looked forward to “drawing on Littler’s robust platform

   and resources to serve clients.”14

           52.      Defendants Gibbons and Gokturk used the “robust platform and resources” of Littler

   to misappropriate and use CWC’s intellectual property and commit the unlawful acts described in

   this Complaint. For example, Defendants Gibbons and Gokturk used Littler resources in providing

   legal services and related services, including as their Littler computers, email addresses, telephones,

   text communications, the Littler IP address and other network resources, printers, staff resources,

   among other resources to create presentations and communicate with current and prospective Littler

   clients concerning the content of the CWC materials. Littler used CWC’s materials and information

   to profit and benefit from the provision of its legal business.

           53.      Defendant Littler initially selected, hired, and engaged former CWC staff members

   Gibbons and Gokturk to serve as a Littler shareholder and a Littler principal, respectively, as well as

   Littler agents and representatives in Littler’s legal business. Littler provided them with compensation

   for their services on behalf of Littler, including by providing terms and parameters to generate

   business and obtain profits for Littler. Littler retained the ability to discharge them. Littler

   established parameters for the delivery of Littler services, exercising control over their services

   consistent with Littler’s standards.

           54.      The infringement of CWC’s copyrighted materials and unlawful obtaining of CWC’s

   information by Littler shareholder Gibbons and Littler principal Gokturk was incident to the business

   of Littler in providing legal and related services.              The conduct was committed while Littler

   shareholder Gibbons and Littler Principal Gokturk were acting in their capacities as a shareholder



   14
      See Exhibit D (“Littler Adds Shareholder Lance Gibbons in Washington, D.C.”) (July 25, 2018), previously available
   at https://www.littler.com/publication-press/press/littler-adds-shareholder-lance-gibbons-washington-dc (last accessed
   on April 5, 2020).

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   and principal respectively, promoting Littler’s business with a view to further Littler’s interests, and

   during prospective and existing client solicitations, meetings and communications. This conduct

   further promoted Littler’s interests and profits as Littler clients were charged based on services

   provided using CWC’s information and copyrighted materials.

            55.      In particular, as further described in this Complaint, Defendants Gibbons and Gokturk

   engaged in this conduct while serving as a Littler shareholder and Littler principal respectively, and

   as Littler representatives and agents, and while providing legal and related services on behalf of

   Littler, promoting and pursuing the interests and profits of Littler, and using Littler’s platforms and

   resources to obtain, infringe, and use CWC’s information and copyrighted materials in the

   performance of duties directly related to (1) the practice areas of the Littler Defendants;15 (2) the

   business of Littler and legal services provided to prospective and current Littler clients; and (3) the

   areas in which Littler competes with CWC. Illustratively, and among the instances further described

   below, this includes (A) after being thwarted in his efforts to obtain intellectual property from the

   CWC Members-Only Site, Defendant Gibbons, acting in his capacity as a Littler shareholder and to

   generate profits for Littler, made a series of false and misleading statements to an organization that

   was both a Littler client and CWC member to obtain a user name and password for accessing the

   CWC Members-Only Site, which he in turn used to infringe and obtain CWC information and

   copyrighted materials unlawfully; (B) after fraudulently obtaining the credentials of another person

   to access the CWC Members-Only Site, Defendant Gibbons used the credentials to misappropriate



   15
      See Exhibit I (Littler Practices), accessible at https://www.littler.com/practices-industries (viewed Nov. 9, 2020); see
   also Exhibit D (“Littler Adds Shareholder Lance Gibbons in Washington, D.C.”) (July 25, 2018), previously available
   at https://www.littler.com/publication-press/press/littler-adds-shareholder-lance-gibbons-washington-dc (last accessed
   on April 5, 2020); Exhibit E (Littler Bio for Lance E. Gibbons Shareholder), previously available at
   https://www.littler.com/people/lance-e-gibbons (last accessed on April 2, 2020); Exhibit G (Littler Bio for Chris
   Gokturk Principal), accessible at https://www.littler.com/people/lance-e-gibbons (viewed on Nov. 9, 2020); Exhibit F
   (“Littler Adds Chris Gokturk in Northern Virginia”) (Feb. 26, 2019), accessible at https://www.littler.com/publication-
   press/press/littler-adds-chris-gokturk-northern-virginia (viewed on Nov. 9, 2020).

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   more than 2,100 pages of CWC’s information and intellectual property that was infringed and

   unlawfully obtained and used for the benefit and profit of Littler; (C) Defendant Gibbons and

   Defendant Gokturk, using Littler resources, infringed CWC information and copyrighted materials

   relating to particular Littler presentations designed to communicate with prospective and current

   Littler clients; (D) Defendant Gibbons, using Littler resources, infringed and obtained CWC

   information and copyrighted materials relating to particular Littler publications designed to

   communicate with prospective and existing clients and generate business for Littler; (E) Defendant

   Gibbons and Defendant Gokturk disregarded, altered and removed the CWC copyright notices on

   CWC materials before using them for Littler; and (F) Defendant Gokturk engaged in copyright

   infringement of a 2017 CWC Pre-Existing Big Data Analytics Presentation by using it for a 2019

   Littler presentation for current prospective and current Littler clients and falsely represented Littler

   as the original author of content copied from the 2017 CWC Pre-Existing Big Data Analytics

   Presentation, and allowed other Littler shareholders, associates, attorneys and agents to use the

   infringed CWC material to advance the business interests of Defendant Littler.

              56.      One of the primary objectives of the unlawful conduct in this matter was to benefit

   Littler by generating additional profits, including under 17 U.S.C. § 504(a)(1).

              57.      Defendant Gibbons, using the Littler IP address, accessed, selected, obtained, viewed,

   downloaded, used, and/or infringed the CWC materials in his practice including to provide legal

   services to Littler clients, which Littler billed for, to present in Littler presentations to prospective

   and current Littler clients, and to create infringing derivative works.

              58.      Defendant Littler, with “the largest global employment and labor law practice,”16

   advises employers on how to implement safeguards to prevent and detect the misappropriation of



   16
        See note 11 (Littler publications making this statement), supra.

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   intellectual property and information by new employees, and about the “legal risks” of hiring

   employees from competitors.17 Illustrating Littler’s subject matter expertise in this area, for example,

   Littler has warned that “companies should caution new employees to refrain from using their former

   employer’s information and not bring any such information with them.”18 Littler also has highlighted

   “the risks of hiring from competitors without a rigorous risk assessment and protocol for rejecting the

   use of a prior employer’s trade secrets,”19 guidance that applies to other forms of intellectual property

   and information. Littler further recommends that employers “[e]xamine hiring and on-boarding

   procedures to make sure that reasonable steps are being taken to avoid newly hired employees

   bringing trade secrets of a prior employer into the workplace or using them,”20 which also applies to

   other forms of intellectual property and proprietary information. Littler has advised that “Employers

   should also consider establishing procedures to monitor and regulate employee access privileges.”21

            59.      Defendant Littler failed to implement appropriate controls and reasonable safeguards

   including best practices for employers to avoid the recurring and voluminous misappropriation of

   intellectual property of CWC by Defendant Gibbons and Defendant Gokturk, along with possibly

   other employees, over a substantial period of time.



   17
      See Exhibit J (Littler Unfair Competition and Trade Secrets) (“When a company wants to hire an employee from a
   competitor, we can provide advice on the best approach so that a client can maximize legitimate competitive advantage
   and minimize litigation risk.”), accessible at https://www.littler.com/practice-areas/unfair-competition-and-trade-secrets
   (viewed on Nov. 9, 2020), attached hereto and incorporated herein; see also Exhibit J (Legal Risks of Hiring
   Competitors Employees, Littler Mendelson P.C. (April 25, 2019) (listing presenter Danielle L. Kitson), accessible at
   accessible at https://www.littler.com/people/danielle-l-kitson (viewed on Nov. 9, 2020).
   18
      See Exhibit J (Littler News & Analysis Insight, “How Not to Hire Employees from a Competitor,” (April 30, 2005),
   accessible at https://www.littler.com/publication-press/publication/how-not-hire-employees-competitor (viewed on
   Nov. 9, 2020).
   19
      See Exhibit J (Littler ASAP, “Court Finds Texas Company Stole Trade Secrets after Hiring Employee from
   Competitor” (May 30, 2012), accessible at https://www.littler.com/publication-press/publication/court-finds-texas-
   company-stole-trade-secrets-after-hiring-employee (viewed on Nov. 9, 2020).
   20
      See Exhibit J (Littler Insight, “Trade Secrets Finally Get Federal Law Protection, (May 2, 2016), accessible at
   https://www.littler.com/publication-press/publication/trade-secrets-finally-get-federal-law-protection (viewed on Nov.
   9, 2020).
   21
      See Exhibit J (Littler ASAP, “Recent Study Reveals Troubling Amount of Employee Misuse and Theft of Company
   Data” (March 19, 2013), accessible at https://www.littler.com/publication-press/publication/recent-study-reveals-
   troubling-amount-employee-misuse-and-theft (viewed on Nov. 9, 2020).

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          60.     Notwithstanding Littler’s sophistication and self-described expertise in employment

   law, workplace privacy, and data security, Littler failed to prevent and permitted Defendant Gibbons

   for approximately seventeen (17) months to repeatedly access CWC’s secured computer systems

   without authorization and infringe its copyrighted works. In this case, Littler failed to implement

   appropriate safeguards and controls to detect, prevent and monitor the misappropriation of a

   voluminous amount of CWC’s intellectual property.

          61.     Defendant Littler’s disregard for CWC’s intellectual property fits a broader pattern of

   misappropriation of CWC’s information and materials by Littler and its shareholders, associates,

   attorneys, principals, employees, and agents. As further described below, in the course of reviewing

   the misconduct described in this Complaint, CWC discovered that Defendant Littler has also

   infringed other CWC intellectual property and proprietary content. As described below, the Littler

   misappropriation included copyright infringement of at least one CWC presentation by Defendants

   Littler and Gokturk to create an infringing presentation to promote Littler’s services to current and

   prospective Littler clients. Defendant Littler failed to prevent and allowed Defendant Gokturk to

   bring and use CWC materials and information to Littler and on the Littler platform and resources.

          62.     The scale and scope of the Littler infringement and misappropriation of CWC

   information and materials, along with the involvement by other Littler shareholders, associates,

   attorneys, principals, employees, and agents, and the amount and extent of Littler profits and damages

   to CWC will be fully determined at trial and following a full accounting.

          F.      Obtaining and Using CWC Information and Infringing CWC materials to
                  Promote Littler’s Business Interests and Profits

          63.     As reflected on Exhibit A (List of CWC Information Obtained by the Littler IP

   Address), the CWC information and copyrighted materials that Defendants Littler and Gibbons, using

   the Littler IP address, accessed, selected, obtained, viewed, downloaded, retained, printed, used,


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   and/or infringed, related to the practice areas of Defendants Littler and Gibbons.22 Importantly, as

   only a few examples, the materials relate to Affirmative Action/OFCCP Compliance, Investigations,

   Discrimination and Harassment, Labor Management Relations, Workplace Policy Institute, and

   Government Contractors, which are practice areas of Defendants Littler and Gibbons, and they bill

   clients for services related to such practice areas.23

              64.       CWC is informed and believes and, based thereon, alleges, to be fully determined at

   trial, that Defendants Littler and Gibbons, using the Littler IP address, accessed, selected, obtained,

   viewed, downloaded, retained, printed, used, and/or infringed (including by creating derivative

   works) CWC’s information and copyrighted materials from the CWC Members-Only Site including

   in communications with prospective and existing Littler clients and other third parties, in providing

   legal services to Littler clients, and for use in his Littler office while serving as a Littler shareholder

   and to further Littler’s business interests.

              65.       Defendants Littler and Gibbons used the CWC information and copyrighted materials

   that he unlawfully obtained to provide oral and written legal services and work product to Littler

   clients. In doing so, Defendant Gibbons and Does 1-10 used the CWC information and copyrighted

   materials for the benefit of Littler. Defendant Littler billed clients for Defendant Gibbons’s legal

   services which used the CWC information and infringed CWC materials.

              66.       In using the CWC information and copyrighted materials in communications with

   clients, Defendants Littler and Gibbons sought to insulate these communications from further review

   under the attorney client privilege, work product doctrine and other legal protections. However, the

   Littler Defendants knew or should have known that any legal protections do not cover many, and




   22
        See Exhibit I; Exhibit E; see also Exhibit D.
   23
        See Exhibit I (Littler Practices), accessible at https://www.littler.com/practices-industries (viewed Nov. 9, 2020).

                                                                  24
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   likely all, of these communications and their efforts to insulate these communications would not be

   successful.

           G.       Littler Presentations Promoting Littler’s Business Interests and Profits

           67.      The Defendants obtained and infringed CWC’s information and materials which were

   used for Littler presentations to prospective and current Littler clients and to generate business for

   Littler. These presentations were made for and on behalf of Littler using Littler resources and

   branding materials.

           68.      As one example, in 2019 Defendants Littler and Gokturk infringed a CWC

   presentation entitled “Big Data Analytics and Artificial Intelligence: The Compliance and Diversity

   Implications Of Automating Early Stage Recruitment” (presented on May 12, 2017) (“2017 CWC

   Pre-Existing Big Data Analytics Presentation”) (Copyright Registration No. TX0008882252), by

   copying, reproducing, and using the presentation and/or content within the presentation at Littler

   including for promotional purposes with prospective and current Littler clients and for the benefit and

   profit of Littler, as further described below.

           69.      Defendant Gibbons also presented at several Littler programs and forums and made

   corresponding downloads of related CWC information and materials to promote Littler’s business

   and practice to prospective and current Littler clients.

                    a.       Illustratively, among many other examples,24 on September 13, 2019,

   Defendants Littler and Defendant Gibbons gave a presentation on Defendant Littler’s behalf entitled




   24
     Several other examples are confirmed based on a comparison of the Littler speaking engagements for Defendant
   Gibbons with the CWC materials and information that were infringed and obtained through the Littler IP Address prior
   to the speaking engagements. Compare Exhibit D (listing Speaking Engagements), with Exhibit A (List of CWC
   Information Obtained by the Littler IP Address).

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   “Government Contractor Update: What is going on at the OFCCP?” (“2019 Littler Government

   Contractor Update Presentation”), at the Indiana Industry Liaison Group.25

                    b.      In the weeks before the presentation, in addition to other materials listed on

   Exhibit A (List of CWC Information Obtained by the Littler IP Address), Defendants Littler and

   Gibbons, using the Littler IP address, accessed, selected, obtained, viewed, downloaded, used, and/or

   infringed several CWC information and copyrighted materials directly related to OFCCP and Federal

   Contractor matters and the specific topics he presented on, including:

         No.         Title of Copyrighted Work, Information and Number                    Access/Download
                                                                                                Date
        193178      MEMBER FEEDBACK REQUESTED: OFCCP                                          09/06/19
                    Proposing Revisions to Its Regulations Governing E.O.
                    11246’s Religious Exemption To Increase Scope of
                    Exemption’s Coverage; Changes Are Unlikely To
                    Directly Impact CWC Members (No. 19-177)
        195180      President Obama Issues Executive Order To Increase                         09/04/19
                    Minimum Wage for Employees of Federal Contractors
                    and Subcontractors (No. 14-048 )
        197182      CWC’s Primer on Federal Contractor Obligations Under                       09/04/19
                    the McNamara-O’Hara Service Contract Act (No. 17-264)
        198183      Federal Contractor Minimum Wage To Increase From                           09/04/19
                    $10.35 to $10.60 an Hour on January 1, 2019 (No. 18-
                    187)
        208193      MEMBER FEEDBACK REQUESTED: CWC’s                                           08/30/19
                    Extensive Compliance- Related Resource Materials and
                    Templates To Assist in Preparing for a Section 503
                    Focused Review (No. 19-090)
        210195      MEMBER FEEDBACK REQUESTED: OFCCP                                           08/30/19
                    Proposing Revisions to Its Regulations Governing E.O.
                    11246’s Religious Exemption To Increase Scope of
                    Exemption’s Coverage; Changes Are Unlikely To
                    Directly Impact CWC Members (No. 19-177)
        213198      New OFCCP Opinion Letter Says Federal Contractors                          08/27/19
                    Can Submit Pay Analysis Groupings for Review and
                    Agency Feedback (No. 19-152)




   25
     Exhibit M (Littler Presentation: “Government Contractor Update: What is going on at the OFCCP?”), attached
   hereto and incorporated herein.

                                                          26
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       No.        Title of Copyrighted Work, Information and Number           Access/Download
                                                                                    Date
      214199     CWC’s Written Comments to OMB Urge Rejection of                  08/27/19
                 OFCCP’s Burdensome Proposed Changes to “Focused
                 Review” Scheduling Letters (No. 19-158)
      215200     OFCCP Publishes Compliance Assistance Materials                   08/27/19
                 Promised Earlier This Year (No. 19-161)
      216201     OFCCP Names Ombud, Marcus Stergio, Who Will Now                   08/27/19
                 Design, Implement, and Execute Agency’s Previously
                 Announced Ombud Service (No. 19-167)
      218203     Illinois Is First State To Restrict the Use of Artificial         08/27/19
                 Intelligence-Driven Video Interview Systems (No. 19-
                 172)
      219204     Reviewing Physical and Mental Job Requirements Under              08/20/19
                 OFCCP’s Section 503 and Section 4212 Affirmative
                 Action Program Requirements (No. 13-131)
      220205     EEAC’s Checklist for Reviewing Physical and Mental                08/20/19
                 Qualifications Under New Paragraph 22 of OFCCP’s
                 Revised Scheduling Letter (No. 15-025)
      224209     EEAC’s “OFCCP Compliance Primer” Series: Using Data               08/17/19
                 Metrics for Evaluating Your Disability and Veterans AAP
                 Obligations (No. 16-205)
      225210     OFCCP Resets Annual Veteran Hiring Benchmark at                   08/17/19
                 6.4%, Down From 6.7% Last Year (No. 18-071)
      227212     OFCCP Sets Revised Annual Veterans Hiring Benchmark               08/16/19
                 of 7.0% (No. 15-079)
      228213     OFCCP Resets Annual Veteran Hiring Benchmark at                   08/16/19
                 5.9%, Down From 6.4% Last Year (No. 19-064)
      247232     OFCCP Gets Approval From OMB To Move Forward                      07/13/19
                 With Changes to Functional Affirmative Action Program
                 Designed To Increase Contractor Participation (No. 19-
                 138)


          70.    As another example, on August 20, 2019 Defendants Littler and Gibbons gave a Littler

   presentation entitled “Government Contractor Update | An Energized OFCCP Changes Compliance

   Requirements and Enforcement Standards,” in Tysons Corner, Virginia.

                 a.     In the weeks before the presentation, in addition to other materials listed on

   Exhibit A (List of CWC Information Obtained by the Littler IP Address), Defendants Littler and




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   Gibbons, using the Littler IP address, accessed, selected, obtained, viewed, downloaded, used, and/or

   infringed CWC information and copyrighted materials directly related to OFCCP matters including :

        No.        Title of Copyrighted Work, Information and Number            Access/Download
                                                                                      Date

      224209      EEAC’s “OFCCP Compliance Primer” Series: Using Data                08/17/19
                  Metrics for Evaluating Your Disability and Veterans AAP
                  Obligations (No. 16-205)
      225210      OFCCP Resets Annual Veteran Hiring Benchmark at                    08/17/19
                  6.4%, Down From 6.7% Last Year (No. 18-071)
      227212      OFCCP Sets Revised Annual Veterans Hiring Benchmark                08/16/19
                  of 7.0% (No. 15-079)
      228213      OFCCP Resets Annual Veteran Hiring Benchmark at                    08/16/19
                  5.9%, Down From 6.4% Last Year (No. 19-064)
      230215      OFCCP’s New Federal Contract Compliance Manual Sets                07/19/19
                  Agency Protocol for Conducting Individual Discrimination
                  Complaint Investigations (No. 14-018)
      232217      OFCCP Litigation Watch: EEOC and OFCCP Enter Into                  07/19/19
                  Rare “Joint” Conciliation Agreement with Federal
                  Contractor Asbestos Specialists (No. 16-126)
      233218      OFCCP’s Decision To Begin Publishing Complaint                     07/19/19
                  Investigation Financial Settlements Sheds Light on a Little
                  Known Area of Agency Enforcement (No. 19-034)
      234219      OFCCP’s Final Jobs for Veterans Act (JVA) Regulations              07/17/19
                  Respond to Concerns Expressed By EEAC About Potential
                  Burden, Will Give Contractors Welcome Flexibility in
                  Complying (No. 07-169)
      235220      OFCCP Posts FAQ Announcing That Enforcement of New                 07/17/19
                  JVA Self- ID Requirements Will Be Delayed Until JVA
                  Reporting Requirements Are Finalized (No. 08-001)
      236221      Atypical Selection Practices and Compliance With                   07/17/19
                  OFCCP’s Mandatory Job Listing Rule (No. 12-148)
      237222      Atypical Selection Practices and Compliance With                   07/17/19
                  OFCCP’s Mandatory Job Listing Rule (No. 12-148)

          71.     Other examples involving Littler presentations include the following:

                  a.     On June 7, 2019, Defendant Gibbons gave a Littler presentation entitled

   “Attention Government Contractors: OFCCP Update,” at the 2019 Mid-Atlantic Employer

   Conference, in Bethesda, MD.




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                         (i)    In the weeks before the presentation, in addition to other materials

   listed on Exhibit A (List of CWC Information Obtained by the Littler IP Address), Defendants Littler

   and Gibbons, using the Littler IP address, accessed, selected, obtained, viewed, downloaded, used,

   and/or infringed several CWC information and copyrighted materials directly related to OFCCP

   matters including:

        No.        Title of Copyrighted Work, Information and Number            Access/Download
                                                                                      Date

      284269      EEAC’s Guide to OFCCP Notice Posting Requirements                 05/23/19
                  (No. 16-109)
      288273      CWC’s Guide To Maintaining an OFCCP-Compliant                     05/23/19
                  Online “Careers Site” (No. 18-162)
     289 274      MEMBER FEEDBACK REQUESTED: OFCCP Issues                         05/23/19 and
       and        Promised Guidance on Compliance Checks by Way of                  05/22/19
     293278       Frequently Asked Questions (No. 19-101)
     291276       EEAC’s Updated Guide to OFCCP-Enforced Contract                   05/22/19
                  Clause Requirements (No. 15-235)
      292277      EEAC’s “OFCCP Compliance Primer” Series: Using Data               05/22/19
                  Metrics for Evaluating Your Disability and Veterans AAP
                  Obligations (No. 16-205)
      296281      MEMBER FEEDBACK REQUESTED: OFCCP Seeking                          05/10/19
                  Formal Approval of Revisions to Its Functional
                  Affirmative Action Program (FAAP) (No. 19-093)

                 b.      On June 6, 2019, Defendant Gibbons gave a Littler presentation entitled

   “Attention Government Contractors: OFCCP Policy Changes,” at the 2019 Contract Security

   Washington Summit, in Washington, DC.

                         (i)    In the weeks before the presentation, in addition to other materials

   listed on Exhibit A (List of CWC Information Obtained by the Littler IP Address), Defendants Littler

   and Gibbons, using the Littler IP address, accessed, selected, obtained, viewed, downloaded, used,

   and/or infringed several CWC information and copyrighted materials related to OFCCP matters

   including:




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         No.              Title of Copyrighted Work, Information and               Access/Download
                                            Number                                       Date

       284269          EEAC’s Guide to OFCCP Notice Posting                             05/23/19
                       Requirements (No. 16-109)
       288273          CWC’s Guide To Maintaining an OFCCP-Compliant                    05/23/19
                       Online “Careers Site” (No. 18-162)
       289 274         MEMBER FEEDBACK REQUESTED: OFCCP                                 05/23/19
         and           Issues Promised Guidance on Compliance Checks by                   and
       293278          Way of Frequently Asked Questions (No. 19-101)                   05/22/19
       291276          EEAC’s Updated Guide to OFCCP-Enforced Contract                  05/22/19
                       Clause Requirements (No. 15-235)
       292277          EEAC’s “OFCCP Compliance Primer” Series: Using                   05/22/19
                       Data Metrics for Evaluating Your Disability and
                       Veterans AAP Obligations (No. 16-205)
       296281          MEMBER FEEDBACK REQUESTED: OFCCP                                 05/10/19
                       Seeking Formal Approval of Revisions to Its
                       Functional Affirmative Action Program (FAAP) (No.
                       19-093)


                  c.       On May 9, 2019, Defendant Gibbons gave a Littler presentation entitled “Help

   Wanted: How Artificial Intelligence and Technology Are Changing Talent Acquisition Compliance,”

   at the 2019 Executive Employer Conference in Phoenix, Arizona.

                           (i)    Prior to the presentation, in addition to other materials listed on Exhibit

   A (List of CWC Information Obtained by the Littler IP Address), Defendants Littler and Gibbons,

   using the Littler IP address, accessed, selected, obtained, viewed, downloaded, used, and/or infringed

   several CWC information and copyrighted material related to OFCCP matters including: “Big Data”

   Analytics and Its EEO Implications for Employment Practices (No. 16-257) (access/download date

   03/08/19).

                  d.       On May 8, 2019, Defendant Gibbons gave a Littler presentation entitled

   “Federal Contractor Roundtable,” at the 2019 Littler Executive Employer Conference, in Phoenix,

   Arizona.




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                          (i)    In the weeks before the presentation, in addition to other materials

   listed on Exhibit A (List of CWC Information Obtained by the Littler IP Address), Defendants Littler

   and Gibbons, using the Littler IP address, accessed, selected, obtained, viewed, downloaded, used,

   and/or infringed CWC information and copyrighted material related to Federal Contractor matters

   including:

          No.              Title of Copyrighted Work, Information and           Access/Download
                                             Number                                   Date

        312297          Labor Department Issues Final Rule Requiring                 04/23/19
                        Covered Federal Contractors To Provide Employees
                        With up to 56 Hours of Paid Sick Leave Annually
                        (No. 16-201)
        316301          Federal Contractor Minimum Wage To Increase From             04/23/19
                        $10.35 to $10.60 an Hour on January 1, 2019 (No. 18-
                        187)


                  e.      On April 9, 2019, Defendant Gibbons gave a Littler presentation entitled “The

   Latest Developments in Federal Labor Policy: A Workplace Policy Institute Briefing.”

                          (i)    In the weeks before the presentation, in addition to other materials

   listed on Exhibit A (List of CWC Information Obtained by the Littler IP Address), Defendants Littler

   and Gibbons, using the Littler IP address, accessed, selected, obtained, viewed, downloaded, used,

   and/or infringed several CWC information and copyrighted material related to Federal Labor Policy

   matters including:

          No.              Title of Copyrighted Work, Information and           Access/Download
                                             Number                                   Date

         356341         EEOC Plans To Open 2018 EEO-1 Filing Season                  03/16/19
                        Next Week, Even as What Happens Next Is Up in Air
                        After Federal Court Orders Reinstatement of
                        Expanded Obama-Era Revisions (No. 19-054)
         353368         EEOC’s Proposed Changes to EEO-1 To Add                      03/06/19
           and          Collection of Pay Data Get Final Approval; Filing               and
         370355         Deadline for New Report Is March 31,2018 (No. 16-             3/05/19
                        196)

                                                    31
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          No.             Title of Copyrighted Work, Information and            Access/Download
                                            Number                                    Date

         371356        OMB Suspends Pay Data Provisions of Expanded                 03/05/19
                       EEO-1 Report, Effectively Reinstating Old Report
                       for 2017 Reporting Cycle; Forms Must Be Submitted
                       by March 31, 2018 (No. 17-182)
         372357        Employee Advocacy Groups Sue OMB in Attempt                  03/05/19
                       To Get Order Reinstating Expanded EEO-1 Report
                       (No. 17-248)


                  f.     On March 20, 2019, Defendant Gibbons gave a Littler presentation entitled

   “Preparing for an Increase in OFCCP Audit Activity: CSALs, Focused Reviews, VERPs, and More.”

                         (i)    In the weeks before the presentation, in addition to other materials

   listed on Exhibit A (List of CWC Information Obtained by the Littler IP Address), Defendants Littler

   and Gibbons, using the Littler IP address, accessed, selected, obtained, viewed, downloaded, used,

   and/or infringed several CWC information and copyrighted material related to OFCCP Audit matters

   including:

           No.            Title of Copyrighted Work, Information and           Access/Download
                                            Number                                   Date

         359344         A Recommended Process for Auditing Your                     03/08/19
                        Company’s Compliance With OFCCP’s Internet
                        Applicant Rule (No. 10-162)
         383368         Most Recent OFCCP Financial Settlements                     03/04/19
                        Continue To Wrap Up Years-Old Audits (No. 18-
                        168)
         384369         OFCCP Financial Settlement Update: Focus                    03/04/19
                        Continues To Be on Disposal of “Aged” Audits
                        (No. 18-239)
         385370         OFCCP’s FY 2018 Enforcement Numbers Show                    03/04/19
                        Completed Audits Dropped by One-Third From
                        Previous Year (No. 19-002)




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                  g.     On March 19, 2019, Defendant Gibbons gave a Littler presentation entitled

   “Understanding the Impact of OFCCP’s Recent Policy Changes on Federal Contractors Association

   of Builders and Contractors Webinar.”

                         (i)    In the weeks before the presentation, in addition to other materials

   listed on Exhibit A (List of CWC Information Obtained by the Littler IP Address), Defendants Littler

   and Gibbons, using the Littler IP address, accessed, selected, obtained, viewed, downloaded, used,

   and/or infringed several CWC information and copyrighted materials related to OFCCP matters

   including:

          No.             Title of Copyrighted Work, Information and            Access/Download
                                            Number                                    Date

         347332        Department of Labor Finalizes New Rule Requiring             03/18/19
                       Federal Contractors To Inform Employees of Their
                       Union Organizing Rights (No. 10-093)
         348333        EEAC’s Updated Guide to OFCCP-Enforced                       03/18/19
                       Contract Clause Requirements (No. 14-155)
         353338        OFCCP Issues New “Section 503 Checklist”                     03/16/19
                       Designed To Assist Contractors in Assessing
                       Compliance With Agency’s Revised Disability
                       Regulations (No. 15-170)
         357342        OFCCP’s Final “Internet Applicant” Regulation                03/08/19
                       Establishes Compliance Framework for Federal
                       Contractors’ Electronic Recruitment and Selection
                       Practices (No. 05-227)
         379364        OFCCP Issues New “Section 503 Checklist”                     03/04/19
                       Designed To Assist Contractors in Assessing
                       Compliance With Agency’s Revised Disability
                       Regulations (No. 15-170)
         404389        New OFCCP Directive Signals Agency’s Intent To               02/25/19
                       Implement Voluntary Compliance Program for
                       “High-Performing” Contractors (No. 19-039)
         405390        EEAC’s Updated Guide to OFCCP-Enforced                       02/21/19
                       Contract Clause Requirements (No. 14-155)
         406391        OFCCP Gets Approval To Use New Scheduling                    02/08/19
                       Letter Identifying Contractors for Section 503
                       “Focused Reviews” (No. 18-248)




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               H.      Littler Publications Promoting Littler’s Business Interests and Profits

               72.     The CWC information and copyrighted materials that Defendants Littler and Gibbons

   accessed, selected, obtained, viewed, downloaded, used, and/or infringed, while using the Littler IP

   address, also related to particular Littler publications designed to communicate with prospective and

   current Littler clients.26 For example, Defendant Gibbons published articles, promoted on the Littler

   website and using Littler publications (such as Littler ASAP and Littler Podcast),27 and made

   corresponding downloads of related CWC information and materials to promote Littler’s business

   and practice to prospective and current Littler clients:

                       a.     As one example among many others, on July 2, 2019, Defendant Littler

   published a Littler ASAP publication authored by Defendant Gibbons, entitled “EEOC Provides

   Additional Guidance on EEO-1 Component 2 Information.”

                              (i)    In the weeks before the publication, in addition to other materials listed

   on Exhibit A (List of CWC Information Obtained by the Littler IP Address), Defendants Littler and

   Gibbons, using the Littler IP address, accessed, selected, obtained, viewed, downloaded, used, and/or

   infringed several CWC information and copyrighted materials related to EEO-1 Component 2 matters

   including:

         No.         Title of Copyrighted Work, Information and Number                    Access/Download
                                                                                                Date

        246261       EEOC Advises Court Overseeing EEO-1 “Component 2”                          06/26/19
                     Litigation That Online Filing System May Not Be Fully
                     Operational Until Mid-August, Despite September 30,
                     2019 Filing Deadline (No. 19-126)




   26
      Numerous other examples are confirmed based on a comparison of the Littler publications for Defendant Gibbons
   with the CWC materials and information that were infringed and obtained through the Littler IP Address. Compare
   Exhibit E (listing Publications & Press of shareholder Gibbons) with Exhibit A (List of CWC Information Obtained by
   the Littler IP Address).
   27
      Exhibit E (listing Publications & Press of shareholder Gibbons).

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         No.         Title of Copyrighted Work, Information and Number                          Access/Download
                                                                                                      Date

        271256,      CWC’s Tips for Collecting EEO-1 “Component 2” Data                              06/12/19,
        279264,      (No. 19-116)                                                                  06/10/19, and
          and                                                                                        06/07/19
        281266




               I.      Early Efforts to Obtain CWC’s Intellectual Property, Make False and
                       Misleading Statements and Ask Others to Engage in Copyright Infringement and
                       Violations of Law and the CWC Restrictions to the Members-Only Site

               73.     Defendant Gibbons was directly engaged in infringing and obtaining a substantial

   amount of CWC’s information and copyrighted materials from the CWC Members-Only Site for the

   benefit and profit of Defendant Littler.28

               74.     Shortly after rejoining Littler, and beginning at a time unknown and at least by

   September 2018, Defendant Gibbons willfully persisted in making a series of requests for, and

   attempted to access and obtain, and induce others to provide and engage in the infringement CWC

   Members-Only Site materials.

               75.     For example, on Tuesday, September 4, 2018, Defendant Gibbons used his Littler

   email address (LGibbons@littler.com) to send an email to an attorney working on behalf of CWC,

   asking if he could access a specific 50-state affirmative action policy survey.

               76.     This request for information from the CWC Members-Only Site related directly to the

   practice areas of Defendants Littler and Gibbons,29 and the legal services business of Littler.




   28
      As noted, the identity and extent of the involvement of DOE Defendants 1 to 10 remains pending confirmation.
   29
      See Exhibit I (Littler Practices), accessible at https://www.littler.com/practices-industries (viewed Nov. 9, 2020); see
   also Exhibit D (“Littler Adds Shareholder Lance Gibbons in Washington, D.C.”) (July 25, 2018), accessible at
   https://www.littler.com/publication-press/press/littler-adds-shareholder-lance-gibbons-washington-dc (viewed on April
   5, 2020); Exhibit E (Littler Bio for Lance E. Gibbons Shareholder), previously available at
   https://www.littler.com/people/lance-e-gibbons (last accessed on April 2, 2020).

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          77.    No response was given to Defendant Gibbons’s request for CWC intellectual property.

   The recipient of Defendant Gibbons’s request was unwilling to violate established CWC restrictions

   or engage in copyright infringement or other violations of law. Defendant Gibbons was familiar with

   these restrictions as a former CWC Assistant General Counsel.

          78.    On Friday, September 7, 2018, Defendant Gibbons, using the Littler IP address,

   attempted twice to access member-restricted content. The documents were two CWC Memoranda:

   (1) “OFCCP Mails First Round of FY 2018 ‘Advance Notice’ Letters; Agency Will Offer Technical

   Assistance Before Sending Scheduling Letters to the 1,000 Contractor Establishments Flagged for an

   Audit” (Memo No. 18-026), and (2) “New OFCCP Directive Aims To Resurrect Recognition of

   Exemplary Contractor Programs” (Memo No. 18-184). Access was denied. Member credentials

   were required to access, obtain, download, and use these restricted memoranda. Defendant Gibbons

   was familiar with these restrictions as a former CWC Assistant General Counsel.

          79.    Later that day, Defendant Gibbons, using Littler resources, sent a text message to an

   attorney at CWC asking for the first of the two copyrighted memoranda noted above. Defendant

   Gibbons asked: “Can you send me memo 18-026?”

          80.    Defendant Gibbons was expressly asking the attorney at CWC to at best make an

   exception to, and at worst violate, CWC restrictions on access to CWC’s member-restricted content.

   Defendant Gibbons was aware that reproducing and distributing CWC copyrighted information to a

   Non-Member or to a law firm was not in conformance with CWC’s policies. Defendant Gibbons was

   familiar with these restrictions as a former CWC Assistant General Counsel.

          81.    Defendant Gibbons knew that the person he asked to send the memo was not

   authorized and would not be authorized by CWC to do so.




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          82.     No response was given to Defendant Gibbons’s request for CWC intellectual property.

   The recipient of Defendant Gibbons’s request was unwilling to violate established CWC restrictions

   or engage in copyright infringement or other violations of law.

          83.     On Tuesday, November 13, 2018, Defendant Gibbons, using Littler resources, sent a

   text message to an attorney at CWC requesting a different member-restricted CWC memorandum, as

   reproduced below:


             Defendant Gibbons            “Can you track down a memo for me? I don’t ask for
                                          much.”


             CWC Attorney                 “Hey Lance. Happy to help you out of course … but can’t
                                          send a memo. What are you looking for?”


             Defendant Gibbons            “Killing me. I wanted the memo that we wrote that talked
                                          about steps to audit your AAP in preparation for a new plan
                                          year.”


             CWC Attorney                 [No response.]


             Defendant Gibbons            “Don’t worry about it. Don’t want to get anyone in
                                          trouble.”


          84.     Once again, the recipient of Defendant Gibbons’s request was unwilling to violate

   established CWC restrictions or engage in copyright infringement or other violations of law.

          85.     In contrast, Defendant Gibbons, while using Littler resources and acting to promote

   the interests of Littler, showed no reluctance to ask someone else to violate the CWC restrictions and

   to engage in copyright infringement. Defendant Gibbons was familiar with the restrictions as a

   former CWC Assistant General Counsel.

          86.     While Defendant Gibbons was initially unable to obtain the CWC intellectual property

   he requested from the CWC Members-Only Site, by asking a CWC staff member to violate CWC

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   restrictions, Defendant Gibbons willfully persisted in his efforts to infringe and unlawfully obtain

   CWC information and materials.

            87.    After Defendant Gibbons was unsuccessful in inducing others to violate the Copyright

   Act and the restrictions to the CWC Members-Only Site, he pursued other avenues to obtain the

   intellectual property of CWC.

            88.    On Wednesday, November 14, 2020, Defendant Gibbons, again using Littler

   resources, attempted to access CWC copyright-protected memoranda. Access was not allowed.

   Defendant Gibbons was redirected to the Login Page. Without member credentials, Defendant

   Gibbons was unable to access the intellectual property on the CWC Members-Only Site. Defendant

   Gibbons was familiar with these restrictions as a former CWC Assistant General Counsel.

            J.     Willfully Pursuing Other Avenues to Obtain Information and Infringe
                   Intellectual Property on the CWC Members-Only Site

            89.    After being denied access to the CWC Members-Only Site, Defendant Gibbons

   contacted an employee of a company that had been a long-standing CWC member (referred to as

   “Company A Employee”). Defendant Gibbons had known the Company A Employee for several

   years.

            90.    Defendant Gibbons, using Littler resources, made false and misleading statements to

   obtain the login credentials of the Company A Employee. Defendant Gibbons claimed that he needed

   the credentials of Company A Employee to access and download only a particular CWC

   memorandum to assist the Company A Employee. Defendant Gibbons’s request for the credentials

   was made in his capacity as a Littler shareholder and to generate profits for Littler. In fact, as reflected

   on Exhibit A (List of CWC Information Obtained by the Littler IP Address), Defendant Gibbons used

   the fraudulently obtained credentials to access, select, obtain, view, download, use, and/or infringe a




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   voluminous amount of CWC information and copyrighted materials for the benefit and profit of

   Littler.

              91.   As noted, as a former CWC staff member, Defendant Gibbons was familiar with the

   CWC restrictions which prohibited Non-Members and law firms from accessing the CWC Members-

   Only Site. For example, as a former CWC staff member, Defendant Gibbons was familiar with EEAC

   and CWC’s practice of marking EEAC and CWC materials with copyright notices. Defendant

   Gibbons had drafted CWC materials that bore these copyright notices.

              92.   Defendant Gibbons’s other efforts to obtain intellectual property from the CWC

   Members-Only Site had been thwarted. Given his continuing objective to obtain access, Defendant

   Gibbons demonstrated no reluctance in asking the Company A Employee to violate the CWC

   restrictions on access to intellectual property on the CWC Members-Only Site.

              93.   Relying on the fraudulent representations of Defendant Gibbons, the Company A

   Employee provided the credentials to Defendant Gibbons for the CWC Members-Only Site.

              94.   No CWC member employee may share access credentials with any non-members,

   including employees of law firms, and law firms are not eligible for membership in CWC.

              95.   On November 16, 2018, Defendant Gibbons, using the Littler IP address, used the

   login credentials of the Company A Employee to connect to the CWC Members-Only Site. During

   the next 22 minutes, Defendant Gibbons, using the Littler IP address, accessed, selected, obtained,

   viewed, downloaded, used, and/or infringed six copyright-protected and member-restricted

   documents.

              96.   In fact, this was only the beginning of the infringement and obtaining of CWC

   information. During the 489 days of the period of infringement and obtaining CWC information,

   from November 16, 2018 to March 18, 2020, the Littler IP address was used to access, select, obtain,



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   view, download, use, and/or infringe information and copyrighted materials from the CWC Members-

   Only Site approximately four hundred forty-two (442) times. The CWC materials Defendant Gibbons

   accessed, selected, obtained, viewed, downloaded, used, and/or infringed beginning on November

   16, 2018 through March 18, 2020 related directly to (1) the practice areas of Defendants Littler and

   Gibbons;30 (2) the business of Littler and legal services provided to prospective and current Littler

   clients; and (3) the areas in which Littler competes with CWC.

            97.      For example, Defendants Littler and Gibbons, using Littler resources, accessed,

   selected, obtained, viewed, downloaded, used, and/or infringed CWC materials and information from

   the CWC Members-Only Site as follows:

                                   Total CWC Information Obtained and/or Infringed
                                          by the Littler IP Address By Month

                              No.                             Month                        Totals (Approx.)

                               1                          Nov. 2018                                 910
                               2                          Dec. 2018                                  5
                               3                          Jan. 2019                                 12
                               4                          Feb. 2019                                  22
                               5                         March 2019                                 56
                               6                         April 2019                                  40
                               7                          May 2019                                   16
                               8                          June 2019                                 23
                               9                          July 2019                                  29
                              10                          Aug. 2019                                  24
                              11                         Sept. 2019                                 31
                              12                          Oct. 2019                                1315
                              13                          Nov. 2019                                  52
                              14                          Dec. 2019                                  9
                              15                          Jan. 2020                                 34
                              16                          Feb. 2020                                3952
                              17                        Mar. 1-18, 2020                             12


   30
      See Exhibit I (Littler Practices), accessible at https://www.littler.com/practices-industries (viewed Nov. 9, 2020); see
   also Exhibit D (“Littler Adds Shareholder Lance Gibbons in Washington, D.C.”) (July 25, 2018), accessible at
   https://www.littler.com/publication-press/press/littler-adds-shareholder-lance-gibbons-washington-dc (viewed on April
   5, 2020); Exhibit E (Littler Bio for Lance E. Gibbons Shareholder), previously available at
   https://www.littler.com/people/lance-e-gibbons (last accessed on April 2, 2020).

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           98.      On a number of occasions, Defendants Littler and Gibbons, using the Littler IP

   address, logged into the CWC Members-Only Site to access, obtain, download, infringe and use the

   same CWC Title on more than one occasion.                       For example, Exhibit B (CWC Copyright

   Registrations), and Exhibit N (CWC Information Obtained And/Or Infringed By The Littler IP

   Address on More Than One Occasion), identify approximately ninety-six (96) registered CWC works

   that were downloaded, obtained and infringed on more than one occasion.

           99.      Defendant Gibbons’s use of the CWC Members-Only Site to select, obtain, view,

   download, retain, print, use, and/or infringe (including creating derivative works of) CWC

   information and materials related directly to the practice areas of Defendants Littler and Gibbons.31

   For example, some of the listed practice areas for Defendant Gibbons include OFCCP matters

   (including desk audit submissions, on-site audits, responding to requests and negotiating resolutions),

   compliance with the National Labor Relations Act (NLRA), “all workplace compliance requirements

   applicable to federal government contractors,” analyses of compensation data, “statistical disparity

   analyses for reductions in force,” training concerning government contractor obligations,

   “[d]eveloping and implementing compliant diversity and inclusion programs.”

           K.       False and Misleading Statements, Deceit and Concealment to Obtain CWC’s
                    Intellectual Property

           100.     As part of the unlawful conduct in this matter, Defendant Gibbons made a series of

   false and misleading statements to infringe and obtain CWC information and copyrighted materials

   unlawfully.




   31
     See Exhibit I (Littler Practices); see also Exhibit D (“Littler Adds Shareholder Lance Gibbons in Washington, D.C.”)
   (summarizing practice areas); Exhibit E (summarizing practice areas of Shareholder Lance E. Gibbons).

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            101.   The Login process for the CWC Members-Only Site requires the member to “login

   with your CWC account.” On the Login Page, the member enters his or her user name and password

   (not the account of another member or member account holder). Only CWC members have access

   to Members-Only content. For visitors who are not members, the Login Page provides information

   about how to become a member. The Login Page, accessible from the Sign In Tab, is reproduced

   below.




            102.   After making fraudulent statements to obtain the login credentials of the Company A

   Employee (as described below), during the login process, Defendant Gibbons falsely represented that

   he had a CWC member account, that he was the account holder, and that he was entitled to access the

   CWC Members-Only Site.

            103.   Defendant Gibbons concealed his true identity in accessing the CWC account. As a

   former CWC staff member, Defendant Gibbons was aware that (1) only members could access

                                                   42
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   CWC’s member-restricted content; (2) Defendant Gibbons was not a member and was ineligible to

   become a member based on his work as a shareholder and attorney at the Littler law firm; and (3)

   Defendant Littler as a law firm was ineligible to be a CWC member.

              104.   Having authored a number of CWC memoranda during his tenure as a CWC Assistant

   General Counsel, Defendant Gibbons was further aware that each CWC memorandum contained a

   CWC copyright notice noting that all rights were reserved to CWC and no part of the memorandum

   could “be reproduced without permission of CWC.”

              105.   Additionally, for each CWC memorandum that Defendant Gibbons infringed and

   unlawfully obtained from the CWC Members-Only Site as a Littler shareholder, he was further aware

   that each memorandum contained a CWC copyright notice noting that all rights were reserved to

   CWC and no part of the memorandum could “be reproduced without permission of CWC.”

              106.   CWC is informed and believes and, based thereon, alleges, and to be fully determined

   at trial, Defendant Gibbons used and benefitted from the CWC information and copyrighted materials

   concealed from third parties, including Littler clients, that the information was infringed and obtained

   by fraud and unlawful conduct and represented the information as Littler’s.

              107.   The multiple false and misleading statements that Defendant Gibbons made to obtain

   the CWC information and materials further reflects his intent to violate the Counts in this Complaint

   and demonstrates his commitment to engage in willful infringement and to promote the interests of

   Littler.

              108.   Based on the frequency of Defendant Gibbons’s unauthorized access from Littler’s IP

   address, and the quantity of CWC materials downloaded to and using Littler’s computer and network

   resources, Defendant Littler was or should have been aware of Defendant Gibbons’s conduct.




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           L.       Password Changes

           109.     Since November 2018, the password for the Company A Employee credentials used

   by Defendant Gibbons changed three times: (1) June 5, 2019, (2) September 27, 2019, and (3)

   February 19, 2020.

           110.     Each time the password was changed, Defendant Gibbons made fraudulent

   representations to the Company A Employee to request and obtain the new password. For example,

   Defendant Gibbons claimed that he solely needed the new password to access and download a

   particular CWC memorandum to assist the Company A Employee when in fact he accessed, selected,

   obtained, viewed, downloaded, used, and/or infringed many more CWC copyright-protected

   memoranda and continued to do so for months after his request for the new password and until the

   next password change. Each request for the credentials after the password was changed was made in

   Defendant Gibbons’s capacity as a Littler shareholder and to promote the interests of and generate

   profits for Littler.

           111.     Each time Defendant Gibbons requested the new password he concealed from the

   Company A Employee that he in fact had been using the prior credentials before the password change

   to download a substantial amount of CWC intellectual property. For example, during the period from

   November 16, 2018 through May 23, 2019, Defendants Littler and Gibbons, using the Littler IP

   address, accessed, selected, obtained, viewed, downloaded, used, and/or infringed approximately 160

   CWC materials from the CWC Members-Only Site.

           112.     Defendant Gibbons also concealed from the Company A Employee that he would in

   fact use the credentials to continue to download a substantial amount of CWC intellectual property.

           113.     As Defendant Gibbons was aware, the Company A Employee in fact lacked

   authorization to provide the credentials to allow him to access and obtain CWC’s member-restricted

   intellectual property. Defendant Gibbons was aware that (1) only members could access the CWC
                                                   44
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   Members-Only Site; (2) Defendant Gibbons was not a member and was ineligible to become a

   member based on his work as a shareholder and attorney at the Littler law firm; and (3) Defendant

   Littler as a law firm was ineligible to be a CWC member.

            114.     Having authored a number of CWC Memos-Online during his tenure as a CWC

   Assistant General Counsel, and having infringed and unlawfully obtained CWC memoranda and

   other proprietary and member-restricted content as a Littler shareholder, Defendant Gibbons was

   further aware that each CWC memorandum contained a CWC copyright notice noting that all rights

   were reserved to CWC and no part of the memorandum could “be reproduced without permission of

   CWC.”

            115.     Defendants Littler and Gibbons accessed, obtained, downloaded and used CWC

   memoranda in (1) the practice areas of Defendants Littler and Gibbons;32 (2) the business of Littler

   and legal services provided to prospective and current Littler clients; (3) the areas in which Littler

   competes with CWC; or (4) for any other purpose.

            116.     By using the credentials of someone else, Defendant Gibbons sought to conceal that

   he in fact was initiating and downloading a substantial amount of CWC intellectual property from the

   CWC Members-Only Site. Defendant Gibbons understood that his downloads would point to the

   user credentials that he was using. Defendant Gibbons hoped to conceal the fact that he was the one

   who was initiating and directing the access to obtain the CWC intellectual property.




   32
      See Exhibit I (Littler Practices), accessible at https://www.littler.com/practices-industries (viewed Nov. 9, 2020); see
   also Exhibit D (“Littler Adds Shareholder Lance Gibbons in Washington, D.C.”) (July 25, 2018), accessible at
   https://www.littler.com/publication-press/press/littler-adds-shareholder-lance-gibbons-washington-dc (viewed on April
   5, 2020); Exhibit E (Littler Bio for Lance E. Gibbons Shareholder), previously available at
   https://www.littler.com/people/lance-e-gibbons (last accessed on April 2, 2020).

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           117.   To bypass these restrictions, Defendant Gibbons devised a fraud scheme to obtain the

   credentials which he used to unlawfully infringe and obtain a substantial amount of CWC intellectual

   property for approximately seventeen (17) months.

           118.   Defendant Gibbons engaged in fraud, deceit and concealment in order to obtain the

   new password to gain access to the restricted materials on the CWC Members-Only Site. Defendant

   Gibbons was aware that (1) only members could access the CWC’s member-restricted content; (2)

   Defendant Gibbons was not a member and was ineligible to become a member based on his work as

   a shareholder and attorney at the Littler law firm; and (3) Defendant Littler as a law firm was

   ineligible to be a CWC member.

                  1.     Password Change: June 5, 2019

           119.   On June 5, 2019, the Company A Employee initiated a password change.

           120.   On June 6, 2019, Defendant Gibbons, using the Littler IP address, unsuccessfully tried

   to access the Login Page to gain access to restricted content on the CWC Members-Only Site.

   Because a password change had been made the day before, Defendant Gibbons was unable to access

   the restricted content on the CWC Members-Only Site.

           121.   Defendant Gibbons contacted the Company A Employee and told the employee that

   he was unable to access the restricted content on the CWC Members-Only Site. Defendant Gibbons

   fraudulently stated that he needed to get access to a particular CWC memorandum to assist the

   Company A Employee. Defendant Gibbons concealed that he would continue to use the credentials

   to continue to access a substantial amount of CWC intellectual property. Defendant Gibbons’s

   request for the new password was made in his capacity as a Littler shareholder and to generate profits

   for Littler.

           122.   Relying on the fraudulent representations of Defendant Gibbons, the Company A

   Employee provided the new password to Defendant Gibbons .
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          123.    On June 7, 2019, with the new password, Defendant Gibbons accessed the CWC

   Members-Only Site and selected, obtained, viewed, downloaded, used, and/or infringed one CWC

   copyright-protected memorandum.

          124.    Defendant Gibbons continued to use the fraudulently obtained credentials to download

   more CWC copyright-protected memoranda. For example, from June 9, 2019 to June 26, 2019,

   Defendant Gibbons, using the Littler IP address, accessed, selected, obtained, viewed, downloaded,

   used, and/or infringed approximately twenty-one member-restricted memoranda from the CWC

   Members-Only Site. Defendant Gibbons continued to access and download additional memoranda

   from the restricted portions of CWC Members-Only Site for additional months before the next

   password change on September 27, 2019.

                  2.      Password Change: September 27, 2019

          125.    On September 27, 2019, the Company A Employee initiated a password change for

   the CWC Members-Only Site.

          126.    On October 8, 2019, Defendant Gibbons, using the Littler IP address, unsuccessfully

   tried to access the Login Page of the CWC Members-Only Site. Because a password change had

   been previously made, Defendant Gibbons was unable to access the CWC Members-Only Site.

          127.    Defendant Gibbons contacted the Company A Employee and told the employee that

   he was unable to access the CWC Members-Only Site. Defendant Gibbons fraudulently represented

   that he needed to access to a particular CWC memorandum to assist the Company A Employee.

   Defendant Gibbons concealed that he would continue to use the credentials to access a substantial

   amount of CWC intellectual property. Defendant Gibbons’s request for the new password was made

   in his capacity as a Littler shareholder and to generate profits for Littler

          128.    Relying on the fraudulent representations of Defendant Gibbons, the Company A

   Employee provided the new password to Defendant Gibbons.
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          129.   On October 15, 2019, with the new password, Defendant Gibbons accessed the CWC

   Members-Only Site and selected, obtained, viewed, downloaded, used, and infringed six CWC

   copyright-protected memoranda.

          130.   Defendant Gibbons continued to use the credentials to download more CWC

   copyright-protected memoranda. For example, during October 18, 2019 through February 13, 2020,

   Defendants Littler and Gibbons, using the Littler IP address, accessed, selected, obtained, viewed,

   downloaded, used, and infringed approximately 118 memoranda from the CWC Members-Only Site.

   Defendant Gibbons continued to access and download additional memoranda from the CWC

   Members-Only Site for additional months before the next password change on February 19, 2020.

                 3.      Password Change: February 19, 2020

          131.   On February 18, 2020, certain users of CWC’s website, including the Company A

   Employee, received a notification to update their CWC website passwords. The notification also

   stated: “Remember to never share your username and password with anyone outside or even within

   your organization. If any of your coworkers need access to our members-only content, it’s easy for

   them to setup a new account….”

          132.   On February 19, 2020, Defendant Gibbons used the Littler IP address and

   unsuccessfully attempted to access the CWC Members-Only Site. Because a required password reset

   was imposed on February 18, 2020 and the Company A Employee had not reset their password,

   Defendant Gibbons was unable to access the CWC Members-Only Site

          133.   Defendant Gibbons contacted the Company A Employee and told the employee that

   he was unable to access the CWC Members-Only Site. Defendant Gibbons fraudulently stated that

   he needed to get access to a particular CWC memorandum. Defendant Gibbons concealed that he

   would use the credentials to continue to access a substantial amount of CWC intellectual property.



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   Defendant Gibbons’s request for the new password was made in his capacity as a Littler shareholder

   and to generate profits for Littler.

           134.    After Defendant Gibbons contacted the Company A Employee, and relying on the

   fraudulent representations of Defendant Gibbons, the employee used the employee’s credentials to

   access the CWC Members-Only Site and reset the password. The Company A Employee then

   provided the new password to Defendant Gibbons.

           135.    With the new password, Defendant Gibbons accessed the CWC Members-Only Site

   and selected, obtained, viewed, downloaded, used, and infringed nine CWC copyright-protected

   memoranda on February 19, 2020.

           136.    Defendant Gibbons continued to use the credentials to download more CWC

   copyright-protected memoranda. For example, on February 20, 2020 through February 28, 2020,

   Defendant Gibbons used the Littler IP address to access and download 25 additional memoranda from

   the CWC Members-Only Site. Defendant Gibbons continued to access and download additional

   memoranda from the CWC Members-Only Site through March 18, 2020.

           M.      Infringement Committed Willfully and with Intent to Engage in Other Unlawful
                   Activity

           137.    The acts of infringement of the copyrighted works listed in Exhibits A (List of CWC

   Information Obtained by the Littler IP Address) and B (List of CWC’s registered works) were

   committed willfully by Defendants Littler and Gibbons under 17 U.S.C. § 504(c)(2). This same

   conduct was also committed with the intent to engage in the unlawful activity described in the

   Complaint.

           138.    As a former CWC staff member and Assistant General Counsel, Defendant Gibbons

   was aware that accessing, selecting, obtaining, viewing, downloading, retaining, printing, using,

   infringing (including creating derivative works of) the materials from the CWC Members-Only Site


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   was against CWC’s policies, and constituted copyright infringement. For example, Defendant

   Gibbons was aware that (1) only members could access restricted content on the CWC Members-

   Only Site; (2) Defendant Gibbons was not an employee of a CWC member employer and was

   ineligible to become one based on his work as a shareholder and attorney at the Littler law firm; and

   (3) Defendant Littler as a law firm was ineligible to be a CWC member.

          139.    Having authored a number of CWC Memos-Online during his tenure as a CWC

   Assistant General Counsel, and having infringed and unlawfully obtained CWC materials as a Littler

   shareholder, Defendant Gibbons was further aware that each CWC memorandum contained a CWC

   copyright notice noting that all rights were reserved to CWC and no part of the memorandum could

   “be reproduced without permission of CWC.”

          140.    Yet, with Defendant Littler’s actual or constructive knowledge, Defendant Gibbons

   continued to access, select, obtain, view, download, use and/or infringe the restricted CWC

   information and copyrighted works approximately four hundred forty-two (442426) times for

   approximately seventeen (17) months as reflected in Exhibit A (List of CWC Information Obtained

   by the Littler IP Address). During this period, CWC copyrighted works were infringed approximately

   four hundred and twenty (420417) times as reflected in Exhibit B (CWC Copyright Registrations).

          141.    Furthermore, Defendant Gibbons’s early attempts to obtain information and infringe

   materials from the CWC Members-Only Site directly from CWC staff member were rejected, and in

   the process Defendant Gibbons acknowledged this behavior had the potential to “get [some]one in

   trouble.”

          142.    Defendant Gibbons persisted in trying to obtain restricted content from the CWC

   Members-Only Site until he was able to obtain the credentials to which he used to access the CWC

   Members-Only Site by making false and misleading statements to the Company A Employee.



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          143.       As noted, the password for the user credentials fraudulently used by Defendant

   Gibbons was reset three times. Defendant Gibbons made multiple false and misleading statements

   to obtain the new password each time the password he had obtained from the Company A Employee

   had been reset.

          144.       As further evidence of willfulness and intent to engage in unlawful behavior,

   Defendant Gibbons committed the conduct for purposes of commercial advantage or private financial

   gain and also in furtherance of other tortious and criminal acts. For example, after the initial

   download and infringement of CWC materials, Defendant Gibbons retained, printed, and used the

   CWC materials in Littler’s practice for the commercial advantage or private financial gain of Littler.

   Additionally, CWC is informed and believes and, based thereon, alleges, after the initial downloads

   and infringement of the CWC materials, Defendant Gibbons engaged in subsequent acts of

   infringement of CWC materials including by reproducing, copying and creating derivative works

   from the initial downloaded of the CWC copyrighted material.

          N.         Littler’s Access to the         CWC      Members-Only       Confidential     Connect
                     Communications Platform

          145.       In addition to infringing the intellectual property and obtaining information from the

   CWC Members-Only Site, on March 18, 2020 Defendants Littler and Gibbons, using the Littler IP

   address and Littler’s information technology resources, also intentionally accessed the CWC

   Members-Only Confidential Connect Communications Platform.

          146.       The access to the CWC Members-Only Confidential Connect Communications

   Platform by Defendants Littler and Gibbons was intentional and highly invasive. The unauthorized

   access to the Platform by the Littler IP address allowed Littler to access, view, monitor, and observe

   private member communications on workplace compliance issues. The members in the platform did

   not know that someone using the Littler IP address was accessing, viewing, monitoring and observing


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   their confidential communications. This intrusion by the Littler IP address violated the security and

   privacy that CWC has established for its members to communicate confidentially with one another.

          147.    As a result of the fraud previously described, Defendants Littler and Gibbons obtained

   restricted, confidential and private information from the CWC Members-Only Confidential Connect

   Communications Platform.        By accessing the CWC Members-Only Confidential Connect

   Communications Platform, Defendants Littler and Gibbons had access to view, monitor, and observe

   confidential communications of CWC Members. The CWC Members were unaware that a member

   of the Littler law firm could view their private and communications on workplace compliance and

   risk management issues. The exposure to the private confidential CWC Member communications

   allowed Defendants Littler and Gibbons to seek business opportunities with potential clients by

   learning the confidential communications of CWC Members.

          148.    As a former CWC staff member, Defendant Gibbons was aware that his access to the

   CWC Members-Only Confidential Connect Communications Platform was unauthorized. Defendant

   Gibbons was aware that (1) only members could access the CWC Members-Only Site; (2) Defendant

   Gibbons was not a member and was ineligible to become a member based on his work as a

   shareholder and attorney at the Littler law firm; and (3) Defendant Littler was ineligible to be a

   member as a law firm.

          149.    Additionally, on July 9, 2019, Defendant Gibbons, using the Littler IP address,

   accessed the CWC Members-Only Site and selected, obtained, viewed, downloaded, used, and

   infringed the following CWC Memorandum: “CWC Members Are Sharing Best Practices Via Our

   Online Collaboration Center, ‘CWC Connect’” (No. 18-129), which described the benefits and

   options in using the Platform and expressly noted that “CWC Connect is a secure online platform




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   available only to CWC members and includes a Best Practices community that provides our members

   the opportunity to directly communicate, benchmark, and share ideas with each other.”

          O.      Discovery of the Littler Infringement of the 2017 CWC Pre-Existing Big Data
                  Analytics Presentation

          150.    Further infringement of CWC material was uncovered involving Littler and its

   shareholders, associates, attorneys, principals, employees, representatives and agents including

   Littler principal Defendant Gokturk.

          151.    On May 11-12, 2017, CWC hosted its third annual Talent Acquisition Compliance

   Summit (“TACS”) in Dallas, Texas.

          152.    Defendant Gibbons attended and presented at the 2017 TACS as CWC Senior

   Counsel. Defendant Gokturk attended and presented as a CWC Senior Advisor.

          153.    On May 12, 2017 at TACS, a CWC copyright-protected presentation was made by

   two CWC Senior Counsel, entitled “Big Data Analytics and Artificial Intelligence: The Compliance

   and Diversity Implications Of Automating Early Stage Recruitment” (“2017 CWC Pre-Existing Big

   Data Analytics Presentation”).

          154.    The 2017 CWC Pre-Existing Big Data Analytics Presentation was drafted exclusively

   for and on behalf of EEAC (now CWC) with the understanding that EEAC (now CWC) would retain

   the full ownership and the copyright of the 2017 CWC Pre-Existing Big Data Analytics Presentation

   and any subsequent versions.

          155.    As the copyright owner for the 2017 CWC Pre-Existing Big Data Analytics

   Presentation, only EEAC (now CWC) could provide permission for further use of the work. EEAC

   (now CWC) retained full copyright ownership in the work.

          156.    The Power Point presentation for the 2017 CWC Pre-Existing Big Data Analytics

   Presentation bears the copyright notice of CWC’s predecessor in the footer of the slides.


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                 a.     As an example, as depicted, the presentation slides bear the footer:

                 COPYRIGHT 2017 EEAC




          157.   The presentation of the 2017 EEAC copyright notice confirmed the copyright

   ownership by EEAC.

          158.   CWC holds the copyright registration to the 2017 CWC Pre-Existing Big Data

   Analytics Presentation: Copyright Registration No. TX0008882252.

          159.   Defendant Chris Gokturk was familiar with the 2017 CWC Pre-Existing Big Data

   Analytics Presentation. She attended the 2017 TACS.

          160.   Defendant Gokturk received and obtained a copy of the 2017 CWC Pre-Existing Big

   Data Analytics Presentation bearing the EEAC copyright notice.

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           161.    Defendant Gokturk was aware of the 2017 EEAC copyright notice on the 2017 CWC

   Pre-Existing Big Data Analytics Presentation. As a former CWC staff member, Defendant Gokturk

   was familiar with EEAC and CWC’s practice of marking EEAC and CWC materials with copyright

   notices.

           162.    Defendant Gokturk had no role in creating or presenting the 2017 CWC Pre-Existing

   Big Data Analytics Presentation.

                   a.       Defendant Gokturk was not an author of the 2017 CWC Pre-Existing Big Data

   Analytics Presentation.

                   b.       Defendant Gokturk did not contribute any content to the 2017 CWC Pre-

   Existing Big Data Analytics Presentation.

           163.    CWC never granted permission to Defendant Littler nor Defendant Gokturk to copy

   the 2017 CWC Pre-Existing Big Data Analytics Presentation, or any portion, variation or derivative

   work thereof.

                   a.       CWC never granted permission to Defendant Littler nor Defendant Gokturk to

   copy or reproduce the 2017 CWC Pre-Existing Big Data Analytics Presentation with any prospective

   or current Littler clients or third parties or entities.

           164.    In 2019, Defendants Littler and Gokturk infringed the 2017 CWC Pre-Existing Big

   Data Analytics Presentation by copying and reproducing the presentation at Littler including for

   promotional purposes for the benefit and profit of Littler.

           165.    In May 2020, CWC discovered a Littler presentation entitled “Technology in

   Recruiting and Hiring: Hidden Legal Risks,” dated October 18, 2019 (“October 2019 Infringing




                                                         55
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   Littler Presentation”), presented by Littler shareholder Charles (Chad) E. Reis, IV, and Littler

   associate Lillian T. Manning.33

              166.       A review of the October 2019 Infringing Littler Presentation confirms that several of

   the presentation slides infringed the 2017 CWC Pre-Existing Big Data Analytics Presentation.

                         a.     For example, a side-by-side comparison shows the infringement, including

   entire phrases and sentences have been copied directly from the CWC presentation into the infringing

   Littler presentation, with trivial at most modifications:

              // // //




   33
        See Exhibit K (Littler Presentation: “Technology in Recruiting and Hiring: Hidden Legal Risks” (Oct. 18, 2019)).

                                                              56
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          167.   The October 2019 Infringing Littler Presentation infringed the 2017 CWC Pre-

   Existing Big Data Analytics Presentation.



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            168.     The footer for most of the slides of the October 2019 Infringing Littler Presentation,

   including slides with infringed content, bears this designation:

                     © Littler Mendelson, P.C. | 2019 Proprietary and Confidential

            169.     The October 2019 Infringing Littler Presentation infringes content from the 2017

   CWC Pre-Existing Big Data Analytics Presentation and presents the content in these slides as

   “Proprietary and Confidential” to Littler along with a Littler copyright notice.                           The Littler

   presentation falsely represents Littler as the original author of content copied from the 2017 CWC

   Pre-Existing Big Data Analytics Presentation.

            170.     Defendant Littler, Defendant Gokturk and Doe Defendants removed the EEAC

   copyright notice from the 2017 CWC Pre-Existing Big Data Analytics Presentation and substituted

   the Littler copyright notice on the October 2019 Infringing Littler Presentation.

            171.     CWC is informed and believes and, based thereon, alleges, and to be fully determined

   at trial, that Defendant Littler has infringed the 2017 CWC Pre-Existing Big Data Analytics

   Presentation on other occasions. For example, a presentation, entitled “Technology in Hiring and

   Recruiting,” was made in August 2019 by Littler shareholder Charles (Chad) E. Reis,34 and another

   presentation, entitled, “How Artificial Intelligence and Technology Are Changing Talent Acquisition

   Compliance,” was made in May 2019 in Phoenix, Arizona by Defendant Gibbons and Defendant

   Gokturk,35 among possibly other presentations.

            172.     Defendant Gokturk’s acts of infringement of the copyrighted 2017 CWC Pre-Existing

   Big Data Analytics Presentation were committed willfully under 17 U.S.C. § 504(c)(2). This same



   34
      See Exhibit L (Littler Bio for Shareholder Charles (Chad) E. Reis), accessible at
   https://www.littler.com/people/charles-chad-e-reis-iv (viewed on Nov. 9, 2020).
   35
      See Exhibit E (Littler Bio for Lance E. Gibbons Shareholder), previously available at
   https://www.littler.com/people/lance-e-gibbons (last accessed on April 2, 2020); Exhibit F (“Littler Adds Chris Gokturk
   in Northern Virginia”) (Feb. 26, 2019), accessible at https://www.littler.com/publication-press/press/littler-adds-chris-
   gokturk-northern-virginia (viewed on Nov. 9, 2020).

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   conduct was also committed with the intent to engage in the unlawful activity described in the

   Complaint.

            173.     For example, Defendant Gokturk was required to obtain prior approval before

   divulging proprietary information to anyone. Defendant Gokturk was also required to obtain

   permission before appropriating the proprietary information to any other client, firm, or other entity.

            174.     Defendant Gokturk was also prohibited from soliciting, inducing, or attempting to

   induce any past or current firm clients, or any prospective clients, including CWC.

            175.     In 2019, neither Defendant Littler nor Defendant Gokturk sought the prior approval

   or permission of CWC to divulge and use the 2017 CWC Pre-Existing Big Data Analytics

   Presentation in (1) the practice areas of Defendants Littler and Gokturk;36 (2) the business of Littler

   and legal services provided to prospective and current Littler clients; (3) the areas in which Littler

   competes with CWC; or (4) for any other purpose.

            176.     At no time during her tenure at CWC did Defendant Gokturk contend or claim that

   she had an ownership interest in the 2017 CWC Pre-Existing Big Data Analytics Presentation. As

   noted, Defendant Gokturk had no role in the 2017 CWC Pre-Existing Big Data Analytics

   Presentation.

            177.     By infringing the 2017 CWC Pre-Existing Big Data Analytics Presentation for and on

   behalf of Defendant Littler, Defendant Gokturk disregarded the copyright notice of EEAC.

            178.     By infringing the 2017 CWC Pre-Existing Big Data Analytics Presentation,

   Defendants Littler and Gokturk falsely represented that Littler was the original author of the content

   copied from the 2017 CWC Pre-Existing Big Data Analytics Presentation. In fact, in receiving a


   36
     See Exhibit I (Littler Practices), accessible at https://www.littler.com/practices-industries (viewed Nov. 9, 2020); see
   also Exhibit G (Littler Bio for Chris Gokturk Principal), accessible at https://www.littler.com/people/lance-e-gibbons
   (viewed on Nov. 9, 2020); Exhibit F (“Littler Adds Chris Gokturk in Northern Virginia”) (Feb. 26, 2019), accessible at
   https://www.littler.com/publication-press/press/littler-adds-chris-gokturk-northern-virginia (viewed on Nov. 9, 2020).

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   copy of the 2017 CWC Pre-Existing Big Data Analytics Presentation bearing the EEAC copyright

   notice, she knew and understood that EEAC was the copyright owner of the work.

           179.    CWC is informed and believes and, based thereon, alleges, and to be fully determined

   at trial, that Defendants Littler and Gokturk have infringed other CWC presentations and materials in

   the same manner on other occasions. For example, CWC is informed and believes that former CWC

   staff members and Defendants Gibbons and Gokturk brought to Defendant Littler other CWC

   information and materials that were used, copied, reproduced and shared with others at Littler for the

   benefit and profit of Littler.

                                    V.     COPYRIGHTED WORKS

           180.    CWC is the owner of the copyrights to the works identified in Exhibit B (CWC

   Copyright Registrations), and each of the works have been duly registered with the United States

   Copyright Office.

           181.    CWC has the exclusive right to, among other things, reproduce, distribute, publicly

   display, and create derivative works from CWC's Copyright Works.

           182.    Exhibit B lists each registered work as follows: (1) Column 1 providing the claim

   number, (2) Column 2 providing the title of the work infringed, (3) Column 3 providing the CWC

   Memorandum Number, if any, for the work infringed, (4) Column 4 providing the date of publication,

   (5) Column 5 providing the date of registration, (6) Column 6 providing the copyright registration

   number(s) for the work, (7) Column 7 providing the date on which infringement occurred, or CWC

   believes infringement to have first occurred, and (8) Column 8 providing the number of times each

   CWC work was downloaded.

           183.    For each work identified in Exhibit B, on or about the date(s) listed on Column 5,

   CWC complied in all respects with the requirements of the Copyright Act and received from the

   Register of Copyrights Certificates of Registration bearing the number(s) listed on Column 6.
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      VI.       COUNT 1: DIRECT AND CONTRIBUTORY COPYRIGHT INFRINGEMENT
                    OF WORKS FROM THE CWC MEMBERS-ONLY SITE
                           (Defendants Littler, Gibbons and Does 1-10)

            184.   CWC re-alleges and incorporates by reference paragraphs 1-67, 69-149, 180-183, as

   though set forth herein in full.

            185.   As alleged above, CWC owns registered copyrights for the CWC Copyrighted Works

   for each of the Claim Numbers listed in Exhibit B (CWC Copyright Registrations).

            186.   Beginning at a time unknown, but at least by November 16, 2018 through March 18,

   2020, Defendants Littler, Gibbons, and Does 1-10, using the Littler IP reproduced, distributed,

   displayed, and made derivative works of these works, which were located in the CWC Members-

   Only Site.

            187.   The unauthorized reproduction, distribution, display and creation of a derivative work

   by Defendants Littler, Gibbons, and Does 1-10 infringes CWC’s exclusive rights in violation of the

   Copyright Act.

            188.   Each infringement was done without CWC’s permission, contrary to CWC’s stated

   policies, and despite copyright notices attached to those documents.

            189.   Each of these discrete acts constitutes infringement of CWC’s copyrights in those

   works, and CWC alleges willful copyright infringement based on these acts for Claim Numbers 1 to

   90 and 92 to 253 listed in Exhibit B (CWC Copyright Registrations).

            190.   Each act of infringement occurred using the Littler infrastructure, platform and

   resources (including the use of Littler’s IP address, computing and network resources, and branding

   and other materials).

            191.   CWC is informed and believes and, based thereon, alleges, and to be fully determined

   at trial, Defendants Littler, Gibbons, and Does 1-10 produced an indeterminate number of infringing

   derivative works based on one or more of the CWC Copyrighted Works for the Claim Numbers listed
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   in Exhibit B (CWC Copyright Registrations) in client communications or other work product

   produced for the benefit of Littler.

          192.    As set forth above, in committing each of these acts in this count, the Littler

   Defendants were acting as a representative and agent of Littler and within the course and scope of

   their employment and for the benefit of Littler, with the actual or implied knowledge of Littler.

          193.    The specific acts of copyright infringement alleged in the Complaint have caused and

   are causing CWC great and incalculable damage. The scope of Littler’s infringement, potential

   republication of infringing materials, or other potentially ongoing acts of infringement has yet to be

   determined. Unless this Court provides injunctive relief, any ongoing infringement would be an

   irreparable injury for which CWC would have no adequate remedy at law.

          194.    The acts of infringement by Defendants Littler, Gibbons, and Does 1-10 were

   committed “willfully” under 17 U.S.C. § 504(c)(2).

          195.    CWC is entitled to maximum statutory damages, pursuant to 17 U.S.C. § 504(c), with

   respect to each applicable work infringed, or such other amounts as may be proper under 17 U.S.C.

   § 504(c).

          196.    The following facts and factors, among others to be proven at trial, are relevant to

   statutory damages pursuant to 17 U.S.C. § 504(c):

                  a.      The circumstances of the infringement involve former CWC staff members

   who were familiar with the proprietary nature of the CWC intellectual property, the manner in which

   the intellectual property was created, and the restrictions on its use.

                  b.      The extent and duration of the infringement involves a recurring infringement

   and of a voluminous amount of CWC material and information over an extended period of time from

   at least November 2018 through the beginning of March 2020.



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                    c.       The expenses saved by the Defendants by infringing the CWC material and

   information.

                    d.       The profits and benefits to the Defendants including to promote (1) the practice

   areas of the Littler Defendants; (2) the business of Littler and legal and related services provided to

   prospective and current Littler clients; and (3) the areas in which Littler competes with CWC.

                    e.       Multiple misleading or false statements made by the Defendants as part of the

   copyright infringement as noted above, including but not limited to falsely representing that

   Defendant Littler was the original author of content copied from CWC.

                    f.       The fact that the CWC materials bore copyright notices which were

   disregarded or removed in creating and using new Littler materials for the use and profit by Littler.

                    g.       The fact that Defendant Littler advises employers how to avoid the unlawful

   conduct that occurred in this case.

                    h.       The size, resources and revenues37 of Defendant Littler as “the largest global

   employment and labor law practice, with more than 1,500 attorneys in 80 offices worldwide,”38

   including the ability to pay damages.39

                    i.       The need to deter the Defendants and other potential infringers.40

           197.     CWC is entitled to its actual damages and disgorgement of any profits of the

   Defendants with respect to each applicable work infringed, as will be proven at trial, under 17 U.S.C.

   §§ 504(a), 504(b).


   37
      The National Law Journal reported that Littler had $590,038,000 in gross revenue in 2019. See Law.com Littler Firm
   Profile, https://www.law.com/law-firm-profile/?id=186&name=Littler-Mendelson (viewed Nov. 9, 2020).
   38
      See note 11 (Littler publications making this statement), supra.
   39
      See, e.g., Lowry’s Reports, Inc. v. Legg Mason, Inc., 302 F. Supp. 2d 455, 461 (D. Md. 2004) (in affirming copyright
   statutory damages, noting “[t]he wealth of the defendant has been widely recognized as relevant to the deterrent effect
   of a damages award”) (collecting other cases).
   40
      See, e.g., F.W. Woolworth Co. v. Contemporary Arts, 344 U.S. 228, 234 (1952) (“[A] rule of liability which merely
   takes away the profits from an infringement would offer little discouragement to infringers. It would fall short of an
   effective sanction for enforcement of the copyright policy.”).

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          198.    Defendants Littler, Gibbons and Does 1-10 had knowledge of the infringing activity.

   For example, each CWC copyrighted work bore a copyright notice identifying Plaintiff as the owner

   of the copyright protected work. The copyright notices were removed or disregarded so the CWC

   content could be used for the benefit and profit of Defendant Littler including the creation and use of

   derivative works.

          199.    Defendant Gibbons also was familiar with the steps taken by CWC to protect its

   intellectual property. Defendant Gibbons had drafted CWC materials that bore these copyright

   notices.

          200.    CWC is informed and believes and, based thereon, alleges, and to be fully determined

   at trial, that Defendants Littler, Gibbons and Does 1-10 induced, caused or materially contributed to

   the infringing conduct of another. For example, once the CWC works were introduced to the Littler

   infrastructure, platform and resources, the CWC works became available to others either by

   reproducing, distributing, sharing or making them available to others at Littler.

          201.    Defendant Littler facilitated, encouraged and materially contributed to such

   infringement by continuing to provide its network and the facilities necessary for the recurring and

   ongoing infringements on the Littler infrastructure, platform and resources (including the use of

   Littler’s IP address, computing and network resources, and branding and other materials).

          202.    Each infringement of CWC’s copyrighted works constitutes a separate and distinct act

   of infringement.

          203.    CWC is entitled to its costs, including reasonable attorneys’ fees, under 17 U.S.C. §

   505, where applicable.

          204.    The conduct Defendants Littler, Gibbons, and Does 1-10 caused and, unless enjoined

   by this Court, will continue to cause CWC irreparable injury which cannot be fully compensated or



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   measured in monetary terms. CWC has no adequate remedy at law and is entitled to a permanent

   injunction prohibiting the reproduction, distribution, sale, or other use or exploitation of the

   Copyrighted materials, under 17 U.S.C. § 502.

                VII. COUNT 2: COMPUTER FRAUD AND ABUSE ACT
       UNDER 18 U.S.C. § 1030(a)(2)(C) OBTAINING INFORMATION FROM THE CWC
                                  MEMBERS-ONLY SITE
                         (Defendants Littler, Gibbons and Does 1-10)

           205.    CWC re-alleges and incorporates by reference paragraphs 1-67, 69-149, 180-204, as

   though set forth herein in full.

           206.    During the period from November 16, 2019 through March 18, 2020, Defendants

   Littler, Gibbons, and Does 1-10 intentionally accessed the CWC Members-Only Site, without

   authorization, or exceeding authorized access, and thereby obtained information from the protected

   computer in violation of 18 U.S.C. § 1030(a)(2)(C).

           207.    Defendants Littler, Gibbons, and Does 1-10 used Littler’s robust platform and

   resources, including the Littler IP address, to access, select, obtain, view, download, retain, print, and

   use restricted CWC information and copyrighted materials to benefit Defendant Littler directly and

   indirectly and themselves as a Littler shareholder. For example, this included using Littler computers,

   computers systems and the Littler IP address to access without authorization, and exceeding any

   authorized access, restricted content on the CWC Members-Only Site.

           208.    Defendants Littler, Gibbons, and Does 1-10 used the Littler IP address and resources

   to obtain the information listed on Exhibit A (List of CWC Information Obtained by the Littler IP

   Address).

           209.    As described above, the intentional access, without authorization or exceeding

   authorized access, included the highly invasive access on March 18, 2020 to CWC’s Connect

   communications platform, which is a highly confidential online community for CWC members. The


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   CWC Members did not know that a member of the Littler law firm could view their private and

   confidential communications on workplace compliance and risk management issues.

          210.    Each unauthorized access occurred using the Littler infrastructure, platform and

   resources (including the use of Littler’s IP address, computing and network resources, and branding

   and other materials).

          211.    As set forth above, in committing each of these acts in this count, the Littler

   Defendants were acting as a representative and agent of Littler and within the course and scope of

   their employment and for the benefit of Littler, with the actual or implied knowledge of Littler.

          212.    Defendant Gibbons was aware that his access to the CWC Members-Only Site was

   unauthorized. Defendant Gibbons was aware that (1) only members could access the CWC Members-

   Only Site; (2) Defendant Gibbons was not a member and was ineligible to become a member based

   on his work as a shareholder and attorney at Defendant Littler; and (3) Defendant Littler as a law firm

   was ineligible to be a member.

          213.    Consequently, Defendant Gibbons asked others to obtain CWC member-restricted

   information for him.

          214.    Defendant Gibbons recognized that asking others to obtain for his and Defendant

   Littler’s benefit CWC member-restricted content may cause “trouble.”

          215.    Undeterred, Defendant Gibbons sought to use the credentials of another individual

   who was employed at Company A to obtain restricted content from the CWC Members-Only Site.

   Defendant Gibbons on multiple occasions made false and misleading statements to obtain the login

   credentials of the Company A Employee.

          216.    CWC’s proprietary and other information are stored on the CWC Members-Only Site

   to make those materials accessible to its members through a password-protected portion of its



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   website. The CWC Members-Only Site is a “protected computer,” under 18 U.S.C. § 1030(e)(2)(B),

   in that the computer is used in or affecting interstate or foreign commerce or communication and is

   connected to the Internet.

           217.    As a result, CWC has suffered a “loss”, under 18 U.S.C. § 1030(e)(11), which exceeds

   $5,000 based on reasonable costs including the cost of responding to the offense, investigating the

   incident, conducting a damage assessment, and restoring the data, program, system, or information

   to its condition prior to the offense. For example, CWC and external resources were committed to

   respond to the offense, investigate the incident, conduct a damage assessment and restore the system

   and information. CWC initiated an internal investigation and engagement of outside resources to

   determine who was responsible for the unauthorized access to information and materials on the CWC

   Members-Only Site, and the scope of the information accessed and obtained.

           218.    The loss to CWC or more persons during any one-year period aggregating at least

   $5,000 in value, under 18 U.S.C. § 1030(c)(4)(A)(i)(I).

           219.    Pursuant to the Computer Fraud and Abuse Act, 18 U.S.C. § 1030 et seq., CWC is

   entitled to compensatory damages, injunctive relief or other equitable relief, attorney’s fees and costs,

   where applicable, and all other appropriate relief.

                     VIII. COUNT 3: COMPUTER FRAUD AND ABUSE ACT
                        UNDER 18 U.S.C. § 1030(a)(4) COMPUTER FRAUD
                            (Defendants Littler, Gibbons and Does 1-10)

           220.    CWC re-alleges and incorporates by reference paragraphs 1-67, 69-149, 180-219, as

   though set forth herein in full.

           221.    During the period from November 16, 2019 through March 18, 2020, Defendants

   Littler, Gibbons, and Does 1-10 knowingly and with intent to defraud accessed the CWC Members-

   Only Site, a protected computer, without authorization, or exceeding authorized access, and by means

   of such conduct furthered the intended fraud and obtained anything of value, that is the information
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   reflected in Exhibit A (List of CWC Information Obtained by the Littler IP Address), in violation of

   18 U.S.C. § 1030(a)(4).

           222.    The intended fraud included during each unauthorized access to the CWC Members-

   Only Site, Defendants Littler, Gibbons, and Does 1-10 falsely represented that the Defendants had a

   CWC member account, were the account holder, and were entitled to access the CWC Members-

   Only Site.

           223.    The intended fraud included during each unauthorized access to the CWC Members-

   Only Site, Defendants Littler, Gibbons, and Does 1-10 in using the credentials of the Company A

   Employee, falsely represented that the Company A employee was accessing the CWC Members-

   Only Site and concealing the fact that the Defendants were actually making unauthorized access to

   the CWC Members-Only Site.

           224.    The intended fraud included making fraudulent statements to obtain the login

   credentials of the Company A Employee.

           225.    As a result of the fraud, Defendants Littler and Gibbons obtained restricted

   information from the CWC Members-Only Site which they used to benefit and profit Littler.

           226.    The value of the information substantially exceeded $5,000. For example, the cost of

   development or production of the information exceeds $5,000.

           227.    Defendants Littler and Gibbons recognized the value of the information as they used

   it in their legal services with clients and other third parties.

           228.    Defendants Littler and Gibbons used Littler’s robust platform and resources to access,

   obtain, download, infringe and use restricted CWC information and copyrighted materials to benefit

   Defendant Littler directly and indirectly and themselves as a Littler shareholder and principal. For

   example, this included using Littler computers, computers systems and the Littler IP address.



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           229.    As set forth above, in committing each of these acts in this count, the Littler

   Defendants were acting as a representative and agent of Littler and within the course and scope of

   their employment and for the benefit of Littler, with the actual or implied knowledge of Littler.

           230.    The CWC Members-Only Site is a “protected computer,” under 18 U.S.C. §

   1030(e)(2)(B), in that the computer is used in or affecting interstate or foreign commerce or

   communication and is connected to the Internet.

           231.    As a result, CWC has suffered a “loss”, under 18 U.S.C. § 1030(e)(11), which exceeds

   $5,000 based on reasonable costs including the cost of responding to the offense, investigating the

   incident, conducting a damage assessment, and restoring the data, program, system, or information

   to its condition prior to the offense. For example, CWC and external resources were committed to

   respond to the offense, investigate the incident, conduct a damage assessment and restore the system

   and information. CWC initiated an internal investigation and engagement of outside resources to

   determine who was responsible for the unauthorized access to information and materials on the CWC

   Members-Only Site, and the scope of the information accessed and obtained.

           232.    The loss to CWC or more persons during any one-year period aggregating at least

   $5,000 in value, under 18 U.S.C. § 1030(c)(4)(A)(i)(I).

           233.    Pursuant to the Computer Fraud and Abuse Act, 18 U.S.C. § 1030 et seq., CWC is

   entitled to compensatory damages, injunctive relief or other equitable relief, attorney’s fees and costs,

   where applicable, and all other appropriate relief.

                                       IX.    COUNT 4: FRAUD
                               (Defendants Littler, Gibbons and Does 1-10)

           234.    CWC re-alleges and incorporates by reference paragraphs 1-67, 69-149, 180-233, as

   though set forth herein in full.




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          235.    During the period from November 16, 2019 through March 18, 2020, for each and

   every access to the CWC Members-Only Site Defendants Littler, Gibbons, and Does 1-10

   intentionally and knowingly, and with the intent to mislead, made false representations of a material

   fact that (1) the Defendants had a CWC member account, were the account holder, and were entitled

   to access the CWC Members-Only Site; and (2) in using the credentials of the Company A Employee,

   representing that the Company A employee was accessing the CWC Members-Only Site and

   concealing the fact that the Defendants were actually making access to the CWC Members-Only Site.

          236.    The dates of each fraudulent access to the CWC Members-Only Site are reflected on

   Exhibit A (List of CWC Information Obtained by the Littler IP Address).

          237.    The Defendants made these false statements of a material fact for the purpose of

   accessing, selecting, obtaining, viewing, downloading, retaining, printing, and using information and

   materials from the CWC Members-Only Site

          238.    At the time the false statements of a material fact were made, the Defendants knew

   them to be false, and did so with the intent to deceive and mislead CWC.

          239.    The false representations and concealed facts were material. Defendants Littler,

   Gibbons, and Does 1-10 would not have been allowed access to the CWC Members-Only Site had

   CWC known the true identity since the Defendants were ineligible for CWC membership.

          240.    CWC relied on the false representations of a material fact understanding that the

   access was based on the Company A employee and not on Defendants Littler, Gibbons, and Does 1-

   10. CWC understood the credentials were used by a CWC member when in fact the credentials were

   used by individuals associated with a law firm that was ineligible for CWC membership.

          241.    As part of the intent to defraud and intent to mislead, as described above, Defendant

   Gibbons made fraudulent statements to obtain the login credentials of the Company A Employee. By



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   using the credentials of another individual, Defendant Gibbons sought to bypass the restriction that

   law firms and its shareholders “are not eligible for [CWC] membership”41 or to access and obtain

   information and copyright materials from the CWC Members-Only Site.

              242.    The fraud by Defendants Littler, Gibbons, and Does 1-10 resulted in damages to CWC

   as a voluminous amount of CWC’s intellectual property and information was misappropriated and

   obtained by, and used for the benefit and profit of, Defendant Littler.

              243.    The Defendants benefitted at the expense of CWC by obtaining, using and the CWC

   information and materials. The Defendants were unjustly enriched by obtaining the value of the

   information, including based on the production costs of CWC to create the content.

              244.    The Defendants acted under circumstances amounting to a willful and wanton

   disregard for CWC’s rights. As noted above, Defendant Gibbons made repeated false statements to

   obtain the credentials from the Company A employee which he used to access the CWC Members-

   Only Site. After obtaining the credentials, he used them repeatedly over seventeen (17) months to

   fraudulently access, download and/or infringe CWC restricted content which he used to benefit and

   profit Defendant Littler. CWC is informed and believes and, based thereon, he reproduced and

   created derivative works from the CWC materials, used the CWC information and materials in

   Littler’s legal business with Littler clients and others. As a result of the fraud, Defendants Littler and

   Gibbons obtained restricted information from the CWC Members-Only Site which they used to

   benefit and profit Littler.

              245.    As set forth above, in committing each of these acts in this count, the Littler

   Defendants were acting as a representative and agent of Littler and within the course and scope of

   their employment and for the benefit of Littler, with the actual or implied knowledge of Littler.



   41
        See Exhibit C (CWC Membership Application).

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           246.     CWC has suffered damages as a direct and proximate result of the misleading and

   fraudulent statements.

           247.     CWC is entitled to recover appropriate damages, interest, costs and attorney’s fees,

   where applicable, from the Defendants.

           248.     CWC is entitled to punitive damages against the Defendants to be determined by the

   jury in its sole discretion.

           249.     CWC seeks equitable relief, including disgorgement of profits, as the court deems

   appropriate.

        X.    COUNT 5: DIRECT AND CONTRIBUTORY COPYRIGHT INFRINGEMENT
          OF THE 2017 CWC PRE-EXISTING BIG DATA ANALYTICS PRESENTATION
                         (Defendants Littler, Gokturk, and Does 1-10)

           250.     CWC re-alleges and incorporates by reference paragraphs 1-68, 150-183, as though

   set forth herein in full.

           251.     In 2019, Defendants Littler, Gokturk, and Does 1-10 infringed (including creating

   derivative works of) the 2017 CWC Pre-Existing Big Data Analytics Presentation, a copyrighted

   work listed in Exhibit B (CWC Copyright Registrations),42 attached hereto and incorporated herein.

           252.     The unauthorized reproduction, distribution, display and creation of a derivative work

   by Defendants Littler, Gokturk, and Does 1-10 infringes CWC’s exclusive rights in violation of the

   Copyright Act.

           253.     These acts were done without CWC’s permission, contrary to CWC’s stated policies,

   and despite copyright notices attached to those documents.




   42
     “Big Data Analytics and Artificial Intelligence: The Compliance and Diversity Implications Of Automating Early
   Stage Recruitment” (presented on May 12, 2017) (“2017 CWC Pre-Existing Big Data Analytics Presentation”)
   (Copyright Registration No. TX0008882252).

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          254.     CWC is informed and believes and, based thereon, alleges, and to be fully determined

   at trial, Defendants Littler, Gokturk, and Does 1-10 produced an indeterminate number of infringing

   derivative works based on one or more of the 2017 CWC Pre-Existing Big Data Analytics

   Presentation in client communications or other work product produced for the benefit of Littler. Thus,

   Defendants Littler, Gokturk, and Does 1-10 have committed and/or are liable for copyright

   infringement.

          255.     Defendants Littler, Gokturk and Does 1-10 had knowledge of the infringing activity.

   For example, each CWC copyrighted work bore a copyright notice identifying Plaintiff as the owner

   of the copyright protected work. The copyright notices were removed or disregarded so the CWC

   content could be used for the benefit and profit of Defendant Littler including the creation and use of

   derivative works.

          256.     Defendant Gokturk also was familiar with the steps taken by CWC to protect its

   intellectual property. Defendant Gokturk had drafted CWC materials that bore these copyright

   notices.

          257.     CWC is informed and believes and, based thereon, alleges, and to be fully determined

   at trial, that Defendants Littler, Gokturk and Does 1-10 induced, caused or materially contributed to

   the infringing conduct of another. For example, once the CWC works were introduced to the Littler

   infrastructure, platform and resources (including the use of Littler’s IP address, computing and

   network resources, and branding and other materials), the CWC works became available to others

   either by reproducing, distributing, sharing or making them available to others at Littler.

          258.     Defendant Littler facilitated, encouraged and materially contributed to such

   infringement by continuing to provide its network and the facilities necessary for the recurring and




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   ongoing infringements on the Littler infrastructure, platform and resources (including the use of

   Littler’s IP address, computing and network resources, and branding and other materials).

          259.    Each infringement of CWC’s copyrighted works constitutes a separate and distinct act

   of infringement.

          260.    The specific acts of copyright alleged in the Complaint, as well as Defendants Littler,

   Gokturk, and Does 1-10’s entire course of conduct, have caused and are causing CWC great and

   incalculable damage. To date, despite CWC’s attempt to receive a complete accounting from Littler

   of any and all potential derivative uses of the works listed in Exhibit B (CWC Copyright

   Registrations), the scope of Littler’s infringement, potential republication of infringing materials, or

   other potentially ongoing acts of infringement has yet to be determined. Unless this Court provides

   injunctive relief, any ongoing infringement would be an irreparable injury for which CWC would

   have no adequate remedy at law.

          261.    As set forth above, in committing each of these acts in this count, the Littler

   Defendants were acting as a representative and agent of Littler and within the course and scope of

   their employment and for the benefit of Littler, with the actual or implied knowledge of Littler.

          262.    As previously described, Defendants Littler, Gokturk, and Does 1-10’s acts of

   infringement were committed willfully.

          263.    CWC is entitled to actual damages and any additional profits of Defendants under 17

   U.S.C. § 504(a).

          264.    Defendants Littler, Gokturk, and Does 1-10’s conduct caused and, unless enjoined by

   this Court, will continue to cause CWC irreparable injury which cannot be fully compensated or

   measured in monetary terms. CWC has no adequate remedy at law and is entitled to a permanent




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   injunction prohibiting the reproduction, distribution, sale, or other use or exploitation of the

   Copyrighted materials, under 17 U.S.C. § 502.

                   XI.   COUNT 6: ALTERATION OR REMOVAL OF
            COPYRIGHT MANAGEMENT INFORMATION UNDER 17 U.S.C. § 1202
                       (Defendants Littler, Gokturk, and Does 1-10)

           265.    CWC re-alleges and incorporates by reference paragraphs 1-68, 150-183, 250-264, as

   though set forth herein in full.

           266.    The 2017 CWC Pre-Existing Big Data Analytics Presentation contained copyright

   notices identifying Plaintiff as the owner of the copyright protected presentation.

           267.    The inclusion of a copyright notice, including the identity of Plaintiff, constitutes

   “copyright management information” as defined in 17 U.S.C. § 1202(c).

           268.    Defendants Littler, Gokturk, and Does 1-10 without authority of Plaintiff or the law,

   intentionally removed and/or altered and has caused and induced others to remove and/or alter such

   copyright management information from Plaintiff’s subject works, and has thereafter distributed the

   improperly modified works, having reasonable grounds to know that such acts will induce, enable,

   facilitate or conceal an infringement of copyright in violation of 17 U.S.C. § 1202(b)(l) and (3).

           269.    Defendants Littler, Gokturk, and Does 1-10’s removal or alteration of copyright

   management information from Plaintiff’s subject works, and its subsequent distribution of the

   improperly modified, works was, and is, willful and intentional, and was, and is, executed with full

   knowledge of Plaintiff’s rights under copyright law, and in disregard of Plaintiff’s rights.

           270.    As set forth above, in committing each of these acts in this count, the Littler

   Defendants were acting as a representative and agent of Littler and within the course and scope of

   their employment and for the benefit of Littler, with the actual or implied knowledge of Littler.

           271.    Plaintiff is entitled to recover its actual damages suffered as a result of the violation

   and any profits of Defendants Littler, Gokturk, and Does 1-10 attributable to the violation and not
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   taken into account in computing actual damages, or, at Plaintiff’s election, statutory damages pursuant

   to 17 U.S.C. § 1203(c).

           272.    Plaintiff is entitled to recover costs and attorneys’ fees from the Defendants pursuant

   to 17 U.S.C. § 1203(b)(4) and (5).

           273.    Defendants Littler, Gokturk, and Does 1-10’s violations of 17 U.S.C. §§ 1202(b)(l)

   and (3) have caused, and, unless restrained by this Court, will continue to cause, irreparable injury to

   Plaintiff not fully compensable in monetary damages. Pursuant to 17 U.S.C. § 1203(b)(l), Plaintiff is

   entitled to a preliminary and permanent injunction enjoining Defendants Littler, Gokturk, and Does

   1-10 from further such violations.

                  XII.    COUNT 7: VICARIOUS COPYRIGHT INFRINGEMENT
                                      OF CWC WORKS
                                (Defendant Littler and Does 1-10)

           274.    CWC re-alleges and incorporates by reference all of the foregoing paragraphs, as

   though set forth herein in full.

           275.    As alleged above, CWC owns registered copyrights for the CWC Copyrighted Works

   for each of the Claim Numbers listed in Exhibit B (CWC Copyright Registrations).

           276.    Beginning at a time unknown, but at least by November 16, 2018 through March 18,

   2020, Defendants Littler, Gibbons, and Does 1-10, using the Littler infrastructure, platform and

   resources (including the use of Littler’s IP address, computing and network resources, and branding

   and other materials), reproduced, distributed, displayed, and made derivative works of these works,

   which were located in the CWC Members-Only Site, and as otherwise described above. The

   unauthorized reproduction, distribution, display, and/or creation of a derivative work by Defendants

   Littler, Gibbons, and Does 1-10 infringes CWC’s exclusive rights in violation of the Copyright Act.

   This conduct constitutes direct infringement in violation of 17 U.S.C. §§ 106 and 501 et seq.



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            277.     The copyright infringement in this case was voluminous, persistent, and extensive,

   involving different forms of infringement as described above and spanning over 489 days during the

   period of infringement from November 16, 2018 through March 18, 2020.

            278.     Each infringement of CWC’s copyrighted works constitutes a separate and distinct act

   of infringement.

            279.     Each infringement was done without CWC’s permission, contrary to CWC’s stated

   policies, and despite copyright notices attached to those documents.

            280.     Under a claim of vicarious copyright infringement, knowledge of the infringing

   conduct is not required.43 Instead, the focus is on whether the defendant profited directly from the

   infringement and had the right and ability to supervise the infringing activity as described in this First

   Amended Complaint.

            281.     Defendant Littler had the right and ability to supervise, control and terminate the

   voluminous and extensive infringing conduct described in this First Amended Complaint, as further

   described below, that took place using the Littler infrastructure, platform and resources (including

   the use of Littler’s IP address, computing and network resources, and branding and other materials),

   and is liable as a vicarious copyright infringer for the direct infringements described above.

            282.     Defendant Littler controls and supervises the day-to-day activities taking place in the

   Littler law firm and owns and operates the Littler infrastructure, platform and resources (including

   the use of Littler’s IP address, computing and network resources, and branding and other materials)

   through which each act of the copyright infringement took place in this case for the benefit and profit

   of Defendant Littler.


   43
     See, e.g., Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 930 n.9 (2005) (noting the vicarious
   copyright liability theory “allows imposition of liability when the defendant profits directly from the infringement and
   has a right and ability to supervise the direct infringer, even if the defendant initially lacks knowledge of the
   infringement”) (emphasis added).

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          283.    Defendant Littler had a supervisory and controlling relationship over Defendants

   Gibbons, Gokturk and Does 1-10 concerning the legal and other services they provide on behalf of

   Littler, as agents and representatives of Litter, and their interactions and communications with current

   and prospective Littler clients.

          284.    For example, Defendant Littler had the right and ability to supervise and control the

   infringing conduct for the benefit and profit of, Defendant Littler, in the name or on behalf of

   Defendant Littler or using the resources of Defendant Littler through a variety of means including (1)

   by hiring, promoting, providing bonuses and determining compensation for its shareholders,

   associates, attorneys, principals or employees, or other agents; (2) through employment and other

   agreements with its shareholders, associates, attorneys, principals or employees, or other agents;

   (3) by providing, permitting, conditioning, restricting or limiting access to the Littler infrastructure,

   platform and resources (including the use of Littler’s IP address, computing and network resources,

   and branding and other materials); (4) by allowing and blocking access to a particular environment

   or site for any reason; (5) through financial and staff support to its shareholders, associates, attorneys,

   principals or employees, or other agents in the performance of their duties and the delivery of legal

   services to current and prospective clients; (6) through policies that apply to its shareholders,

   associates, attorneys, principals or employees, or other agents; (7) by establishing parameters for the

   delivery of Littler services, exercising control over the services consistent with Littler’s standards;

   (8) by providing terms and parameters to generate business and obtain profits for Littler; (9) by

   establishing processes and procedures to review and approve client invoices and oversee other

   financial aspects in which Littler manages its business and the provision of legal services; (10)

   through the ability to discharge, terminate or modify Defendant Littler’s relationship with its

   shareholders, associates, attorneys, principals or employees, or other agents; and (11) through the



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   ability to monitor and supervise the conduct of its shareholders, associates, attorneys, principals or

   employees, or other agents in the performance of their duties.

          285.    Defendant Littler, self-described as “the largest global employment and labor law

   practice, with more than 1,500 attorneys in 80 offices worldwide,” provides employers with legal

   advice on how to avoid the type of infringement of copyrighted content along with other forms of the

   misappropriation of intellectual property that occurred in this case. Defendant Littler also provides

   legal guidance to employers about the legal risks in hiring employees from competitors.

          286.    As described above, Defendant Littler possessed an obvious and direct financial

   interest in the infringing activity. The infringement of CWC works was conducted by Defendants

   Gibbons, Gokturk and Does 1-10 using the name and resources of Defendant Litter, promoting the

   legal business of Defendant Littler, and billing for legal serves on behalf of Defendant Littler.

          287.    Defendant Littler benefitted financially since the availability of the infringing

   materials was made and used to draw and maintain current or prospective clients.

          288.    Defendant Littler billed Littler clients using the infringed CWC works in this case in

   providing legal and other services.

          289.    Defendant Littler derived revenues by using the infringed CWC works in this case in

   providing legal and other services.

          290.    The specific acts of copyright infringement alleged in the Complaint have caused and

   are causing CWC great and incalculable damage. The scope of Littler’s infringement, potential

   republication of infringing materials, or other potentially ongoing acts of infringement has yet to be

   determined. Unless this Court provides injunctive relief, any ongoing infringement would be an

   irreparable injury for which CWC would have no adequate remedy at law.




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          291.    As described above, the acts of infringement by Defendants Littler, Gibbons, and Does

   1-10 were committed “willfully” under 17 U.S.C. § 504(c)(2).

          292.    CWC is entitled to maximum statutory damages, pursuant to 17 U.S.C. § 504(c), with

   respect to each applicable work infringed, or such other amounts as may be proper under 17 U.S.C.

   § 504(c).

          293.    CWC is entitled to its actual damages and disgorgement of any profits of the

   Defendants with respect to each applicable work infringed, as will be proven at trial, under 17 U.S.C.

   §§ 504(a), 504(b).

          294.    CWC is entitled to its costs, including reasonable attorneys’ fees, under 17 U.S.C. §

   505, where applicable.

          295.    The conduct Defendants Littler, Gibbons, and Does 1-10 caused and, unless enjoined

   by this Court, will continue to cause CWC irreparable injury which cannot be fully compensated or

   measured in monetary terms. CWC has no adequate remedy at law and is entitled to a permanent

   injunction prohibiting the reproduction, distribution, sale, or other use or exploitation of the

   Copyrighted materials, under 17 U.S.C. § 502.

                                        PRAYER FOR RELIEF

   WHEREFORE, CWC requests that the Court grant the following relief:

          A.      Enter judgment in CWC’s favor on each count;

          B.      Enter judgment against Defendant Littler that it is has infringed CWC’s copyrighted

   works, violated the Computer Fraud and Abuse Act, engaged in the Alteration or Removal of

   Copyright Management Information, and engaged in Fraud;

          C.      Enter judgment against Defendant Gibbons that he has infringed CWC’s copyrighted

   works, violated the Computer Fraud and Abuse Act, and engaged in Fraud;



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          D.      Enter judgment against Defendant Gokturk that she has infringed CWC’s copyrighted

   works, and engaged in the Alteration or Removal of Copyright Management Information;

          E.      An order for an accounting (1) to identify, recover and return all misappropriated

   CWC information and material, including but not limited to derivative works, in the possession,

   custody and control of the Defendants and any third parties that the Defendants provided, reproduced,

   or shared CWC information and material, (2) of any monetary benefits, and (3) other benefits received

   by each Defendant as a result of their unlawful acts;

          F.      Grant a preliminary and permanent injunction (a) restraining and enjoining

   Defendants and any of their principals, officers, agents, servants, employees, attorneys, successor and

   assigns, and all persons in active concert or participation with them, from (i) making any unauthorized

   access to any CWC protected computer system, (ii) all further unauthorized reproduction of any

   works published by CWC, display of works published by CWC, and distribution of copies of works

   published by CWC or preparation of derivative works from works published by CWC, and (iii)

   assisting, aiding, or abetting any other person or entity in engaging in or performing any of the

   activities referred to in subparagraphs (i) through (ii) above; and (b) ordering Defendants and any of

   their principals, officers, agents, servants, employees, attorneys, successor and assigns, and all

   persons in active concert or participation with them, to permanently delete and destroy any of CWC’s

   copyrighted works within their possession with a signed affidavit certifying completion of such

   deletion/destruction;

          G.      Grant a preliminary and permanent injunction (a) restraining and enjoining

   Defendants and any of their principals, officers, agents, servants, employees, attorneys, successor and

   assigns, and all persons in active concert or participation with them, from (i) directly or indirectly

   continuing to violate 17 U.S.C. §§ 1202(b)(1) and (3), and (ii) assisting, aiding, or abetting any other



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   person or entity in engaging in or performing any of the activities referred to in subparagraphs (i)

   above;

            H.    Order the impounding of all copies made or derivative works of CWC’s copyrights in

   violation of the exclusive rights of CWC and records documenting the manufacture, sale, or receipt

   of things involved in any such violation, under 17 U.S.C. § 503(a);

            I.    Order the “destruction or other reasonable disposition of all copies” that were “made

   or used in violation of” CWC’s exclusive copyright rights, under 17 U.S.C. § 503(b);

            J.    Enter judgment against Defendants and in favor of CWC for compensatory damages;

            K.    An award of statutory damages of $1.65 million as a result of Defendants’ willful

   infringement of CWC’s copyrighted works;

            L.    An award of statutory damages as a result of the Alteration or Removal of Copyright

   Management Information;

            M.    Order the Defendants to file with the Court and serve upon CWC, within 30 days after

   entry of final judgment, a report in writing and under oath setting forth in detail the manner and form

   by which each Defendant has complied with the provisions set forth in Paragraphs F, G, H, and I of

   this Prayer for Relief;

            N.    An award for the costs of this action, including reasonable attorneys’ fees, where

   applicable, pursuant to 17 U.S.C. § 505, 18 U.S.C. § 1030, 17 U.S.C. § 1203, and other applicable

   laws;

            O.    Enter judgment against Defendants and in favor of CWC for pre-judgment and post-

   judgment interest and costs; and

            P.    Any such other relief as this Court deems just and proper.




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                                    DEMAND FOR JURY TRIAL

          Plaintiffs hereby demand a jury trial on all claims and issues so triable by right to a jury in

   accordance with Rule 38 of the Federal Rules of Civil Procedure.

    Dated: December 8, 2020                          Respectfully submitted,

                                                     MORGAN LEWIS & BOCKIUS LLP
                                                     By:      /s/ Mark L. Krotoski
                                                              /s/ J. Kevin Fee
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                                                         Compliance




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                         Exhibit A
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                                                 Exhibit A
                          List of CWC Information Obtained by the Littler IP Address
                                                                                                       Memo.     Date
Number                                Title of Information Obtained
                                                                                                       Number   Accessed
  1      Connect Platform                                                                               N/A     3/18/2020
         OFCCP Grants Temporary Waiver of Written AAP Requirement for California Wildfire Relief
  2      Contracts                                                                                     18-246   3/18/2020
  3      EEAC’s “AAP Tune-Up” Series: EEAC’s Guide to Reviewing Your EEO-1 Categories                  16-163   3/10/2020
  4      “OFCCP Compliance Primer” Series: The “Job Group Analysis”                                    16-105   3/10/2020
         EEO-1 Update: EEOC Gets Court Permission To Close “Component 2” Filing Deadline for 2017-
         2018 Data, Effective February 14; 2019 Reporting Requirements for “Component 1” Data Remain
  5      On Hold Until EEOC Takes Further Action                                                       20-034   3/10/2020
         Factors To Consider When Thinking About Supplementing Applicant Pools With More Diverse
  6      Candidates                                                                                    12-074   3/6/2020
         Practicing Affirmative Action Within the Law — An Employer’s Guide To Navigating the
  7      Continuously Evolving Legal Environment                                                       08-095   3/6/2020
         Affirmative Action Post- Ricci : The Impact of the Supreme Court’s Reverse Discrimination
  8      Ruling in Ricci v. DeStefano                                                                  09-228   3/6/2020
         Winning or Losing a Discrimination Lawsuit Hinges on Whether Parties Meet Their Burden of
  9      Proof; EEAC’s New Matrix Maps Out the Basics                                                  05-278   3/2/2020
         EEAC’s Guide To Preparing an Effective Response to OFCCP Allegations of Systemic
  10     Discrimination                                                                                08-075   3/2/2020
         Increasing Enforcement Emphasis by OFCCP on Systemic Discrimination Highlights Value of
  11     “Mantel-Haenszel” and “Breslow-Day” Tests in Evaluating Selection Patterns                    08-182   3/2/2020
         CWC Urges OFCCP To Revise Proposed Procedures for Resolving Alleged “Material” Violations
  12     To Make Them Consistent With Title VII Principles                                             20-033   3/2/2020
         Ruling by Administrative Law Judge in OFCCP v. Analogic Corp. Hands Victory to Federal
  13     Contractor, Finds Agency Failed To Prove Systemic Compensation Discrimination                 19-074   2/28/2020
         MEMBER FEEDBACK REQUESTED: OFCCP Issues Proposed Rule To Revise and Codify Its
  14     Procedures for Resolving Alleged “Material” Violations Found During a Compliance Audit        20-001   2/28/2020
         EEAC’s Template for Complying With OFCCP’s New Section 503/4212 Vendor and
  15     Subcontractor Notification Requirement                                                        14-055   2/27/2020
  16     EEAC’s Wide Array of “503/4212” Resource Materials and Compliance Templates                   15-053   2/27/2020
         EEAC’s Updated Resource Materials and Templates for Complying With OFCCP’s Revised
  17     “503/4212” Regulations                                                                        15-260   2/27/2020
  18     MEMBER FEEDBACK REQUESTED: CWC’s Digest of State Affirmative Action Requirements              19-226   2/27/2020
  19     MEMBER FEEDBACK REQUESTED: CWC’s Digest of State Affirmative Action Requirements              19-226   2/27/2020
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                                                                                                      Memo.     Date
Number                                Title of Information Obtained
                                                                                                      Number   Accessed
  20     MEMBER FEEDBACK REQUESTED: CWC’s Digest of Local Affirmative Action Requirements             19-239   2/27/2020
         Factors To Consider When Thinking About Supplementing Applicant Pools With More Diverse
  21     Candidates                                                                                   12-074   2/26/2020
         OFCCP Personnel Update: Director Craig Leen Tapped for New Job by President Trump, Will
         Continue To Serve Until Senate Confirmation; Appointment of New Career Deputy Director Is
  22     Among Other Key Staff Changes                                                                20-039   2/26/2020
         OFCCP Personnel Update: Director Craig Leen Tapped for New Job by President Trump, Will
         Continue To Serve Until Senate Confirmation; Appointment of New Career Deputy Director Is
  23     Among Other Key Staff Changes                                                                20-039   2/26/2020
 2224    CWC Members-Only Data Services - IPEDS 5:02 PM to 5:26 UTC                                    N/A     2/25/2020
 2325    EEAC’s Updated Guide To Setting — or Resetting — Your Annual AAP Cycle                       14-006   2/21/2020
         President Obama Issues Executive Order To Increase Minimum Wage for Employees of Federal
 2426    Contractors and Subcontractors                                                               14-048   2/21/2020
 2527    Labor Department Issues Final Rule Raising Minimum Wage on Certain Federal Contracts         14-205   2/21/2020
         Federal Contractor Minimum Wage Will Increase From $10.60 to $10.80 an Hour on January 1,
 2628    2020                                                                                         19-195   2/21/2020
 2729    CWC’s Quick Reference Guide To Setting – or Resetting – Your Annual AAP Cycle                20-017   2/21/2020
         MEMBER FEEDBACK REQUESTED: White House Office of Management and Budget Asking
 2830    for Public Input on Reform of Federal Agency Adjudicatory Process                            20-037   2/21/2020
         OFCCP Personnel Update: Director Craig Leen Tapped for New Job by President Trump, Will
         Continue To Serve Until Senate Confirmation; Appointment of New Career Deputy Director Is
 2931    Among Other Key Staff Changes                                                                20-039   2/21/2020
         OFCCP Continues To Give Contractors Option of Submitting Either “Incoming” or “Outgoing”
 3032    AAP When Scheduling Letter Is Received Within 30 Days of Annual Update                       14-007   2/20/2020
         OFCCP Continues To Give Contractors Option of Submitting Either “Incoming” or “Outgoing”
 3133    AAP When Scheduling Letter Is Received Within 30 Days of Annual Update                       14-007   2/20/2020
 3234    EEAC’s New “OFCCP Desk Audit Submission Checklist”                                           15-058   2/20/2020
         OMB Approves OFCCP’s Revised Scheduling Letter and Itemized Listing, Effective for Three
 3335    Years                                                                                        16-131   2/20/2020
 3436    EEAC’s Guide To Handling an OFCCP Notice To Audit a Closed Facility                          16-243   2/20/2020
         OFCCP Confirms That It Will No Longer Mail Out “Advance Notice” Letters; Forthcoming Audit
 3537    List Will Be Published Online                                                                19-035   2/20/2020
 3638    MEMBER FEEDBACK REQUESTED: What To Expect During an OFCCP “Compliance Check”                 19-070   2/20/2020


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         MEMBER FEEDBACK REQUESTED: OFCCP Seeking Approval To Make Major Changes to Its
 3739    Compliance Evaluation Scheduling Letters                                                      19-080   2/20/2020
         CWC Submits Written Comments to the EEOC Supporting Agency’s Announced Intent To Seek
         Three-Year Extension of EEO-1 Component 1 Data Reporting Without Component 2 Pay Data
 3840    Collection Provision                                                                          19-238   2/19/2020
         EEO-1 Update: EEOC Gets Court Permission To Close “Component 2” Filing Deadline for 2017-
         2018 Data, Effective February 14; 2019 Reporting Requirements for “Component 1” Data Remain
 3941    On Hold Until EEOC Takes Further Action                                                       20-034   2/19/2020
  42     2016 Federal Posting Requirements.docx                                                         N/A     2/19/2020
  43     Disability and Veteran AAP Implementation Guide.doc                                            N/A     2/19/2020
  44     Summary of Federal Recordkeeping Obligations.doc                                               N/A     2/19/2020
  45     VETS-4212_Requirements.htm                                                                     N/A     2/19/2020
  46     2016 Federal Posting Requirements.docx                                                         N/A     2/19/2020
  47     Disability and Veteran AAP Implementation Guide.doc                                            N/A     2/19/2020
  48     Good Faith Outreach Letter.doc                                                                 N/A     2/19/2020
 4049    EEAC’s New “503/4212 Implementation Guide”                                                    13-219   2/13/2020
         EEAC’s Guide to Complying With the New 503/4212 Requirement to Document Annual
 4150    Assessment of Outreach Efforts                                                                14-050   2/13/2020
 4251    EEAC’s Guide to Preparing “Action-Oriented Programs” To Meet OFCCP’s AAP Requirements         15-183   2/13/2020
         EEAC’s Updated Resource Materials and Templates for Complying With OFCCP’s Revised
 4352    “503/4212” Regulations                                                                        15-260   2/13/2020
         EEAC’s “OFCCP Compliance Primer” Series: Using Data Metrics for Evaluating Your Disability
 4453    and Veterans AAP Obligations                                                                  16-205   2/13/2020
 4554    EEAC’s “AAP Tune-Up” Series: Reviewing Your Good Faith Efforts                                16-251   2/13/2020
         Best Practices for Centrally Managing and Tracking “Good Faith Efforts” To Meet OFCCP
 4655    Requirements                                                                                  17-262   2/13/2020
         MEMBER FEEDBACK REQUESTED: “CWC Reference” Tool Has Been Expanded To Add
 4756    AAP Requirements for Individuals with Disabilities and Protected Veterans                     18-136   2/13/2020
 4857    CWC_41_CFR_60-300.htm                                                                          N/A     2/13/2020
  58     Physical and Mental Qualifications Review Checklist.doc                                        N/A     2/12/2020
  59     Federal Contractor Minimum Wage Notice and Posting Requirements.docx                           N/A     2/12/2020
  60     OFCCP Compliance Primer series_Disability and Veterans AAP Obligations                         N/A     2/12/2020
  61     503-4212_AAP_Requirements.htm                                                                  N/A     2/12/2020


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 4962    20-028                                                                                         20-027   2/7/2020
         MEMBER FEEDBACK REQUESTED: OFCCP Submits Revised “Voluntary Self-ID of Disability
         Form” (Form CC-305) With Minor Improvements to OMB for Approval; Advises Employers To
 5063    Use Technically Expired Form For Now                                                           20-029   2/7/2020
         MEMBER FEEDBACK REQUESTED: OFCCP Submits Revised “Voluntary Self-ID of Disability
         Form” (Form CC-305) With Minor Improvements to OMB for Approval; Advises Employers To
 5164    Use Technically Expired Form For Now                                                           20-029   2/7/2020
         Distinguishing “Basic” Versus “Minimum” Qualifications for Purposes of Complying With
 5265    OFCCP’s Internet Applicant Regulation                                                          08-190   1/30/2020
         “Pre-Screening” Online Job Seekers Can Help To Reduce Recordkeeping Obligations Under
 5366    OFCCP’s Internet Applicant Rule                                                                09-015   1/30/2020
         A Recommended Process for Auditing Your Company’s Compliance With OFCCP’s Internet
 5467    Applicant Rule                                                                                 10-162   1/30/2020
         Timing of a Job Seeker’s Withdrawal From Consideration Is Relevant for Purposes of Complying
 5568    With OFCCP’s Internet Applicant Rule                                                           11-195   1/30/2020
 5669    Atypical Selection Practices and Compliance With OFCCP’s Recordkeeping Requirements            12-196   1/30/2020
 5770    EEAC’s Updated Guide to Responding to OFCCP Requests for Information (RFIs)                    15-083   1/30/2020
         EEAC’s Guide to Maintaining OFCCP-Compliant Records Where Contractor Engages in “Passive”
 5871    Recruiting Practices                                                                           15-164   1/30/2020
 5972    CWC’s Quick Reference Guide To Setting – or Resetting – Your Annual AAP Cycle                  20-017   1/30/2020
         New Edition! “EEO Essentials for Recruiters” Manual — Guidance Provided on OFCCP’s New
 6073    Internet Applicant Regulation                                                                  N06-42   1/30/2020
 6174    EEAC’s Updated Guide to OFCCP-Enforced Contract Clause Requirements                            15-235   1/24/2020
 6275    EEAC’s Guide to OFCCP Notice Posting Requirements                                              16-109   1/24/2020
         MEMBER FEEDBACK REQUESTED: The Compliance Implications of Job Descriptions, Part
 6376    V: Auditing Your Job Descriptions                                                              17-253   1/21/2020
         CWC Files Comments With OFCCP Asking Agency To Allow Contractors More Flexibility in
 6477    Complying With Disability Self-Identification Requirements                                     19-257   1/20/2020
         MEMBER FEEDBACK REQUESTED: CWC Asks OFCCP To Allow an Additional 30 Days for
         Comments on Its Proposed Rule To Revise the Procedures for Resolving Alleged “Material”
 6578    Violations                                                                                     20-014   1/20/2020
         Compliance Alert: OFCCP’s Revised Section 503 Regulations Will Mandate Disability Resurvey
 6679    of All Current Employees During a Contractor’s Next AAP Cycle                                  19-048   1/17/2020


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 6780    Disability Self-ID Communications.doc                                                           N/A     1/17/2020
         OMB Extends OFCCP’s Disability Self-ID Form for Three More Years Without Change; Forms
 6881    Must Display New Expiration Date Going Forward                                                 17-023   1/16/2020
         MEMBER FEEDBACK REQUESTED: OFCCP Is Proposing Minor Changes to Its Disability
 6982    Self-ID Form CC-305, Seeking Comments on Possible Further Improvements                         19-207   1/16/2020
         CWC Files Comments With OFCCP Asking Agency To Allow Contractors More Flexibility in
 7083    Complying With Disability Self-Identification Requirements                                     19-257   1/16/2020
         EEAC’s Updated Model “Equal Opportunity and Affirmative Action Program Policy Statement”
 7184    Templates                                                                                      15-249   1/13/2020
 7285    Atypical Selection Practices and Compliance With OFCCP’s Mandatory Job Listing Rule            12-148   1/13/2020
 7386    OFCCP Makes Technical Change to Its Prescribed “Pay Transparency” Language                     17-034   1/13/2020
 7487    CWC’s Guide to Wisconsin State Contractor Affirmative Action Requirements                      17-204    1/9/2020
         New Settlements Shed More Light on OFCCP’s Enforcement Approach to Employment Testing,
 7588    Minority Subgroup Statistical Analyses                                                         12-171    1/6/2020
 7689    EEAC’s Updated “Internet Applicant” Checklist                                                  16-063    1/6/2020
         OMB Extends OFCCP’s Disability Self-ID Form for Three More Years Without Change; Forms
 7790    Must Display New Expiration Date Going Forward                                                 17-023    1/6/2020
         OFCCP Settlement Update: Latest Cases Show Continuing Focus on Compensation and Steering
 7891    Claims                                                                                         17-237    1/6/2020
 7992    CWC’s Guide to OFCCP Compliance Obligations With Regard to “Temp-to-Perm” Conversions          18-125    1/6/2020
         CWC Files Comments With OFCCP Asking Agency To Allow Contractors More Flexibility in
 8093    Complying With Disability Self-Identification Requirements                                     19-257    1/6/2020
         MEMBER FEEDBACK REQUESTED: OFCCP Issues Proposed Rule To Revise and Codify Its
 8194    Procedures for Resolving Alleged “Material” Violations Found During a Compliance Audit         20-001    1/3/2020
         “Must-Pass” FY 2020 Defense Bill Signed by President Trump Contains Federal Contractor “Ban-
 8295    the-Box” Mandate, 12 Weeks of Paid Parental Leave for Federal Employees                        20-002    1/3/2020
         Federal Trial Court Rules OFCCP Must Turn Over EEO-1 Reports in Response to Freedom of
 8396    Information Act Request, Concludes Key FOIA Exemption Does Not Apply                           20-003    1/3/2020
         Congress, Trump Administration Reach Agreement on Deal To Fund Government Through
 8497    September 30, 2020; OFCCP, EEOC, Wage and Hour All Get Spending Increases                      20-004    1/3/2020
 8598    EEAC’s Guide to Preparing “Action-Oriented Programs” To Meet OFCCP’s AAP Requirements          15-183    1/2/2020
 8699    CWC’s Guide to OFCCP Compliance Obligations With Regard to “Temp-to-Perm” Conversions          18-125   12/27/2019



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         Close to Half the States Now Have Some Form of Voluntary Private Sector "Veterans' Preference"
 87100   Laws                                                                                             15-090   12/18/2019
 88101   CWC’s State and Local Employment Law Round-Up, 2019 Mid-Year Edition                             19-159   12/18/2019
         EEAC Comments on &#8220;60-2&#8221; Proposal Urge OFCCP To Allow Consolidated and
 89102   Functional AAPs Rather Than Limiting AAPs to EEO-1 Establishments                                00-118   12/5/2019
         OFCCP Posts New FAQs on Employer-Employee Relationship To Provide Guidance to
 90103   Contractors on Who Must Be Included in an AAP                                                    14-166   12/5/2019
         OFCCP Posts New FAQs on Employer-Employee Relationship To Provide Guidance to
 91104   Contractors on Who Must Be Included in an AAP                                                    14-166   12/5/2019
 92105   “OFCCP Compliance Primer” Series: The “Job Group Analysis”                                       16-105   12/5/2019
         OFCCP Publishes New “Back to School” Resources, Including FAQs Offering Guidance on
 93106   “Campus AAPs”                                                                                    19-193   12/5/2019
 94107   Workforce Demographic Benchmarks (EEO-1) 12:13 to 12:24 UTC                                       N/A     12/3/2019
         New OFCCP Opinion Letter Says Federal Contractors Can Submit Pay Analysis Groupings for
 95108   Review and Agency Feedback                                                                       19-152   11/27/2019
 96109   EEAC’s Updated Primer on the Basic Scope of OFCCP Jurisdiction                                   14-113   11/26/2019
         EEAC’s Guide to Maintaining OFCCP-Compliant Records Where Contractor Engages in “Passive”
 97110   Recruiting Practices                                                                             15-164   11/26/2019
 98111   EEAC’s New “OFCCP Compliance Guide” for Recruiters                                               16-053   11/26/2019
 99112   EEAC’s “AAP Tune-Up” Series: Ensuring Your “Applicant Dispositions” Work for You                 16-225   11/26/2019
100113   EEAC’s “AAP Tune-Up” Series: Reviewing Your Good Faith Efforts                                   16-251   11/26/2019
         Best Practices for Centrally Managing and Tracking “Good Faith Efforts” To Meet OFCCP
101114   Requirements                                                                                     17-262   11/26/2019
         MEMBER FEEDBACK REQUESTED: CWC’s Guide to the Compliance Implications of Campus
102115   Recruiting                                                                                       18-048   11/26/2019
         In Newly Released Frequently Asked Questions, OFCCP Reaffirms That VEVRAA Prohibits
103116   Employment Discrimination Against Military Spouses                                               19-105   11/26/2019
104117   OFCCP Publishes Compliance Assistance Materials Promised Earlier This Year                       19-161   11/26/2019
105118   Union Notification Template.doc                                                                   N/A     11/26/2019
106119   Vendor Notification Template.doc                                                                  N/A     11/26/2019
107120   EO AAP Policy Statement for Vets and Ind with Disabilities Template.doc                           N/A     11/26/2019
108121   CWC’s Guide To Maintaining an OFCCP-Compliant Online “Careers Site”                              18-162   11/22/2019



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         OFCCP’s Increasing Use of Early Resolution Procedures (ERPs) To Settle Enforcement Actions
109122   Highlights Program’s Pros and Cons                                                                 19-241   11/22/2019
         MEMBER FEEDBACK REQUESTED: New OFCCP Directive Instructs Compliance Officers To
         Ask Questions To Determine Whether a Contractor Is Discriminating Against Spouses of Protected
110123   Veterans                                                                                           19-243   11/22/2019
         The Compliance Implications of OFCCP’s Internet Applicant Rule When Job Seekers Are
111124   “Added” or “Referred” to a Job Requisitio                                                          09-107   11/20/2019
112125   What Are the OFCCP Compliance Implications of Making “Atypical” Selection Decisions?               12-118   11/20/2019
113126   Atypical Selection Practices and Compliance With OFCCP’s Recordkeeping Requirements                12-196   11/20/2019
114127   Understanding the Rules Pertaining to Mandated Invitations to “Self-Identify”                      15-258   11/20/2019
115128   EEAC’s New “OFCCP Compliance Guide” for Recruiters                                                 16-053   11/20/2019
116129   The Compliance Implications of Job Descriptions, Part I                                            17-063   11/20/2019
117130   EEAC’s Guide to OFCCP Recordkeeping Implications When Changing ATS or HRMS Platforms               17-131   11/20/2019
         MEMBER FEEDBACK REQUESTED: The Compliance Implications of Job Descriptions, Part
118131   V: Auditing Your Job Descriptions                                                                  17-253   11/20/2019
         MEMBER FEEDBACK REQUESTED: The Compliance Implications of Job Descriptions, Part
119132   V: Auditing Your Job Descriptions                                                                  17-253   11/20/2019
         Conducting Internal Résumé Database Searches Compliant With OFCCP Recordkeeping
120133   Requirements                                                                                       12-052   11/19/2019
         EEAC’s Guide to Maintaining OFCCP-Compliant Records Where Contractor Engages in “Passive”
121134   Recruiting Practices                                                                               15-164   11/19/2019
122135   EEAC’s “AAP Tune-Up” Series: Ensuring Your “Applicant Dispositions” Work for You                   16-225   11/19/2019
         “The Compliance Implications of Job Descriptions,” Part II: 15 Things Every Employer Should
123136   Consider When Drafting, Implementing, and Auditing Job Qualifications                              17-090   11/19/2019
124137   CWC’s Guide to OFCCP Compliance Obligations With Regard to “Temp-to-Perm” Conversions              18-125   11/19/2019
125138   CWC’s Guide To Maintaining an OFCCP-Compliant Online “Careers Site”                                18-162   11/19/2019
126139   Understanding the Compliance Risks of “1-to-1” Applicant to Hire Ratios                            15-089   11/18/2019
         Increasing Use of Artificial Intelligence in Employee Selection Practices Serves as Backdrop for
127140   New OFCCP FAQs Reminding Contractors of Their Obligations Under the “Uniform Guidelines”           19-187   11/18/2019
128141   CWC’s Pointers for Protecting EEO-1 Data From Release Under the Freedom of Information Act         19-197   11/18/2019
         MEMBER FEEDBACK REQUESTED: OFCCP Is Proposing Minor Changes to Its Disability
129142   Self-ID Form CC-305, Seeking Comments on Possible Further Improvements                             19-207   11/18/2019



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         President Trump Signs Three New Executive Orders To Further Implement Administration’s
130143   Regulatory Reform Agenda, With Focus on So-Called Guidance Documents                           19-218   11/18/2019
         OFCCP Litigation and Settlement Update: Latest Developments Feature Large Financial
131144   Settlements, Increase in Early Resolution Procedures (ERP) Settlements                         19-219   11/18/2019
132145   MEMBER FEEDBACK REQUESTED: CWC’s Digest of State Affirmative Action Requirements               19-226   11/18/2019
         EEO-1 “Component 2” Update: Court Denies EEOC’s Claim That Data Collection Is Complete,
133146   Orders Agency To Keep Filing Portal Open                                                       19-228   11/18/2019
         President Trump Revokes Union-Endorsed Obama-Era Executive Order Requiring “Successor”
134147   Service Contractors To Retain Predecessor’s Employees                                          19-231   11/18/2019
         MEMBER FEEDBACK REQUESTED: OFCCP, Reversing Course, Proposes Rule To Give Up
135148   Any Claim of Jurisdiction Over TRICARE Providers                                               19-233   11/18/2019
         OFCCP Posts Supplemental Corporate Scheduling Announcement List Flagging 500 Contractor
136149   Establishments for VEVRAA Focused Reviews                                                      19-237   11/18/2019
         CWC Submits Written Comments to the EEOC Supporting Agency’s Announced Intent To Seek
         Three-Year Extension of EEO-1 Component 1 Data Reporting Without Component 2 Pay Data
137150   Collection Provision                                                                           19-238   11/18/2019
138151   EEAC’s New “OFCCP Compliance Primer” Series: The “Workforce Analysis”                          16-073    11/6/2019
         EEAC&#8217;s Analysis of OFCCP’s Final Revised “60-2”; Affirmative Action Program
139152   Regulations                                                                                    00-210   11/5/2019
         OFCCP Releases First Substantive Update to Its Federal Contract Compliance Manual (FCCM) in
140153   Fifteen Years                                                                                  13-169   11/5/2019
         OFCCP’s Revised Compliance Manual Provides Guidance on How Agency Resolves Findings of
141154   Noncompliance                                                                                  15-139   11/5/2019
142155   EEAC’s New “OFCCP Compliance Primer” Series: The “Workforce Analysis”                          16-073   11/5/2019
         Federal Government Issues Final FAR Rule Requiring E-Verify Participation by Covered Federal
143156   Contractors                                                                                    08-243   11/3/2019
         USCIS Issues Guidance on Its E-Verify Auditing and Compliance Assistance Procedures, Updates
144157   Federal Contractor E-Verify User Manual                                                        13-011   11/3/2019
145158   USCIS Rolls Out Enhancements to E-Verify Program, Unveils Redesigned Website                   18-088   11/3/2019
         Partial Government Shutdown Enters Third Week; EEOC, Immigration Enforcement Agencies
146159   Among Those Affected, and E-Verify Has Been Suspended                                          19-005   11/3/2019
147160   Atypical Selection Practices and OFCCP’s Good Faith Efforts Requirements                       12-167   10/29/2019



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         Establishing OFCCP-Compliant Recordkeeping Practices for Handling Unsolicited Résumés and
148161   Other Uninvited Expressions of Interest                                                        13-059   10/29/2019
149162   EEAC’s New “OFCCP Compliance Guide” for Recruiters                                             16-053   10/29/2019
150163   EEAC’s Updated “Internet Applicant” Checklist                                                  16-063   10/29/2019
151164   Retaining Interview Notes, Drafts, and other Informal Employment Records                       16-097   10/29/2019
         OFCCP Publishes New “Back to School” Resources, Including FAQs Offering Guidance on
152165   “Campus AAPs”                                                                                  19-193   10/29/2019
         President Trump Signs Three New Executive Orders To Further Implement Administration’s
 166     Regulatory Reform Agenda, With Focus on So-Called Guidance Documents                           19-218   10/23/2019
 167     Federal Contractor Minimum Wage Notice and Posting Requirements.docx                            N/A     10/23/2019
         MEMBER FEEDBACK REQUESTED: OFCCP Is Proposing Minor Changes to Its Disability
153168   Self-ID Form CC-305, Seeking Comments on Possible Further Improvements                         19-207   10/18/2019
154169   OFCCP Launches Expansion of Its “Mega Construction Project Program”                            16-200   10/15/2019
         OFCCP Extends Written AAP Waivers to Hurricane Maria Relief Contracts; Audit Moratorium for
155170   Impacted Establishments Also Extended                                                          17-206   10/15/2019
         CWC’s Primer on Federal Contractor Obligations Under the McNamara-O’Hara Service Contract
156171   Act                                                                                            17-264   10/15/2019
         OFCCP Proposing New “Notification of Construction Contract Award Portal” in Conjunction with
157172   Routine Request To Extend Construction Contractor Paperwork Requirements                       18-072   10/15/2019
         CWC’s Comments to OFCCP on Proposed “Compliance Check” Scheduling Letter for Federal
158173   Construction Contractors Urge Revisions To Reduce the Burden Imposed                           19-124   10/15/2019
159174   OFCCP Publishes Compliance Assistance Materials Promised Earlier This Year                     19-161   10/15/2019
160175   EEAC’s Side-by-Side Analysis of OFCCP’s Final Section 503 Disability Regulations               13-183    9/27/2019
161176   EEAC’s New “503/4212 Implementation Guide”                                                     13-219    9/27/2019
         Fifth and Final Installment of CWC’s “Annotated Code of OFCCP’s Regulations” — 41 CFR § 60-
         741, “Affirmative Action And Nondiscrimination Obligations Of Federal Contractors And
162177   Subcontractors Regarding Individuals With Disabilities” — Is Now Available on CWC’s Website    17-152   9/27/2019
         Best Practices for Centrally Managing and Tracking “Good Faith Efforts” To Meet OFCCP
163178   Requirements                                                                                   17-262   9/27/2019
164179   CWC’s Guide To Maintaining an OFCCP-Compliant Online “Careers Site”                            18-162   9/27/2019
         Compliance Alert: OFCCP’s Revised Section 503 Regulations Will Mandate Disability Resurvey
165180   of All Current Employees During a Contractor’s Next AAP Cycle                                  19-048   9/27/2019
166181   CWC_41_CFR_60-741.htm                                                                           N/A     9/27/2019


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         Developing and Implementing a Menu of Disposition Codes That Facilitates Compliance With
167182   OFCCP’s Internet Applicant Rule                                                               10-053   9/26/2019
168183   EEAC’s “AAP Tune-Up” Series: Ensuring Your “Applicant Dispositions” Work for You              16-225   9/26/2019
169184   EEAC’s Updated Guide to OFCCP Corporate Management Compliance Evaluations (CMCEs)             14-068   9/24/2019
         OFCCP Posts New Set of FAQs on Corporate Management Compliance Evaluation (CMCE)
170185   Process, Overhauling Previous Guidance                                                        14-144   9/24/2019
         Compliance Alert: OFCCP’s Revised Section 503 Regulations Will Mandate Disability Resurvey
171186   of All Current Employees During a Contractor’s Next AAP Cycle                                 19-048   9/24/2019
         OFCCP Issues Promised Guidance on Section 503 Focused Reviews in Advance of Posting New
172187   Audit Scheduling List                                                                         19-052   9/24/2019
         OFCCP Posts Its New Scheduling List Targeting 3,500 Contractor Entities for Compliance
173188   Evaluations; Audits To Begin Mid-May 2019                                                     19-065   9/24/2019
         MEMBER FEEDBACK REQUESTED: CWC’s Extensive Compliance-Related Resource
174189   Materials and Templates To Assist in Preparing for a Section 503 Focused Review               19-090   9/24/2019
175190   OFCCP Publishes Compliance Assistance Materials Promised Earlier This Year                    19-161   9/24/2019
         EEOC Releases Much-Anticipated File Specifications for “Component 2” Data Upload Filing
176191   Option                                                                                        19-141   9/12/2019
         2019 VETS-4212 Filing Season Now Underway; Filing Deadline With DOL-VETS Is September
177192   30                                                                                            19-163   9/12/2019
         MEMBER FEEDBACK REQUESTED: OFCCP Proposing Revisions to Its Regulations
         Governing E.O. 11246’s Religious Exemption To Increase Scope of Exemption’s Coverage;
178193   Changes Are Unlikely To Directly Impact CWC Members                                           19-177   9/6/2019
         President Obama Revokes “Beck” Requirements and Orders Federal Contractors To Inform
179194   Employees of Their NLRA Rights                                                                09-028   9/4/2019
         President Obama Issues Executive Order To Increase Minimum Wage for Employees of Federal
180195   Contractors and Subcontractors                                                                14-048   9/4/2019
         DOL “All Agency” Memo Regarding Interaction of Benefits Under Service Contract Act Suggests
181196   Contractor Paid Sick Leave Rule Is Here To Stay for Now                                       17-203   9/4/2019
         CWC’s Primer on Federal Contractor Obligations Under the McNamara-O’Hara Service Contract
182197   Act                                                                                           17-264   9/4/2019
         Federal Contractor Minimum Wage To Increase From $10.35 to $10.60 an Hour on January 1,
183198   2019                                                                                          18-187   9/4/2019
         OMB Suspends Pay Data Provisions of Expanded EEO-1 Report, Effectively Reinstating Old
184199   Report for 2017 Reporting Cycle; Forms Must Be Submitted by March 31, 2018                    17-182   9/3/2019

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Number                                Title of Information Obtained
                                                                                                       Number   Accessed
         EEOC Posts New Guidance Confirming That Employers Have More Than One Option Regarding
185200   EEO-1 Reporting of Employees Who Work at Client Sites                                         18-043   9/3/2019
         EEOC Plans To Open 2018 EEO-1 Filing Season Next Week, Even as What Happens Next Is Up
186201   in Air After Federal Court Orders Reinstatement of Expanded Obama-Era Revisions               19-054   9/3/2019
         2018 EEO-1 Filing Season Now Underway for “Component 1” Data; No Decision Yet from EEOC
187202   on Whether “Component 2” Pay Data Must Also Be Submitted                                      19-059   9/3/2019
         EEOC Announces Employers Must Submit “Component 2” Pay and Hours- Worked Data for Both
188203   2017 and 2018 on Revised EEO-1 Report by September 30, 2019                                   19-091   9/3/2019
         Justice Department To Appeal Rulings Ordering EEOC To Collect EEO-1 “Component 2” Pay and
189204   Hours-Worked Data; September 30 Reporting Deadline Is Still in Effect                         19-096   9/3/2019
         DOJ, Business Community File Briefs With D.C. Circuit Arguing Lower Court Erred in Ordering
         EEO-1 Component 2 Data Reporting; September 30 Deadline for Submitting Component 2 Reports
190205   Not Impacted                                                                                  19-178   9/3/2019
         EEAC’s Guide to Understanding and Responding to Some of the Most Commonly Requested
191206   Reasonable Accommodations                                                                     09-155   8/30/2019
192207   EEAC’s Model AAP Audit and Reporting System Template                                          15-048   8/30/2019
         MEMBER FEEDBACK REQUESTED: CWC’s Extensive Compliance-Related Resource
193208   Materials and Templates To Assist in Preparing for a Section 503 Focused Review               19-090   8/30/2019
         Recently Released NLRB “Advice Memos” Address Legality of Workplace Rules Under Federal
194209   Labor Law                                                                                     19-175   8/30/2019
         MEMBER FEEDBACK REQUESTED: OFCCP Proposing Revisions to Its Regulations
         Governing E.O. 11246’s Religious Exemption To Increase Scope of Exemption’s Coverage;
195210   Changes Are Unlikely To Directly Impact CWC Members                                           19-177   8/30/2019
196211   CWC_41_CFR_60-741.htm                                                                          N/A     8/30/2019
197212   CWC_41_CFR_60-741.htm                                                                          N/A     8/30/2019
         New OFCCP Opinion Letter Says Federal Contractors Can Submit Pay Analysis Groupings for
198213   Review and Agency Feedback                                                                    19-152   8/27/2019
         CWC’s Written Comments to OMB Urge Rejection of OFCCP’s Burdensome Proposed Changes
199214   to “Focused Review” Scheduling Letters                                                        19-158   8/27/2019
200215   OFCCP Publishes Compliance Assistance Materials Promised Earlier This Year                    19-161   8/27/2019
         OFCCP Names Ombud, Marcus Stergio, Who Will Now Design, Implement, and Execute
201216   Agency’s Previously Announced Ombud Service                                                   19-167   8/27/2019
         EEO-1 Component 2 Filing Update: Online Filing Portal Now Updated To Permit Use of Popular
202217   Data File Upload                                                                              19-168   8/27/2019

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Number                                    Title of Information Obtained
                                                                                                                 Number   Accessed
203218   Illinois Is First State To Restrict the Use of Artificial Intelligence-Driven Video Interview Systems   19-172   8/27/2019
         Reviewing Physical and Mental Job Requirements Under OFCCP’s Section 503 and Section 4212
204219   Affirmative Action Program Requirements                                                                 13-131   8/20/2019
         EEAC’s Checklist for Reviewing Physical and Mental Qualifications Under New Paragraph 22 of
205220   OFCCP’s Revised Scheduling Letter                                                                       15-025   8/20/2019
206221   DOL-VETS Officially Launches 2015 Filing Season Featuring New VETS-4212 Report                          15-153   8/20/2019
         MEMBER FEEDBACK REQUESTED: The Compliance Implications of Job Descriptions, Part
207222   V: Auditing Your Job Descriptions                                                                       17-253   8/20/2019
         DOL-VETS Issues Final Rule Implementing New VETS-4212 Report for 2015 Filing Cycle; Rule
208223   Contains Positive Changes in Response to EEAC’s Comments                                                14-193   8/17/2019
         EEAC’s “OFCCP Compliance Primer” Series: Using Data Metrics for Evaluating Your Disability
209224   and Veterans AAP Obligations                                                                            16-205   8/17/2019
210225   OFCCP Resets Annual Veteran Hiring Benchmark at 6.4%, Down From 6.7% Last Year                          18-071   8/17/2019
         DOL-VETS Issues Final Rule Implementing New VETS-4212 Report for 2015 Filing Cycle; Rule
211226   Contains Positive Changes in Response to EEAC’s Comments                                                14-193   8/16/2019
212227   OFCCP Sets Revised Annual Veterans Hiring Benchmark of 7.0%                                             15-079   8/16/2019
213228   OFCCP Resets Annual Veteran Hiring Benchmark at 5.9%, Down From 6.4% Last Year                          19-064   8/16/2019
         President Trump To Nominate Management Lawyer and Former DOL Top Lawyer Eugene Scalia
214229   as Next Secretary of Labor                                                                              19-151   8/11/2019
         OFCCP’s New Federal Contract Compliance Manual Sets Agency Protocol for Conducting
215230   Individual Discrimination Complaint Investigations                                                      14-018   7/19/2019
         Close to Half the States Now Have Some Form of Voluntary Private Sector "Veterans' Preference"
216231   Laws                                                                                                    15-090   7/19/2019
         OFCCP Litigation Watch: EEOC and OFCCP Enter Into Rare “Joint” Conciliation Agreement
217232   with Federal Contractor Asbestos Specialists                                                            16-126   7/19/2019
         OFCCP’s Decision To Begin Publishing Complaint Investigation Financial Settlements Sheds
218233   Light on a Little Known Area of Agency Enforcement                                                      19-034   7/19/2019
         OFCCP’s Final Jobs for Veterans Act (JVA) Regulations Respond to Concerns Expressed By
219234   EEAC About Potential Burden, Will Give Contractors Welcome Flexibility in Complying                     07-169   7/17/2019
         OFCCP Posts FAQ Announcing That Enforcement of New JVA Self-ID Requirements Will Be
220235   Delayed Until JVA Reporting Requirements Are Finalized                                                  08-001   7/17/2019
221236   Atypical Selection Practices and Compliance With OFCCP’s Mandatory Job Listing Rule                     12-148   7/17/2019
222237   Atypical Selection Practices and Compliance With OFCCP’s Mandatory Job Listing Rule                     12-148   7/17/2019


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Number                                 Title of Information Obtained
                                                                                                        Number   Accessed
223238   EEAC’s “Executive Summary” of OFCCP’s Revised Veterans and Disability Regulations              14-016   7/17/2019
224239   EEAC’s Model Employment Service Delivery System Notification Template                          14-062   7/17/2019
225240   EEAC’s Updated Guide to Responding to OFCCP Requests for Information (RFIs)                    15-083   7/17/2019
226241   EEAC’s Updated Guide to OFCCP-Enforced Contract Clause Requirements                            15-235   7/17/2019
227242   EEAC’s Guide to OFCCP Compliance Requirements Regarding Job Postings                           16-034   7/17/2019
228243   CWC’s Guide to OFCCP Compliance Obligations With Regard to “Temp-to-Perm” Conversions          18-125   7/17/2019
         EEAC’s Updated Affirmative Action Due Diligence Guidelines for Assessing the AA
229244   Compliance of a Potential Acquisition                                                          15-204   7/15/2019
         MEMBER FEEDBACK REQUESTED: CWC’s New Website Offers a Number of Innovative
230245   Tools Designed To Help Members Manage Their Workplace Compliance Challenges                    18-106   7/15/2019
         MEMBER FEEDBACK REQUESTED: CWC’s Extensive Compliance-Related Resource
231246   Materials and Templates To Assist in Preparing for a Section 503 Focused Review                19-090   7/15/2019
         OFCCP Gets Approval From OMB To Move Forward With Changes to Functional Affirmative
232247   Action Program Designed To Increase Contractor Participation                                   19-138   7/13/2019
         MEMBER FEEDBACK REQUESTED: OFCCP Scales Back Burdensome Proposed Changes to
233248   Its Scheduling Letters, Submits Final Versions to OMB for Formal Approval                      19-140   7/12/2019
234249   EEAC’s Updated Guide to OFCCP Corporate Management Compliance Evaluations (CMCEs)              14-068   7/9/2019
         OFCCP Posts New Set of FAQs on Corporate Management Compliance Evaluation (CMCE)
235250   Process, Overhauling Previous Guidance                                                         14-144   7/9/2019
236251   Understanding the Rules Pertaining to Mandated Invitations to “Self-Identify”                  15-258   7/9/2019
         Two Recent High-Profile Court Settlements Highlight Potential Cost Exposure Employers Can
237252   Face for Alleged Pay Discrimination                                                            18-092   7/9/2019
238253   CWC Members Are Sharing Best Practices Via Our Online Collaboration Center, “CWC Connect”      18-129   7/9/2019
239254   Sample Sex Race Ethnicity Self-ID Form.doc                                                      N/A     7/9/2019
240255   OFCCP Desk Audit Checklist.doc                                                                  N/A     7/9/2019
         DOL-VETS Raises Threshold for Filing VETS-4212 Report From $100,000 to $150,000 Effective
241256   October 1, 2015                                                                                16-094   7/5/2019
         EEOC Clarifies Instructions to New EEO-1 Report To Confirm That There Is No Bar to Visual ID
242257   of Sex                                                                                         16-212   7/5/2019
         2018 EEO-1 Filing Season Now Underway for “Component 1” Data; No Decision Yet from EEOC
243258   on Whether “Component 2” Pay Data Must Also Be Submitted                                       19-059   7/5/2019
         CWC’s Comments to OFCCP Urge the Agency To Reconsider Burdensome Proposed Scheduling
244259   Letter Changes                                                                                 19-121   6/26/2019


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                                                                                                        Number   Accessed
         CWC’s Comments to OFCCP on Proposed “Compliance Check” Scheduling Letter for Federal
245260   Construction Contractors Urge Revisions To Reduce the Burden Imposed                           19-124   6/26/2019
         EEOC Advises Court Overseeing EEO-1 “Component 2” Litigation That Online Filing System
246261   May Not Be Fully Operational Until Mid-August, Despite September 30, 2019 Filing Deadline      19-126   6/26/2019
         New Memoranda Series: EEAC’s Guide to State AAP Requirements; EEAC’s Guide to New
247262   Jersey State Contractor Affirmative Action Requirements                                        17-067   6/24/2019
248263   CWC’s Guide to Wisconsin State Contractor Affirmative Action Requirements                      17-204   6/24/2019
         EEAC’s Guide to Maintaining OFCCP-Compliant Records Where Contractor Engages in “Passive”
249264   Recruiting Practices                                                                           15-164   6/20/2019
250265   EEAC’s New “OFCCP Compliance Guide” for Recruiters                                             16-053   6/20/2019
         EEAC’s “AAP Tune-Up” Series: Following Up on Mandated Job Listings To Make Sure They
251266   Have Been Posted                                                                               16-173   6/18/2019
252267   CWC’s Guide to OFCCP Compliance Obligations With Regard to “Temp-to-Perm” Conversions          18-125   6/18/2019
         EEAC’s “Pay Equity” Legislation Status Report: A Look at Where We Are Today and What May
253268   Be Ahead                                                                                       17-132   6/12/2019
254269   EEOC Has Stepped Up Its Equal Pay Act Litigation Activity, and Employers Should Take Notice    17-257   6/12/2019
         As Expected, House Passes “Paycheck Fairness Act” on Party-Line Vote; Republicans Introduce
255270   Alternative Bill                                                                               19-073   6/12/2019
256271   CWC’s Tips for Collecting EEO-1 “Component 2” Data                                             19-116   6/12/2019
257272   Understanding the Rules Pertaining to Mandated Invitations to “Self-Identify”                  15-258   6/11/2019
         EEAC Files Comments With OFCCP Requesting Additional Flexibility Regarding Section
258273   503/4212 Compliance Requirements, Including Use of Self-Identification Form CC-305             16-215   6/11/2019
259274   EEAC Comments to OFCCP re 503 4212 ICR                                                          N/A     6/11/2019
         Financial Reform Law Sets Up New Affirmative Action and Diversity Requirements for Regulated
260275   Businesses and Contractors                                                                     10-134   6/10/2019
         EEAC’s Updated Model Equal Employment Opportunity and Affirmative Action Union
261276   Notification Template                                                                          14-023   6/10/2019
         Maine, Washington, and Colorado Join Growing Number of States Barring Employers From
262277   Asking Applicants About Salary History                                                         19-112   6/10/2019
         CWC’s Comments to OMB Support OFCCP’s FAAP Program Revisions, Urge Further
263278   Improvements                                                                                   19-115   6/10/2019
264279   CWC’s Tips for Collecting EEO-1 “Component 2” Data                                             19-116   6/10/2019



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         Final Diversity Standards for Dodd-Frank Regulated Entities Stress Flexibility and Voluntary
265280   Compliance                                                                                     15-125   6/9/2019
266281   CWC’s Tips for Collecting EEO-1 “Component 2” Data                                             19-116   6/7/2019
         EEAC’s Updated Model “Equal Opportunity and Affirmative Action Program Policy Statement”
267282   Templates                                                                                      15-249   5/23/2019
         EEAC’s Updated Model “Equal Opportunity and Affirmative Action Program Policy Statement”
268283   Templates                                                                                      15-249   5/23/2019
269284   EEAC’s Guide to OFCCP Notice Posting Requirements                                              16-109   5/23/2019
270285   EEAC’s Updated Digest of State Affirmative Action Requirements                                 16-249   5/23/2019
271286   EEAC’s Updated Digest of State Affirmative Action Requirements                                 16-249   5/23/2019
272287   EEAC’s Updated Digest of Local Affirmative Action Requirements                                 17-004   5/23/2019
273288   CWC’s Guide To Maintaining an OFCCP-Compliant Online “Careers Site”                            18-162   5/23/2019
         MEMBER FEEDBACK REQUESTED: OFCCP Issues Promised Guidance on Compliance
274289   Checks by Way of Frequently Asked Questions                                                    19-101   5/23/2019
         EEAC’s Guide to Complying With the New 503/4212 Requirement to Document Annual
275290   Assessment of Outreach Efforts                                                                 14-050   5/22/2019
276291   EEAC’s Updated Guide to OFCCP-Enforced Contract Clause Requirements                            15-235   5/22/2019
         EEAC’s “OFCCP Compliance Primer” Series: Using Data Metrics for Evaluating Your Disability
277292   and Veterans AAP Obligations                                                                   16-205   5/22/2019
         MEMBER FEEDBACK REQUESTED: OFCCP Issues Promised Guidance on Compliance
278293   Checks by Way of Frequently Asked Questions                                                    19-101   5/22/2019
279294   Referencing EEAC’s Guidance As You Prepare To File Your 2007 EEO-1 Forms                       07-134   5/13/2019
         2018 EEO-1 Filing Season Now Underway for “Component 1” Data; No Decision Yet from EEOC
280295   on Whether “Component 2” Pay Data Must Also Be Submitted                                       19-059   5/13/2019
         MEMBER FEEDBACK REQUESTED: OFCCP Seeking Formal Approval of Revisions to Its
281296   Functional Affirmative Action Program (FAAP)                                                   19-093   5/10/2019
         MEMBER FEEDBACK REQUESTED: CWC’s Extensive Compliance-Related Resource
282297   Materials and Templates To Assist in Preparing for a Section 503 Focused Review                19-090   5/3/2019
283298   EEAC’s Updated Guide to Responding to OFCCP Requests for Information (RFIs)                    15-083   4/24/2019
         OFCCP Posts New Sample AAP Narratives Reflecting Revised 503/4212 Regulations; Non-
284299   Mandatory Items Included                                                                       15-117   4/24/2019
285300   EEAC’s Guide to Preparing “Action-Oriented Programs” To Meet OFCCP’s AAP Requirements          15-183   4/24/2019



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         OFCCP Compliance Template Series: EEAC’s Streamlined Sample AAP Narrative Template for
286301   Women and Minorities To Help Facilitate Compliance                                           16-246   4/24/2019
         OFCCP Compliance Template Series: EEAC’s Revised and Streamlined Sample AAP Narrative
287302   Template for Protected Veterans and Individuals with Disabilities                            17-006   4/24/2019
         Assessing Sex-Based Compensation Discrimination Claims Often Requires Understanding of the
288303   Interplay Between Title VII and the Equal Pay Act                                            07-049   4/23/2019
289304   EEAC’s Updated Primer on the Basic Scope of OFCCP Jurisdiction                               14-113   4/23/2019
290305   Labor Department Issues Final Rule Raising Minimum Wage on Certain Federal Contracts         14-205   4/23/2019
291306   Valuing Federal Contracts To Determine Whether OFCCP Coverage Applies                        15-007   4/23/2019
         EEAC’s Updated Summary of Recordkeeping Requirements Under Federal Fair Employment and
292307   Affirmative Action Laws                                                                      15-203   4/23/2019
293308   Understanding the Rules Pertaining to Mandated Invitations to “Self-Identify”                15-258   4/23/2019
294309   Understanding the Rules Pertaining to Mandated Invitations to “Self-Identify”                15-258   4/23/2019
         EEAC’s Written Comments to DOL on Proposed Paid Sick Leave Regulations Urge Clear
295310   Exemption for Covered Contractors That Already Comply                                        16-079   4/23/2019
         EEOC’s Proposed Changes to EEO-1 To Add Collection of Pay Data Get Final Approval; Filing
296311   Deadline for New Report Is March 31, 2018                                                    16-196   4/23/2019
         Labor Department Issues Final Rule Requiring Covered Federal Contractors To Provide
297312   Employees With up to 56 Hours of Paid Sick Leave Annually                                    16-201   4/23/2019
298313   OFCCP Jurisdiction Extends to Contracts With “Government Corporations”                       17-087   4/23/2019
299314   EEAC’s EEO-1 Filing Season Update                                                            17-145   4/23/2019
         OMB Suspends Pay Data Provisions of Expanded EEO-1 Report, Effectively Reinstating Old
300315   Report for 2017 Reporting Cycle; Forms Must Be Submitted by March 31, 2018                   17-182   4/23/2019
         Federal Contractor Minimum Wage To Increase From $10.35 to $10.60 an Hour on January 1,
301316   2019                                                                                         18-187   4/23/2019
         House Labor Committee Approves “Paycheck Fairness Act” on Party-Line Vote; House Passage
302317   Likely, But Senate Outlook Is Murky                                                          19-049   4/23/2019
         MEMBER FEEDBACK REQUESTED: OFCCP Seeking Approval To Make Major Changes to Its
303318   Compliance Evaluation Scheduling Letters                                                     19-080   4/23/2019
304319   MEMBER FEEDBACK REQUESTED: What To Expect During an OFCCP “Compliance Check”                 19-070   4/10/2019
         OFCCP’s Revised Compliance Manual Provides Guidance on How Agency Resolves Findings of
305320   Noncompliance                                                                                15-139   4/9/2019
306321   EEAC’s Guide to OFCCP’s Formal Administrative Enforcement Process                            16-060   4/9/2019


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307322   EEAC’s Guide to OFCCP Notice Posting Requirements                                              16-109   4/9/2019
308323   Fine for Failure To Post “EEO is the Law” Poster Increased to $525                             16-115   4/9/2019
309324   503-4212_AAP_Requirements.htm                                                                   N/A     4/9/2019
310325   11246_AAP_Requirements.htm                                                                      N/A     4/9/2019
311326   VETS-4212_Requirements.htm                                                                      N/A     4/9/2019
         Factors To Consider When Thinking About Supplementing Applicant Pools With More Diverse
312327   Candidates                                                                                     12-074   4/8/2019
313328   Atypical Selection Practices and OFCCP’s Good Faith Efforts Requirements                       12-167   4/8/2019
         D.C. Circuit in Shea v. Kerry Reaffirms “Weber/Johnson” Analytical Framework in Finding
314329   That Voluntary Affirmative Action Program Does Not Violate Title VII                           15-166   4/8/2019
         OFCCP Proposing New “Notification of Construction Contract Award Portal” in Conjunction with
315330   Routine Request To Extend Construction Contractor Paperwork Requirements                       18-072   4/8/2019
316331   11246_AAP_Requirements.htm                                                                      N/A     4/8/2019
317332   CWC_41_CFR_60-2.htm                                                                             N/A     4/8/2019
318333   11246_AAP_Requirements.htm                                                                      N/A     4/8/2019
319334   503-4212_AAP_Requirements.htm                                                                   N/A     4/8/2019
320335   EEAC’s Updated Guide to OFCCP-Enforced Contract Clause Requirements                            15-235   4/4/2019
321336   OFCCP Finalizes New “Pay Secrecy” Rule                                                         15-187   4/1/2019
322337   OFCCP Makes Technical Change to Its Prescribed “Pay Transparency” Language                     17-034   4/1/2019
         OFCCP Finalizes “Compliance Check” Regulation To Allow Contractors To Opt for Off-Site
323338   Records Review                                                                                 05-144   3/29/2019
         OFCCP Litigation Watch: DOL’s Administrative Review Board Issues Final Ruling in Decades-
324339   Old NationsBank Litigation, Opening Up Case for Federal Court Review                           16-108   3/28/2019
         Federal Court in Baker DC Rules That OFCCP Violated Construction Contractor’s Constitutional
325340   Rights                                                                                         18-075   3/28/2019
         OFCCP Publishes Detailed Methodology for FY 2018 Audit Selection Process, Signaling Agency’s
326341   Commitment to Greater Transparency Under New Director Ondray Harris                            18-080   3/28/2019
         EEAC’s Updated Model “Equal Opportunity and Affirmative Action Program Policy Statement”
327342   Templates                                                                                      14-002   3/25/2019
         EEAC’s Updated Model “Equal Opportunity and Affirmative Action Program Policy Statement”
328343   Templates                                                                                      15-249   3/25/2019
         This Week’s Federal Register Publication of OFCCP’s Final Veterans and Disability Rules
329344   Officially Triggers Compliance Deadlines                                                       13-188   3/22/2019


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330345   EEAC’s Updated Guide to OFCCP-Enforced Contract Clause Requirements                           15-235   3/22/2019
331346   Update on Recent Actions Taken by Dodd-Frank Law’s Offices of Minority and Women Inclusion    17-043   3/19/2019
         Department of Labor Finalizes New Rule Requiring Federal Contractors To Inform Employees of
332347   Their Union Organizing Rights                                                                 10-093   3/18/2019
333348   EEAC’s Updated Guide to OFCCP-Enforced Contract Clause Requirements                           14-155   3/18/2019
334349   EEAC’s Updated Listing of Federal Employment-Related Notice Posting Requirements              16-146   3/18/2019
         Preparing To Comply With the New Data Collection Analysis Requirements Under OFCCP’s
335350   Revised Section 503/4212 Regulations                                                          14-118   3/16/2019
         OFCCP Posts Two New FAQs Providing Additional (and Helpful) Guidance on Agency’s Revised
336351   Disability and Veteran Regulations                                                            14-212   3/16/2019
337352   EEAC’s Model AAP Audit and Reporting System Template                                          15-048   3/16/2019
         OFCCP Issues New “Section 503 Checklist” Designed To Assist Contractors in Assessing
338353   Compliance With Agency’s Revised Disability Regulations                                       15-170   3/16/2019
         OFCCP Issues Promised Guidance on Section 503 Focused Reviews in Advance of Posting New
339354   Audit Scheduling List                                                                         19-052   3/16/2019
         OFCCP Director Craig Leen Provides Update on Latest Agency Developments, Solicits Feedback
340355   from Attendees, During Two Separate Sessions at CWC’s 2019 Policy Conference                  19-053   3/16/2019
         EEOC Plans To Open 2018 EEO-1 Filing Season Next Week, Even as What Happens Next Is Up
341356   in Air After Federal Court Orders Reinstatement of Expanded Obama-Era Revisions               19-054   3/16/2019
         OFCCP’s Final “Internet Applicant” Regulation Establishes Compliance Framework for Federal
342357   Contractors’ Electronic Recruitment and Selection Practices                                   05-227   3/8/2019
         The Compliance Implications of OFCCP’s Internet Applicant Rule When Job Seekers Are
343358   “Added” or “Referred” to a Job Requisitio                                                     09-107   3/8/2019
         A Recommended Process for Auditing Your Company’s Compliance With OFCCP’s Internet
344359   Applicant Rule                                                                                10-162   3/8/2019
345360   Atypical Selection Practices and Compliance With OFCCP’s Recordkeeping Requirements           12-196   3/8/2019
         EEAC’s Guide to Maintaining OFCCP-Compliant Records Where Contractor Engages in “Passive”
346361   Recruiting Practices                                                                          15-164   3/8/2019
347362   The Importance of Employing Good Recordkeeping Practices in the Talent Acquisition Process    15-177   3/8/2019
348363   EEAC’s New “OFCCP Compliance Guide” for Recruiters                                            16-053   3/8/2019
349364   EEAC’s Updated “Internet Applicant” Checklist                                                 16-063   3/8/2019
350365   “Big Data” Analytics and Its EEO Implications for Employment Practices                        16-257   3/8/2019
351366   EEAC’s Guide to OFCCP Recordkeeping Implications When Changing ATS or HRMS Platforms          17-131   3/8/2019


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                                                                                                       Memo.     Date
Number                                 Title of Information Obtained
                                                                                                       Number   Accessed
352367   CWC’s Guide to OFCCP Compliance Obligations With Regard to “Temp-to-Perm” Conversions         18-125   3/8/2019
         EEOC’s Proposed Changes to EEO-1 To Add Collection of Pay Data Get Final Approval; Filing
353368   Deadline for New Report Is March 31, 2018                                                     16-196   3/6/2019
         EEOC Proposes Significant Expansion of EEO-1 Report To Begin Collecting Employee
354369   Compensation Data                                                                             16-021   3/5/2019
         EEOC’s Proposed Changes to EEO-1 To Add Collection of Pay Data Get Final Approval; Filing
355370   Deadline for New Report Is March 31, 2018                                                     16-196   3/5/2019
         OMB Suspends Pay Data Provisions of Expanded EEO-1 Report, Effectively Reinstating Old
356371   Report for 2017 Reporting Cycle; Forms Must Be Submitted by March 31, 2018                    17-182   3/5/2019
         Employee Advocacy Groups Sue OMB in Attempt To Get Order Reinstating Expanded EEO-1
357372   Report                                                                                        17-248   3/5/2019
         Employee Advocacy Groups Sue OMB in Attempt To Get Order Reinstating Expanded EEO-1
358373   Report                                                                                        17-248   3/5/2019
         EEAC’s Review of Latest OFCCP Settlements Confirms Agency’s Aggressive Litigation
359374   Enforcement Agenda                                                                            13-224   3/4/2019
         EEAC’s Guide to Complying With the New 503/4212 Requirement to Document Annual
360375   Assessment of Outreach Efforts                                                                14-050   3/4/2019
         EEAC’s Model Template for Demonstrating Assessment of Personnel Processes With Respect to
361376   Individuals With Disabilities and Veterans                                                    14-252   3/4/2019
         EEAC’s Checklist for Reviewing Physical and Mental Qualifications Under New Paragraph 22 of
362377   OFCCP’s Revised Scheduling Letter                                                             15-025   3/4/2019
         OFCCP’s Revised Compliance Manual Provides Guidance on How Agency Resolves Findings of
363378   Noncompliance                                                                                 15-139   3/4/2019
         OFCCP Issues New “Section 503 Checklist” Designed To Assist Contractors in Assessing
364379   Compliance With Agency’s Revised Disability Regulations                                       15-170   3/4/2019
365380   EEAC’s New “OFCCP Compliance Guide” for Recruiters                                            16-053   3/4/2019
366381   EEAC’s Guide to OFCCP’s Formal Administrative Enforcement Process                             16-060   3/4/2019
367382   EEAC’s Guide to OFCCP’s Formal Administrative Enforcement Process                             16-060   3/4/2019
368383   Most Recent OFCCP Financial Settlements Continue To Wrap Up Years-Old Audits                  18-168   3/4/2019
369384   OFCCP Financial Settlement Update: Focus Continues To Be on Disposal of “Aged” Audits         18-239   3/4/2019
         OFCCP’s FY 2018 Enforcement Numbers Show Completed Audits Dropped by One-Third From
370385   Previous Year                                                                                 19-002   3/4/2019



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                                                                                                      Memo.     Date
Number                                Title of Information Obtained
                                                                                                      Number   Accessed
         CWC’s OFCCP Settlement Update: Recently Posted Cases for First Time Include Complaint
371386   Investigation Financial Settlement Agreements                                                19-015   3/4/2019
         OFCCP’s Decision To Begin Publishing Complaint Investigation Financial Settlements Sheds
372387   Light on a Little Known Area of Agency Enforcement                                           19-034   3/4/2019
         OFCCP’s Forthcoming “CSAL” List Will Include Focused Reviews and Compliance Checks in
373388   Addition to Standard Compliance Reviews                                                      19-045   3/4/2019
         EEAC’s Written Comments on OFCCP’s Proposed Overhaul of Section 503 Regulations,
         Contending That Benefits Do Not Outweigh Added Costs, Urge Agency To Work With Us To
374389   Craft an Effective Alternative                                                               12-037   3/2/2019
         OFCCP Issues New Directive Governing Investigation and Analysis of Contractor Compensation
375390   Practices; 2006 Compensation Standards No Longer in Effect                                   13-040   3/2/2019
         This Week’s Federal Register Publication of OFCCP’s Final Veterans and Disability Rules
376391   Officially Triggers Compliance Deadlines                                                     13-188   3/2/2019
377392   How Does OFCCP Calculate Remedies for Discrimination?                                        15-190   3/2/2019
         Conciliation Agreements Negotiated With OFCCP Have Teeth, and the Agency Has Shown Its
378393   Intent To Enforce Them                                                                       19-043   3/1/2019
         EEAC&#8217;s Analysis of OFCCP&#8217;s Final Revised &#8220;60-2&#8221; Affirmative
379394   Action Program Regulations                                                                   00-210   2/26/2019
380395   EEAC’s Updated Guide to Responding to OFCCP Requests for Information (RFIs)                  15-083   2/26/2019
381396   CWC_41_CFR_60-2.htm                                                                           N/A     2/26/2019
382397   Understanding the Compliance Risks of “1-to-1” Applicant to Hire Ratios                      15-089   2/25/2019
383398   EEAC’s Guide to OFCCP Compliance Requirements Regarding Job Postings                         16-034   2/25/2019
384399   EEAC’s New “OFCCP Compliance Guide” for Recruiters                                           16-053   2/25/2019
385400   “OFCCP Compliance Primer” Series: The “Job Group Analysis”                                   16-105   2/25/2019
         CWC’s Guide To Assigning Census Occupational Classification Codes (OCCs) To Achieve
386401   Reliable Availability Analyses                                                               17-271   2/25/2019
387402   CWC’s Guide To Maintaining an OFCCP-Compliant Online “Careers Site”                          18-162   2/25/2019
         OFCCP Litigation Update: The Latest on the High Profile Google, Convergys, and Oracle
388403   Lawsuits                                                                                     19-038   2/25/2019
         New OFCCP Directive Signals Agency’s Intent To Implement Voluntary Compliance Program for
389404   “High-Performing” Contractors                                                                19-039   2/25/2019
390405   EEAC’s Updated Guide to OFCCP-Enforced Contract Clause Requirements                          14-155   2/21/2019



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                                                                                                         Memo.     Date
Number                                 Title of Information Obtained
                                                                                                         Number   Accessed
         OFCCP Gets Approval To Use New Scheduling Letter Identifying Contractors for Section 503
391406   “Focused Reviews”                                                                               18-248   2/8/2019
392407   EEAC’s Guide to Minnesota State Contractor Affirmative Action Requirements                      17-119   2/7/2019
         OFCCP Issues Final “Interpretive Standards” for Investigating Systemic Compensation
393408   Discrimination                                                                                  06-134   2/4/2019
394409   OFCCP’s Final Voluntary “Self-Evaluation Guidelines” for Reviewing Compensation Practices       06-139   2/4/2019
         OFCCP’s New Federal Contract Compliance Manual Sets Agency Protocol for Conducting
395410   Individual Discrimination Complaint Investigations                                              14-018   2/4/2019
         OFCCP’s New Federal Contract Compliance Manual Sets Agency Protocol for Conducting
396411   Individual Discrimination Complaint Investigations                                              14-018   2/4/2019
         OFCCP’s Compliance Manual Provides Guidance on What Contractors Can Expect During an
397412   Agency Discrimination Investigation                                                             15-148   2/4/2019
         EEAC’s “Federal Compliance Initiative Scorecard” Summarizing Major Employment-Related
398413   Regulatory and Policy Actions Undertaken During the Obama Administration                        16-127   2/4/2019
399414   OMB Approves OFCCP’s Revised Complaint Form CC-4                                                17-121   2/4/2019
         CWC’s OFCCP Settlement Update: Recently Posted Cases for First Time Include Complaint
400415   Investigation Financial Settlement Agreements                                                   19-015   2/4/2019
401416   OFCCP’s New Directive 2019-02, “Early Resolution Procedures”                                    18-252   1/23/2019
         OFCCP Publishes Three New Directives, Formally Rescinding “Active Case Enforcement”
         Procedures, Establishing New “Early Resolution Procedures,” and Inaugurating Informal Opinion
402417   Letters                                                                                         18-253   1/23/2019
         EEOC Asks for Three-Year Extension of “Uniform Guidelines”; So (One More Time), What Are
403418   They and What Do They Require?                                                                  15-021   1/15/2019
404419   EEAC’s Guide on Steps To Take When “Top-Line” Impact Ratio Analyses Produce “Hot” Results       17-112   1/15/2019
         EEAC’s Model Template for Demonstrating Assessment of Personnel Processes With Respect to
405420   Individuals With Disabilities and Veterans                                                      14-252   1/14/2019
406421   EEAC’s Model AAP Audit and Reporting System Template                                            15-048   1/14/2019
407422   EEAC’s Updated OFCCP Compliance Evaluation Checklist                                            16-083   1/14/2019
408423   EEAC’s “AAP Tune-Up” Series: Ensuring Your “Applicant Dispositions” Work for You                16-225   1/10/2019
         CWC’s Guide To Assigning Census Occupational Classification Codes (OCCs) To Achieve
409424   Reliable Availability Analyses                                                                  17-271   1/10/2019
410425   EEAC’s “AAP Tune-Up” Series: EEAC’s Guide to Reviewing Your EEO-1 Categories                    16-163    1/7/2019
411426   EEAC’s “AAP Tune-Up” Series: Handling Applicant Reasonable Accommodation Requests               16-191    1/7/2019


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                                                                                                          Memo.     Date
Number                                 Title of Information Obtained
                                                                                                          Number   Accessed
412427   EEAC’s “AAP Tune-Up” Series: Ensuring Your “Applicant Dispositions” Work for You                 16-225    1/7/2019
413428   OFCCP Resets Annual Veteran Hiring Benchmark at 6.4%, Down From 6.7% Last Year                   18-071   12/17/2018
         OFCCP Litigation Update: Fate of Two Pending High Profile Cases Currently Rests With DOL’s
414429   Administrative Review Board                                                                      18-109   12/11/2018
         OFCCP’s Revised Compliance Manual Provides Guidance on How Agency Resolves Findings of
415430   Noncompliance                                                                                    15-139   12/10/2018
         EEAC’s Guide to Preparing an Effective Response to OFCCP Allegations of Systemic
416431   Discrimination                                                                                   16-006   12/10/2018
417432   EEAC’s Guide to OFCCP’s Formal Administrative Enforcement Process                                16-060   12/10/2018
         Divided Eleventh Circuit Panel Rules in Gogel v. Kia MotorsThat HR Manager Engaged in
 433     Protective Activity by Giving Co-Employee Hame of Plantiff's Lawyer                              18-234   11/29/2018
         Making Downsizing and Promotion Decisions in Light of the Reemployment and Job Retention
418434   Rights of Military Personnel Under USERRA                                                        02-003   11/27/2018
         Close to Half the States Now Have Some Form of Voluntary Private Sector "Veterans' Preference"
419435   Laws                                                                                             15-090   11/27/2018
         OMB Approves OFCCP’s Revised Scheduling Letter and Itemized Listing, Effective for Three
420436   Years                                                                                            16-131   11/17/2018
421437   EEAC’s Guide To “Closing Out” Your Prior Year’s AAP                                              14-001   11/16/2018
422438   EEAC’s Updated Guide To Setting — or Resetting — Your Annual AAP Cycle                           14-006   11/16/2018
423439   EEAC’s Guide To Performing Mid-Year Monitoring To Enhance AAP Compliance                         16-143   11/16/2018
424440   EEAC’s “AAP Tune-Up” Series: EEAC’s Guide to Reviewing Your EEO-1 Categories                     16-163   11/16/2018
         EEAC’s “AAP Tune-Up” Series: Following Up on Mandated Job Listings To Make Sure They
425441   Have Been Posted                                                                                 16-173   11/16/2018
426442   EEAC’s “AAP Tune-Up” Series: Reviewing Your Good Faith Efforts                                   16-251   11/16/2018




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                         Exhibit B
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                                                  Exhibit B
                                           CWC Copyright Registrations
 Claim                                  Memo.    Date of     Date of       Registration   Date of First  Times
                Title of Work
Number                                  Number Publication Registration     Number        Infringement Downloaded
         White House Office of
         Management and Budget
  1      Asking for Public Input on     20-037   2/21/2020   4/24/2020    TX0008868399     2/21/2020       1
         Reform of Federal Agency
         Adjudicatory Process
         OFCCP Personnel Update:
         Director Craig Leen Tapped
         for New Job by President
         Trump, Will Continue To
  2      Serve Until Senate             20-039   2/21/2020   4/24/2020    TX0008868394    2/2126/2020     13
         Confirmation; Appointment
         of New Career Deputy
         Director Is Among Other
         Key Staff Changes
         CWC Urges OFCCP To
         Revise Proposed Procedures
         for Resolving Alleged
  3                                     20-033   2/14/2020   4/24/2020    TX0008868403      3/2/2020       1
         “Material” Violations To
         Make Them Consistent With
         Title VII Principles
         EEO-1 Update: EEOC Gets
         Court Permission To Close
         “Component 2” Filing
         Deadline for 2017-2018
         Data, Effective February 14;
  4                                     20-034   2/14/2020   4/24/2020    TX0008868400     2/19/2020       1
         2019 Reporting
         Requirements for
         “Component 1” Data Remain
         On Hold Until EEOC Takes
         Further Action
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                                                 Exhibit B
                                          CWC Copyright Registrations
 Claim                                 Memo.    Date of     Date of          Registration   Date of First  Times
                Title of Work
Number                                 Number Publication Registration        Number        Infringement Downloaded
         MEMBER FEEDBACK
         REQUESTED: OFCCP
         Submits Revised “Voluntary
         Self-ID of Disability Form”
         (Form CC-305) With Minor
  5                                    20-029    2/7/2020       4/24/2020   TX0008868407      2/7/2020       2
         Improvements to OMB for
         Approval; Advises
         Employers To Use
         Technically Expired Form
         For Now
         CWC’s Quick Reference
         Guide To Setting – or
  6                                    20-017   1/24/2020       4/10/2020   TX0008861107     2/21/2020       2
         Resetting – Your Annual
         AAP Cycle
         MEMBER FEEDBACK
         REQUESTED: CWC Asks
         OFCCP To Allow an
         Additional 30 Days for
  7      Comments on Its Proposed      20-014   1/17/2020       4/10/2020   TX0008861104     1/20/2020       1
         Rule To Revise the
         Procedures for Resolving
         Alleged “Material”
         Violations
         MEMBER FEEDBACK
         REQUESTED: OFCCP
         Issues Proposed Rule To
         Revise and Codify Its
  8                                    20-001    1/3/2020       3/30/2020   TX0008858503     2/28/2020       2
         Procedures for Resolving
         Alleged “Material”
         Violations Found During a
         Compliance Audit

                                                            2
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                                                  Exhibit B
                                           CWC Copyright Registrations
 Claim                                  Memo.    Date of     Date of          Registration   Date of First  Times
                Title of Work
Number                                  Number Publication Registration        Number        Infringement Downloaded
         “Must-Pass” FY 2020
         Defense Bill Signed by
         President Trump Contains
  9      Federal Contractor “Ban-the-   20-002    1/3/2020       3/30/2020   TX0008859306      1/3/2020       1
         Box” Mandate, 12 Weeks of
         Paid Parental Leave for
         Federal Employees
         Federal Trial Court Rules
         OFCCP Must Turn Over
         EEO-1 Reports in Response
  10     to Freedom of Information      20-003    1/3/2020       3/30/2020   TX0008858474      1/3/2020       1
         Act Request, Concludes Key
         FOIA Exemption Does Not
         Apply
         Congress, Trump
         Administration Reach
         Agreement on Deal To Fund
         Government Through
  11                                    20-004    1/3/2020       3/30/2020   TX0008858463      1/3/2020       1
         September 30, 2020;
         OFCCP, EEOC, Wage and
         Hour All Get Spending
         Increases
         CWC Files Comments With
         OFCCP Asking Agency To
         Allow Contractors More
  12                                    19-257   12/13/2019      7/28/2020   TX0008885982     1/20/2020       3
         Flexibility in Complying
         With Disability Self-
         Identification Requirements




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                                                 Exhibit B
                                          CWC Copyright Registrations
 Claim                                 Memo.    Date of     Date of       Registration   Date of First  Times
                Title of Work
Number                                 Number Publication Registration     Number        Infringement Downloaded
         In Newly Released
         Frequently Asked Questions,
         OFCCP Reaffirms That
  13                                   19-105   11/22/2019   6/2/2020    TX0008884866     11/26/2019      1
         VEVRAA Prohibits
         Employment Discrimination
         Against Military Spouses
         OFCCP’s Increasing Use of
         Early Resolution Procedures
         (ERPs) To Settle
  14                                   19-241   11/22/2019   7/24/2020   TX0008886087     11/22/2019      1
         Enforcement Actions
         Highlights Program’s Pros
         and Cons
         MEMBER FEEDBACK
         REQUESTED: New OFCCP
         Directive Instructs
         Compliance Officers To Ask
  15     Questions To Determine        19-243   11/22/2019   7/24/2020   TX0008886509     11/22/2019      1
         Whether a Contractor Is
         Discriminating Against
         Spouses of Protected
         Veterans
         CWC Submits Written
         Comments to the EEOC
         Supporting Agency’s
         Announced Intent To Seek
  16     Three-Year Extension of       19-238   11/15/2019   6/17/2020   TX0008883367     2/19/2020       2
         EEO-1 Component 1 Data
         Reporting Without
         Component 2 Pay Data
         Collection Provision


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                                                 Exhibit B
                                          CWC Copyright Registrations
 Claim                                 Memo.    Date of     Date of          Registration   Date of First  Times
               Title of Work
Number                                 Number Publication Registration        Number        Infringement Downloaded
         OFCCP Posts Supplemental
         Corporate Scheduling
         Announcement List Flagging
  17                                   19-237   11/15/2019      6/23/2020   TX0008880986     11/18/2019      1
         500 Contractor
         Establishments for VEVRAA
         Focused Reviews
         President Trump Revokes
         Union-Endorsed Obama-Era
         Executive Order Requiring
  18                                   19-231   11/8/2019       7/24/2020   TX0008886092     11/18/2019      1
         “Successor” Service
         Contractors To Retain
         Predecessor’s Employees
         MEMBER FEEDBACK
         REQUESTED: OFCCP,
         Reversing Course, Proposes
  19                                   19-233   11/8/2019       7/24/2020   TX0008886508     11/18/2019      1
         Rule To Give Up Any Claim
         of Jurisdiction Over
         TRICARE Providers
         MEMBER FEEDBACK
         REQUESTED: CWC’s
  20                                   19-226   11/1/2019       6/17/2020   TX0008883784     2/27/2020       3
         Digest of State Affirmative
         Action Requirements
         EEO-1 “Component 2”
         Update: Court Denies
         EEOC’s Claim That Data
  21                                   19-228   11/1/2019       6/23/2020   TX0008880989     11/18/2019      1
         Collection Is Complete,
         Orders Agency To Keep
         Filing Portal Open




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                                                  Exhibit B
                                           CWC Copyright Registrations
 Claim                                  Memo.    Date of     Date of           Registration   Date of First  Times
                Title of Work
Number                                  Number Publication Registration         Number        Infringement Downloaded
         President Trump Signs Three
         New Executive Orders To
         Further Implement
  22     Administration’s Regulatory    19-218   10/18/2019      10/25/2020   TX0008907971     11/18/2019     12
         Reform Agenda, With Focus
         on So-Called Guidance
         Documents
         OFCCP Litigation and
         Settlement Update: Latest
         Developments Feature Large
  23     Financial Settlements,         19-219   10/18/2019       6/2/2020    TX0008884733     11/18/2019      1
         Increase in Early Resolution
         Procedures (ERP)
         Settlements
         OFCCP Is Proposing Minor
         Changes to Its Disability
         Self-ID Form CC-305,
  24                                    19-207   10/11/2019       6/2/2020    TX0008876868     1/16/2020       3
         Seeking Comments on
         Possible Further
         Improvements
         CWC’s Pointers for
         Protecting EEO-1 Data From
  25                                    19-197   9/27/2019        6/2/2020    TX0008884869     11/18/2019      1
         Release Under the Freedom
         of Information Act
         OFCCP Publishes New
         “Back to School” Resources,
  26     Including FAQs Offering        19-193   9/20/2019       7/28/2020    TX0008886095     12/5/2019       2
         Guidance on “Campus
         AAPs”



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                                                   Exhibit B
                                            CWC Copyright Registrations
 Claim                                   Memo.    Date of     Date of           Registration   Date of First  Times
                Title of Work
Number                                   Number Publication Registration         Number        Infringement Downloaded
         Increasing Use of Artificial
         Intelligence in Employee
         Selection Practices Serves as
         Backdrop for New OFCCP
  27                                     19-187   9/13/2019        6/2/2020    TX0008884868     11/18/2019      1
         FAQs Reminding
         Contractors of Their
         Obligations Under the
         “Uniform Guidelines”
         MEMBER FEEDBACK
         REQUESTED: OFCCP
         Proposing Revisions to Its
         Regulations Governing E.O.
         11246’s Religious
  28                                     19-177   8/30/2019        6/2/2020    TX0008876867      9/6/2019       2
         Exemption To Increase
         Scope of Exemption’s
         Coverage; Changes Are
         Unlikely To Directly Impact
         CWC Members
         DOJ, Business Community
         File Briefs With D.C. Circuit
         Arguing Lower Court Erred
         in Ordering EEO-1
  29     Component 2 Data                19-178   8/30/2019       10/25/2020   TX0008907989      9/3/2019       1
         Reporting; September 30
         Deadline for Submitting
         Component 2 Reports Not
         Impacted
         Recently Released NLRB
         “Advice Memos” Address
  30                                     19-175   8/30/2019       10/25/2020   TX0008908223     8/30/2019       1
         Legality of Workplace Rules
         Under Federal Labor Law

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                                                    Exhibit B
                                             CWC Copyright Registrations
 Claim                                    Memo.    Date of     Date of           Registration   Date of First  Times
                Title of Work
Number                                    Number Publication Registration         Number        Infringement Downloaded
         Illinois Is First State To
         Restrict the Use of Artificial
  31                                      19-172   8/23/2019        6/2/2020    TX0008884731     8/27/2019       1
         Intelligence-Driven Video
         Interview Systems
         EEO-1 Component 2 Filing
         Update: Online Filing Portal
  32                                      19-168   8/16/2019       10/25/2020   TX0008907991     8/27/2019       1
         Now Updated To Permit Use
         of Popular Data File Upload
         OFCCP Names Ombud,
         Marcus Stergio, Who Will
  33     Now Design, Implement, and       19-167   8/16/2019        6/2/2020    TX0008884732     8/27/2019       1
         Execute Agency’s Previously
         Announced Ombud Service
         2019 VETS-4212 Filing
         Season Now Underway;
  34                                      19-163    8/9/2019       10/25/2020   TX0008908155     9/12/2019       1
         Filing Deadline With DOL-
         VETS Is September 30
         OFCCP Publishes
         Compliance Assistance
  35                                      19-161    8/9/2019        6/2/2020    TX0008884862     11/26/2019      4
         Materials Promised Earlier
         This Year
         CWC’s State and Local
  36     Employment Law Round-Up,         19-159    8/9/2019       6/17/2020    TX0008883400     12/18/2019      1
         2019 Mid-Year Edition
         CWC’s Written Comments to
         OMB Urge Rejection of
         OFCCP’s Burdensome
  37                                      19-158    8/2/2019       10/25/2020   TX0008908220     8/27/2019       1
         Proposed Changes to
         “Focused Review”
         Scheduling Letters


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                                                  Exhibit B
                                           CWC Copyright Registrations
 Claim                                  Memo.    Date of     Date of           Registration   Date of First  Times
                Title of Work
Number                                  Number Publication Registration         Number        Infringement Downloaded
         New OFCCP Opinion Letter
         Says Federal Contractors Can
  38     Submit Pay Analysis            19-152   7/26/2019        6/2/2020    TX0008884865     11/27/2019      2
         Groupings for Review and
         Agency Feedback
         President Trump To
         Nominate Management
  39     Lawyer and Former DOL          19-151   7/26/2019       10/25/2020   TX0008908210     8/11/2019       1
         Top Lawyer Eugene Scalia
         as Next Secretary of Labor
         EEOC Releases Much-
         Anticipated File
  40     Specifications for             19-141   7/12/2019       10/25/2020   TX0008908128     9/12/2019       1
         “Component 2” Data Upload
         Filing Option
         MEMBER FEEDBACK
         REQUESTED: OFCCP
         Scales Back Burdensome
  41     Proposed Changes to Its        19-140   7/12/2019       10/25/2020   TX0008908147     7/12/2019       1
         Scheduling Letters, Submits
         Final Versions to OMB for
         Formal Approval
         EEOC Advises Court
         Overseeing EEO-1
         “Component 2” Litigation
         That Online Filing System
  42                                    19-126   6/21/2019       10/25/2020   TX0008908142     6/26/2019       1
         May Not Be Fully
         Operational Until Mid-
         August, Despite September
         30, 2019 Filing Deadline


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                                                   Exhibit B
                                            CWC Copyright Registrations
 Claim                                   Memo.    Date of     Date of            Registration   Date of First  Times
                Title of Work
Number                                   Number Publication Registration          Number        Infringement Downloaded
         CWC’s Comments to
         OFCCP on Proposed
         “Compliance Check”
  43     Scheduling Letter for Federal   19-124   6/14/2019        6/23/2020    TX0008881001     10/15/2019      2
         Construction Contractors
         Urge Revisions To Reduce
         the Burden Imposed
         CWC’s Comments to
         OFCCP Urge the Agency To
  44     Reconsider Burdensome           19-121   6/14/2019        10/25/2020   TX0008908226     6/26/2019       1
         Proposed Scheduling Letter
         Changes
         Maine, Washington, and
         Colorado Join Growing
         Number of States Barring
  45                                     19-112    6/7/2019        10/25/2020   TX0008907963     6/10/2019       1
         Employers From Asking
         Applicants About Salary
         History
         CWC’s Comments to OMB
         Support OFCCP’s FAAP
  46                                     19-115    6/7/2019        10/25/2020   TX0008908179     6/10/2019       1
         Program Revisions, Urge
         Further Improvements
         CWC’s Tips for Collecting
  47                                     19-116    6/7/2019        6/23/2020    TX0008881002     6/12/2019       3
         EEO-1 “Component 2” Data
         MEMBER FEEDBACK
         REQUESTED: OFCCP
         Issues Promised Guidance on
  48                                     19-101   5/17/2019        7/28/2020    TX0008886068     5/23/2019       2
         Compliance Checks by Way
         of Frequently Asked
         Questions


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                                                 Exhibit B
                                          CWC Copyright Registrations
 Claim                                 Memo.    Date of     Date of            Registration   Date of First  Times
                Title of Work
Number                                 Number Publication Registration          Number        Infringement Downloaded
         Justice Department To
         Appeal Rulings Ordering
         EEOC To Collect EEO-1
  49     “Component 2” Pay and         19-096   5/10/2019        10/25/2020   TX0008908113      9/3/2019       1
         Hours-Worked Data;
         September 30 Reporting
         Deadline Is Still in Effect
         MEMBER FEEDBACK
         REQUESTED: OFCCP
         Seeking Formal Approval of
  50                                   19-093   5/10/2019        10/25/2020   TX0008908217     5/10/2019       1
         Revisions to Its Functional
         Affirmative Action Program
         (FAAP)
         EEOC Announces
         Employers Must Submit
         “Component 2” Pay and
  51     Hours- Worked Data for        19-091    5/3/2019        10/25/2020   TX0008908208      9/3/2019       1
         Both 2017 and 2018 on
         Revised EEO-1 Report by
         September 30, 2019
         MEMBER FEEDBACK
         REQUESTED: CWC’s
         Extensive Compliance-
  52     Related Resource Materials    19-090    5/3/2019        6/17/2020    TX0008884736     9/24/2019       4
         and Templates To Assist in
         Preparing for a Section 503
         Focused Review




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                                                Exhibit B
                                         CWC Copyright Registrations
 Claim                                Memo.    Date of     Date of            Registration   Date of First  Times
               Title of Work
Number                                Number Publication Registration          Number        Infringement Downloaded
         MEMBER FEEDBACK
         REQUESTED: OFCCP
         Seeking Approval To Make
  53                                  19-080   4/19/2019        7/28/2020    TX0008885976     2/20/2020       2
         Major Changes to Its
         Compliance Evaluation
         Scheduling Letters
         As Expected, House Passes
         “Paycheck Fairness Act” on
  54     Party-Line Vote;             19-073   4/12/2019        10/25/2020   TX0008908088     6/12/2019       1
         Republicans Introduce
         Alternative Bill
         MEMBER FEEDBACK
         REQUESTED: What To
  55                                  19-070    4/5/2019        6/17/2020    TX0008884789     2/20/2020       2
         Expect During an OFCCP
         “Compliance Check”
         2018 EEO-1 Filing Season
         Now Underway for
         “Component 1” Data; No
  56     Decision Yet from EEOC on    19-059   3/22/2019        7/28/2020    TX0008886096      9/3/2019       3
         Whether “Component 2” Pay
         Data Must Also Be
         Submitted
         EEOC Plans To Open 2018
         EEO-1 Filing Season Next
         Week, Even as What
  57     Happens Next Is Up in Air    19-054   3/15/2019         6/2/2020    TX0008884864      9/3/2019       2
         After Federal Court Orders
         Reinstatement of Expanded
         Obama-Era Revisions



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                                                  Exhibit B
                                           CWC Copyright Registrations
 Claim                                  Memo.    Date of     Date of            Registration   Date of First  Times
                Title of Work
Number                                  Number Publication Registration          Number        Infringement Downloaded
         OFCCP Issues Promised
         Guidance on Section 503
  58     Focused Reviews in Advance     19-052   3/15/2019        7/28/2020    TX0008886073     9/24/2019       2
         of Posting New Audit
         Scheduling List
         Compliance Alert: OFCCP’s
         Revised Section 503
         Regulations Will Mandate
  59     Disability Resurvey of All     19-048    3/8/2019        7/28/2020    TX0008886075     1/17/2020       3
         Current Employees During a
         Contractor’s Next AAP
         Cycle
         New OFCCP Directive
         Signals Agency’s Intent To
         Implement Voluntary
  60                                    19-039   2/22/2019        10/25/2020   TX0008908082     2/25/2019       1
         Compliance Program for
         “High-Performing”
         Contractors
         OFCCP Confirms That It
         Will No Longer Mail Out
  61     “Advance Notice” Letters;      19-035   2/15/2019        7/28/2020    TX0008886077     2/20/2020       1
         Forthcoming Audit List Will
         Be Published Online
         OFCCP’s Decision To Begin
         Publishing Complaint
         Investigation Financial
  62                                    19-034   2/15/2019        7/28/2020    TX0008886079     7/19/2019       2
         Settlements Sheds Light on a
         Little Known Area of
         Agency Enforcement



                                                             13
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                                                  Exhibit B
                                           CWC Copyright Registrations
 Claim                                  Memo.    Date of     Date of            Registration   Date of First  Times
                Title of Work
Number                                  Number Publication Registration          Number        Infringement Downloaded
         CWC’s OFCCP Settlement
         Update: Recently Posted
         Cases for First Time Include
  63                                    19-015   1/18/2019        7/28/2020    TX0008886080      3/4/2019       2
         Complaint Investigation
         Financial Settlement
         Agreements
         OFCCP’s New Directive
  64     2019-02, “Early Resolution     18-252   12/7/2018        10/25/2020   TX0008908079     1/23/2019       1
         Procedures”
         OFCCP Gets Approval To
         Use New Scheduling Letter
  65     Identifying Contractors for    18-248   11/30/2018       10/25/2020   TX0008908002      2/8/2019       1
         Section 503 “Focused
         Reviews”
         Federal Contractor Minimum
         Wage To Increase From
  66                                    18-187   9/14/2018        7/28/2020    TX0008885961      9/4/2019       2
         $10.35 to $10.60 an Hour on
         January 1, 2019
         CWC Reference - VETS-
  67     4212 Annual Report from         N/A     8/24/2018        8/11/2020    TX0008893320      4/9/2019       2
         Federal Contractors
         CWC’s Guide To
         Maintaining an OFCCP-
  68                                    18-162   8/10/2018        6/23/2020    TX0008880965     11/22/2019      5
         Compliant Online “Careers
         Site”
         CWC Reference - 503/4212
         Affirmative Action Program
  69     Requirements for Individuals    N/A      7/6/2018        8/12/2020    TX0008893319      4/8/2019       3
         with Disabilities and
         Disabled Veterans


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                                                 Exhibit B
                                          CWC Copyright Registrations
 Claim                                 Memo.    Date of     Date of            Registration   Date of First  Times
                Title of Work
Number                                 Number Publication Registration          Number        Infringement Downloaded
         CWC’s Guide to OFCCP
         Compliance Obligations
  70                                   18-125   6/15/2018        6/17/2020    TX0008882287      1/6/2020       6
         With Regard to “Temp-to-
         Perm” Conversions
         CWC Reference - EO 11246
         Supply and Service (Non-
  71     Construction) AAP              N/A      6/1/2018        8/12/2020    TX0008893346      4/8/2019       3
         Requirements for Women
         and Minorities
         Two Recent High-Profile
         Court Settlements Highlight
  72     Potential Cost Exposure       18-092    5/4/2018        10/25/2020   TX0008907997      7/9/2019       1
         Employers Can Face for
         Alleged Pay Discrimination
         OFCCP Publishes Detailed
         Methodology for FY 2018
         Audit Selection Process,
  73     Signaling Agency’s            18-080   4/20/2018        10/25/2020   TX0008908168     3/28/2019       1
         Commitment to Greater
         Transparency Under New
         Director Ondray Harris
         Federal Court in Baker DC
         Rules That OFCCP Violated
  74                                   18-075   4/13/2018        10/25/2020   TX0008907968     3/28/2019       1
         Construction Contractor’s
         Constitutional Rights




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                                                   Exhibit B
                                            CWC Copyright Registrations
 Claim                                   Memo.    Date of     Date of           Registration   Date of First  Times
                Title of Work
Number                                   Number Publication Registration         Number        Infringement Downloaded
         OFCCP Proposing New
         “Notification of Construction
         Contract Award Portal” in
  75     Conjunction with Routine        18-072    4/6/2018        6/23/2020   TX0008880985     10/15/2019      2
         Request To Extend
         Construction Contractor
         Paperwork Requirements
         OFCCP Resets Annual
         Veteran Hiring Benchmark at
  76                                     18-071    4/6/2018        7/28/2020   TX0008886012     8/17/2019       2
         6.4%, Down From 6.7% Last
         Year
         EEOC Posts New Guidance
         Confirming That Employers
         Have More Than One Option
  77                                     18-043    3/2/2018        7/28/2020   TX0008886025      9/3/2019       1
         Regarding EEO-1 Reporting
         of Employees Who Work at
         Client Sites
         CWC’s Guide To Assigning
         Census Occupational
  78     Classification Codes (OCCs)     17-271   12/29/2017       6/17/2020   TX0008883377     2/25/2019       2
         To Achieve Reliable
         Availability Analyses
         Best Practices for Centrally
         Managing and Tracking
  79                                     17-262   12/15/2017       6/23/2020   TX0008880973     2/13/2020       3
         “Good Faith Efforts” To
         Meet OFCCP Requirements
         CWC’s Primer on Federal
         Contractor Obligations
  80                                     17-264   12/15/2017       6/23/2020   TX0008880982     10/15/2019      2
         Under the McNamara-
         O’Hara Service Contract Act


                                                              16
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                                                  Exhibit B
                                           CWC Copyright Registrations
 Claim                                  Memo.    Date of     Date of           Registration   Date of First  Times
                Title of Work
Number                                  Number Publication Registration         Number        Infringement Downloaded
         MEMBER FEEDBACK
         REQUESTED: The
         Compliance Implications of
  81                                    17-253   12/1/2017        6/17/2020   TX0008884799     1/21/2020       4
         Job Descriptions, Part V:
         Auditing Your Job
         Descriptions
         Employee Advocacy Groups
         Sue OMB in Attempt To Get
  82                                    17-248   11/22/2017       7/28/2020   TX0008886055      3/5/2019       2
         Order Reinstating Expanded
         EEO-1 Report
         CWC’s Guide to Wisconsin
  83     State Contractor Affirmative   17-204   9/22/2017        6/17/2020   TX0008883398      1/9/2020       2
         Action Requirements
         OFCCP Extends Written
         AAP Waivers to Hurricane
         Maria Relief Contracts;
  84                                    17-206   9/22/2017        6/23/2020   TX0008881009     10/15/2019      1
         Audit Moratorium for
         Impacted Establishments
         Also Extended
         OMB Suspends Pay Data
         Provisions of Expanded
         EEO-1 Report, Effectively
  85     Reinstating Old Report for     17-182    9/1/2017        7/28/2020   TX0008886056      9/3/2019       2
         2017 Reporting Cycle; Forms
         Must Be Submitted by March
         31, 2018




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                                                    Exhibit B
                                             CWC Copyright Registrations
 Claim                                    Memo.    Date of     Date of            Registration   Date of First  Times
                Title of Work
Number                                    Number Publication Registration          Number        Infringement Downloaded
         Fifth and Final Installment of
         CWC’s “Annotated Code of
         OFCCP’s Regulations” — 41
         CFR § 60-741, “Affirmative
         Action And
         Nondiscrimination
  86                                      17-152   7/21/2017        6/17/2020    TX0008884840     9/27/2019       1
         Obligations Of Federal
         Contractors And
         Subcontractors Regarding
         Individuals With
         Disabilities” — Is Now
         Available on CWC’s Website
         EEAC’s Guide to OFCCP
         Recordkeeping Implications
  87                                      17-131   6/23/2017        7/28/2020    TX0008886003     11/20/2019      2
         When Changing ATS or
         HRMS Platforms
         OMB Approves OFCCP’s
  88     Revised Complaint Form           17-121    6/9/2017        10/25/2020   TX0008908137      2/4/2019       1
         CC-4
         EEAC’s Guide to Minnesota
  89     State Contractor Affirmative     17-119    6/2/2017        6/17/2020    TX0008883422      2/7/2019       1
         Action Requirements
         EEAC’s Guide on Steps To
         Take When “Top-Line”
  90                                      17-112   5/26/2017        6/23/2020    TX0008880972     1/15/2019       1
         Impact Ratio Analyses
         Produce “Hot” Results




                                                               18
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                                                 Exhibit B
                                          CWC Copyright Registrations
 Claim                                 Memo.    Date of     Date of        Registration   Date of First  Times
               Title of Work
Number                                 Number Publication Registration      Number        Infringement Downloaded
         BIG DATA ANALYTICS
         AND ARTIFICIAL
         INTELLIGENCE: THE
         COMPLIANCE AND
  91                                    N/A     5/11/2017    6/30/2020    TX0008882252       2019
         DIVERSITY
         IMPLICATIONS OF
         AUTOMATING EARLY
         STAGE RECRUITMENT.
         “The Compliance
         Implications of Job
         Descriptions,” Part II: 15
  92     Things Every Employer         17-090   4/28/2017    6/17/2020    TX0008884818     11/19/2019      1
         Should Consider When
         Drafting, Implementing, and
         Auditing Job Qualifications
         The Compliance Implications
  93                                   17-063   3/24/2017    7/24/2020    TX0008886352     11/20/2019      1
         of Job Descriptions, Part I
         New Memoranda Series:
         EEAC’s Guide to State AAP
         Requirements; EEAC’s
  94                                   17-067   3/24/2017    7/24/2020    TX0008886507     6/24/2019       1
         Guide to New Jersey State
         Contractor Affirmative
         Action Requirements
         OFCCP Makes Technical
         Change to Its Prescribed
  95                                   17-034   2/10/2017    10/25/2020   TX0008886510     1/13/2020       2
         “Pay Transparency”
         Language




                                                        19
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                                                 Exhibit B
                                          CWC Copyright Registrations
 Claim                                 Memo.    Date of     Date of           Registration   Date of First  Times
               Title of Work
Number                                 Number Publication Registration         Number        Infringement Downloaded
         OMB Extends OFCCP’s
         Disability Self-ID Form for
         Three More Years Without
  96                                   17-023    2/3/2017        7/28/2020   TX0008886334     1/16/2020       2
         Change; Forms Must Display
         New Expiration Date Going
         Forward
         OFCCP Compliance
         Template Series: EEAC’s
         Revised and Streamlined
  97     Sample AAP Narrative          17-006   1/13/2017        6/17/2020   TX0008884809     4/24/2019       1
         Template for Protected
         Veterans and Individuals
         with Disabilities
         EEAC’s Updated Digest of
  98     Local Affirmative Action      17-004    1/6/2017        6/17/2020   TX0008883430     5/23/2019       1
         Requirements
         EEAC’s “AAP Tune-Up”
  99     Series: Reviewing Your        16-251   12/23/2016       6/10/2020   TX0008878230     2/13/2020       3
         Good Faith Efforts
         EEAC’s Updated Digest of
 100     State Affirmative Action      16-249   12/16/2016       6/17/2020   TX0008883436     5/23/2019       2
         Requirements
         EEAC’s Guide To Handling
 101     an OFCCP Notice To Audit a    16-243   12/9/2016        6/17/2020   TX0008883414     2/20/2020       1
         Closed Facility
         EEAC’s “AAP Tune-Up”
         Series: Ensuring Your
 102                                   16-225   11/18/2016       6/10/2020   TX0008878403     11/26/2019      5
         “Applicant Dispositions”
         Work for You



                                                            20
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                                                 Exhibit B
                                          CWC Copyright Registrations
 Claim                                 Memo.    Date of     Date of            Registration   Date of First  Times
                Title of Work
Number                                 Number Publication Registration          Number        Infringement Downloaded
         EEOC Clarifies Instructions
         to New EEO-1 Report To
 103                                   16-212   10/28/2016       10/25/2020   TX0008908165      7/5/2019       1
         Confirm That There Is No
         Bar to Visual ID of Sex
         EEAC’s “OFCCP
         Compliance Primer” Series:
         Using Data Metrics for
 104                                   16-205   10/21/2016       6/17/2020    TX0008883451     2/13/2020       3
         Evaluating Your Disability
         and Veterans AAP
         Obligations
         OFCCP Launches Expansion
 105     of Its “Mega Construction     16-200   10/7/2016        6/23/2020    TX0008880980     10/15/2019      1
         Project Program”
         EEOC’s Proposed Changes
         to EEO-1 To Add Collection
         of Pay Data Get Final
 106                                   16-196   10/7/2016        7/28/2020    TX0008886337     4/23/2019       3
         Approval; Filing Deadline
         for New Report Is March 31,
         2018
         EEAC’s “AAP Tune-Up”
         Series: Following Up on
 107     Mandated Job Listings To      16-173    9/2/2016        6/17/2020    TX0008883448     6/18/2019       2
         Make Sure They Have Been
         Posted
         EEAC’s “AAP Tune-Up”
         Series: EEAC’s Guide to
 108                                   16-163   8/19/2016        6/17/2020    TX0008883445      1/7/2019       3
         Reviewing Your EEO-1
         Categories




                                                            21
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                                                 Exhibit B
                                          CWC Copyright Registrations
 Claim                                 Memo.    Date of     Date of            Registration   Date of First  Times
               Title of Work
Number                                 Number Publication Registration          Number        Infringement Downloaded
         EEAC’s Guide To
         Performing Mid-Year
 109                                   16-143   7/22/2016        6/17/2020    TX0008883418     11/16/2018      1
         Monitoring To Enhance AAP
         Compliance
         OMB Approves OFCCP’s
         Revised Scheduling Letter
 110                                   16-131    7/8/2016        10/25/2020   TX0008908175     2/20/2020       2
         and Itemized Listing,
         Effective for Three Years
         EEAC’s “Federal
         Compliance Initiative
         Scorecard” Summarizing
 111     Major Employment-Related      16-127   6/30/2016        6/17/2020    TX0008883450      2/4/2019       1
         Regulatory and Policy
         Actions Undertaken During
         the Obama Administration
         OFCCP Litigation Watch:
         EEOC and OFCCP Enter
         Into Rare “Joint”
 112                                   16-126   6/24/2016        10/25/2020   TX0008908172     7/19/2019       1
         Conciliation Agreement with
         Federal Contractor Asbestos
         Specialists
         OFCCP Litigation Watch:
         DOL’s Administrative
         Review Board Issues Final
 113     Ruling in Decades-Old         16-108    6/3/2016        10/25/2020   TX0008908215     3/28/2019       1
         NationsBank Litigation,
         Opening Up Case for Federal
         Court Review
         EEAC’s Guide to OFCCP
 114                                   16-109    6/3/2016        7/28/2020    TX0008886340     1/24/2020       3
         Notice Posting Requirements


                                                            22
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                                                 Exhibit B
                                          CWC Copyright Registrations
 Claim                                 Memo.    Date of     Date of           Registration   Date of First  Times
               Title of Work
Number                                 Number Publication Registration         Number        Infringement Downloaded
         EEAC’s Updated Listing of
 115     Federal Employment-Related    16-146    6/3/2016        6/10/2020   TX0008878337     3/18/2019       1
         Notice Posting Requirements
         “OFCCP Compliance
 116     Primer” Series: The “Job      16-105   5/27/2016        7/28/2020   TX0008886341     12/5/2019       3
         Group Analysis”
         Retaining Interview Notes,
 117     Drafts, and other Informal    16-097   5/20/2016        6/17/2020   TX0008883779     10/29/2019      1
         Employment Records
         EEAC’s New “OFCCP
 118     Compliance Primer” Series:    16-073   4/15/2016        6/17/2020   TX0008883426     11/6/2019       2
         The “Workforce Analysis”
         EEAC’s Updated “Internet
 119                                   16-063    4/1/2016        6/10/2020   TX0008878306      1/6/2020       3
         Applicant” Checklist
         EEAC’s Guide to OFCCP’s
 120     Formal Administrative         16-060   3/25/2016        6/10/2020   TX0008878275      4/9/2019       4
         Enforcement Process
         EEAC’s New “OFCCP
 121     Compliance Guide” for         16-053   3/18/2016        6/9/2020    TX0008878253     11/26/2019      7
         Recruiters
         EEAC’s Guide to OFCCP
 122     Compliance Requirements       16-034   2/19/2016        6/10/2020   TX0008878800     7/17/2019       2
         Regarding Job Postings
         EEAC’s Guide to Preparing
         an Effective Response to
 123                                   16-006   1/15/2016        6/10/2020   TX0008878794     12/10/2018      1
         OFCCP Allegations of
         Systemic Discrimination




                                                            23
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                                                    Exhibit B
                                             CWC Copyright Registrations
 Claim                                    Memo.    Date of     Date of        Registration   Date of First  Times
                Title of Work
Number                                    Number Publication Registration      Number        Infringement Downloaded
         EEAC’s Updated Resource
         Materials and Templates for
 124     Complying With OFCCP’s           15-260   12/31/2015    6/17/2020   TX0008883437     2/27/2020       2
         Revised “503/4212”
         Regulations
         Understanding the Rules
 125     Pertaining to Mandated           15-258   12/31/2015    7/28/2020   TX0008886345     11/20/2019      5
         Invitations to “Self-Identify”
         EEAC’s Updated Model
         “Equal Opportunity and
 126                                      15-249   12/18/2015    6/9/2020    TX0008878798     1/13/2020       5
         Affirmative Action Program
         Policy Statement” Templates
         EEAC’s Updated Guide to
 127     OFCCP-Enforced Contract          15-235   11/25/2015    6/10/2020   TX0008878789     1/24/2020       7
         Clause Requirements
         EEAC’s Updated
         Affirmative Action Due
         Diligence Guidelines for
 128                                      15-204   10/16/2015    6/10/2020   TX0008878787     7/15/2019       1
         Assessing the AA
         Compliance of a Potential
         Acquisition
         EEAC’s Updated Summary
         of Recordkeeping
 129     Requirements Under Federal       15-203   10/9/2015     6/17/2020   TX0008883438     4/23/2019       1
         Fair Employment and
         Affirmative Action Laws
         OFCCP Finalizes New “Pay
 130                                      15-187   9/18/2015     6/10/2020   TX0008878742      4/1/2019       1
         Secrecy” Rule




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                                                 Exhibit B
                                          CWC Copyright Registrations
 Claim                                 Memo.    Date of     Date of            Registration   Date of First  Times
               Title of Work
Number                                 Number Publication Registration          Number        Infringement Downloaded
         EEAC’s Guide to Preparing
         “Action-Oriented Programs”
 131                                   15-183   9/11/2015        6/10/2020    TX0008878739      1/2/2020       3
         To Meet OFCCP’s AAP
         Requirements
         OFCCP Issues New “Section
         503 Checklist” Designed To
         Assist Contractors in
 132                                   15-170   8/28/2015         6/9/2020    TX0008878799     3/16/2019       2
         Assessing Compliance With
         Agency’s Revised Disability
         Regulations
         EEAC’s Guide to
         Maintaining OFCCP-
         Compliant Records Where
 133                                   15-164   8/21/2015        6/17/2020    TX0008883421     1/30/2020       5
         Contractor Engages in
         “Passive” Recruiting
         Practices
         D.C. Circuit in Shea v.
         Kerry Reaffirms
         “Weber/Johnson” Analytical
 134     Framework in Finding That     15-166   8/21/2015        6/23/2020    TX0008881004      4/8/2019       1
         Voluntary Affirmative
         Action Program Does Not
         Violate Title VII
         DOL-VETS Officially
         Launches 2015 Filing Season
 135                                   15-153    8/7/2015        10/25/2020   TX0008908177     8/20/2019       1
         Featuring New VETS-4212
         Report




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 Claim                                  Memo.    Date of     Date of            Registration   Date of First  Times
                Title of Work
Number                                  Number Publication Registration          Number        Infringement Downloaded
         OFCCP’s Revised
         Compliance Manual Provides
 136     Guidance on How Agency         15-139   7/17/2015         6/9/2020    TX0008878736     11/5/2019       4
         Resolves Findings of
         Noncompliance
         EEAC Comments on "60-2"
         Proposal Urge OFCCP To
         Allow Consolidated and
 137                                    00-118    7/7/2000        10/29/2020   TX0008909977     6/16/2020       1
         Functional AAPs Rather
         Than Limiting AAPs to
         EEO-1 Establishments
         Making Downsizing and
         Promotion Decisions in Light
         of the Reemployment and
 138                                    02-003    1/4/2002        10/29/2020   TX0008909971     11/27/2018      1
         Job Retention Rights of
         Military Personnel Under
         USERRA
         OFCCP Finalizes
         "Compliance Check"
 139     Regulation To Allow            05-144    7/1/2005        10/29/2020   TX0008909899     3/29/2019       1
         Contractors To Opt for Off-
         Site Records Review
         OFCCP’s Final "Internet
         Applicant" Regulation
         Establishes Compliance
 140     Framework for Federal          05-227   10/14/2005       10/29/2020   TX0008909873      3/8/2019       1
         Contractors’ Electronic
         Recruitment and Selection
         Practices



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                                                  Exhibit B
                                           CWC Copyright Registrations
 Claim                                  Memo.    Date of     Date of            Registration   Date of First  Times
                Title of Work
Number                                  Number Publication Registration          Number        Infringement Downloaded
         OFCCP Issues Final
         "Interpretive Standards" for
 141     Investigating Systemic         06-134   6/23/2006        10/29/2020   TX0008909901      2/4/2019       1
         Compensation
         Discrimination
         Assessing Sex-Based
         Compensation
         Discrimination Claims Often
 142                                    07-049    3/9/2007        10/29/2020   TX0008909967     4/23/2019       1
         Requires Understanding of
         the Interplay Between Title
         VII and the Equal Pay Act
         Referencing EEAC’s
         Guidance As You Prepare To
 143                                    07-134   6/22/2007        10/29/2020   TX0008909954     5/13/2019       1
         File Your 2007 EEO-1
         Forms
         OFCCP Posts FAQ
         Announcing That
         Enforcement of New JVA
 144     Self-ID Requirements Will      08-001    1/4/2008        10/29/2020   TX0008909942     7/17/2019       1
         Be Delayed Until JVA
         Reporting Requirements Are
         Finalized
         Distinguishing "Basic"
         Versus "Minimum"
         Qualifications for Purposes
 145                                    08-190   9/12/2008        10/29/2020   TX0008909936     1/30/2020       1
         of Complying With
         OFCCP’s Internet Applicant
         Regulation




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                                                   Exhibit B
                                            CWC Copyright Registrations
 Claim                                   Memo.    Date of     Date of            Registration   Date of First  Times
                Title of Work
Number                                   Number Publication Registration          Number        Infringement Downloaded
         "Pre-Screening" Online Job
         Seekers Can Help To Reduce
 146     Recordkeeping Obligations       09-015   1/16/2009        10/29/2020   TX0008909929     1/30/2020       1
         Under OFCCP’s Internet
         Applicant Rule
         President Obama Revokes
         "Beck" Requirements and
 147     Orders Federal Contractors      09-028    2/6/2009        10/29/2020   TX0008909924      9/4/2019       1
         To Inform Employees of
         Their NLRA Rights
         Conducting Internal Resume
         Database Searches
 148                                     12-052   3/16/2012        10/29/2020   TX0008909904     11/19/2019      1
         Compliant With OFCCP
         Recordkeeping Requirements
         Atypical Selection Practices
         and Compliance With
 149                                     12-148    8/3/2012        10/29/2020   TX0008909909     7/17/2019       3
         OFCCP’s Mandatory Job
         Listing Rule
         New Settlements Shed More
         Light on OFCCP’s
         Enforcement Approach to
 150                                     12-171    9/7/2012        10/29/2020   TX0008909908      1/6/2020       1
         Employment Testing,
         Minority Subgroup Statistical
         Analyses
         USCIS Issues Guidance on
         Its E-Verify Auditing and
         Compliance Assistance
 151                                     13-011   1/18/2013        10/29/2020   TX0008909907     11/3/2019       1
         Procedures, Updates Federal
         Contractor E-Verify User
         Manual


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                                                   Exhibit B
                                            CWC Copyright Registrations
 Claim                                   Memo.    Date of     Date of            Registration   Date of First  Times
                Title of Work
Number                                   Number Publication Registration          Number        Infringement Downloaded
         OFCCP Issues New
         Directive Governing
         Investigation and Analysis of
 152     Contractor Compensation         13-040    3/1/2013        10/29/2020   TX0008909865      3/2/2019       1
         Practices; 2006
         Compensation Standards No
         Longer in Effect
         Establishing OFCCP-
         Compliant Recordkeeping
         Practices for Handling
 153                                     13-059   3/22/2013        10/29/2020   TX0008909864     10/29/2019      1
         Unsolicited Resumes and
         Other Uninvited Expressions
         of Interest
         Reviewing Physical and
         Mental Job Requirements
         Under OFCCP’s Section 503
 154                                     13-131    7/3/2013        10/29/2020   TX0008909860     8/20/2019       1
         and Section 4212 Affirmative
         Action Program
         Requirements
         EEAC’s Side-by-Side
         Analysis of OFCCP’s Final
 155                                     13-183   9/20/2013        10/29/2020   TX0008909980     9/27/2019       1
         Section 503 Disability
         Regulations
         EEAC’s Updated Model
         Equal Employment
 156     Opportunity and Affirmative     14-023   1/31/2014        10/29/2020   TX0008909697     6/10/2019       1
         Action Union Notification
         Template




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                                           CWC Copyright Registrations
 Claim                                  Memo.    Date of     Date of            Registration   Date of First  Times
                Title of Work
Number                                  Number Publication Registration          Number        Infringement Downloaded
         Preparing To Comply With
         the New Data Collection
         Analysis Requirements
 157                                    14-118   6/13/2014        10/29/2020   TX0008909688     3/16/2019       1
         Under OFCCP’s Revised
         Section 503/4212
         Regulations
         DOL-VETS Issues Final
         Rule Implementing New
         VETS-4212 Report for 2015
 158     Filing Cycle; Rule Contains    14-193   9/26/2014        10/29/2020   TX0008909681     8/16/2019       2
         Positive Changes in
         Response to EEAC's
         Comments
         OFCCP Posts Two New
         FAQs Providing Additional
 159     (and Helpful) Guidance on      14-212   10/24/2014       10/29/2020   TX0008909854     3/16/2019       1
         Agency’s Revised Disability
         and Veteran Regulations
         Valuing Federal Contracts To
 160     Determine Whether OFCCP        15-007    1/9/2015        10/29/2020   TX0008909836     4/23/2019       1
         Coverage Applies
         OFCCP Sets Revised Annual
 161     Veterans Hiring Benchmark      15-079   4/24/2015        10/29/2020   TX0008909703     8/16/2019       1
         of 7.0%
         OFCCP Posts New Sample
         AAP Narratives Reflecting
 162     Revised 503/4212               15-117   6/19/2015        10/28/2020   TX0008909849     4/23/2019       1
         Regulations; Non-Mandatory
         Items Included



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                                                     Exhibit B
                                              CWC Copyright Registrations
 Claim                                     Memo.    Date of     Date of         Registration   Date of First  Times
                Title of Work
Number                                     Number Publication Registration       Number        Infringement Downloaded
         Final Diversity Standards for
         Dodd-Frank Regulated
 163                                       15-125   6/26/2015     10/28/2020   TX0008909699      6/9/2019       1
         Entities Stress Flexibility and
         Voluntary Compliance
         Update on Recent Actions
         Taken by Dodd-Frank Law’s
 164                                       17-043   2/24/2017     10/22/2020   TX0008909983     3/19/2019       1
         Offices of Minority and
         Women Inclusion
         OFCCP Jurisdiction Extends
 165     to Contracts With                 17-087   4/21/2017     10/22/2020   TX0008909982     4/23/2019       1
         "Government Corporations"
         EEAC’s Analysis of
         OFCCP’s Final Revised “60-
 166                                       00-210   11/17/2000    10/27/2020   TX0008910098     2/26/2019       2
         2” Affirmative Action
         Program Regulations
         OFCCP’s Final Voluntary
         “Self-Evaluation Guidelines”
 167                                       06-139   6/30/2006     10/29/2020   TX0008910051      2/4/2019       1
         for Reviewing Compensation
         Practices
         EEAC’s Guide to
         Understanding and
 168     Responding to Some of the         09-155   7/31/2009     10/27/2020   TX0008910180     8/30/2019       1
         Most Commonly Requested
         Reasonable Accomodations
         Financial Reform Law Sets
         Up New Affirmative Action
 169     and Diversity Requirements        10-134   7/23/2010     10/29/2020   TX0008910107     6/10/2019       1
         for Regulated Businesses and
         Contractors



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                                            CWC Copyright Registrations
 Claim                                   Memo.    Date of     Date of            Registration   Date of First  Times
                Title of Work
Number                                   Number Publication Registration          Number        Infringement Downloaded
         A Recommended Process for
         Auditing Your Company’s
 170                                     10-162    9/2/2010        10/27/2020   TX0008910449     1/30/2020       2
         Compliance With OFCCP’s
         Internet Applicant Rule
         Timing of a Job Seeker’s
         Withdrawal From
         Consideration Is Relevant for
 171                                     11-195   10/7/2011        10/29/2020   TX0008910093     1/30/2020       1
         Purposes of Complying With
         OFCCP’s Internet Applicant
         Rule
         EEAC’s Written Comments
         on OFCCP’s Proposed
         Overhaul of Section 503
         Regulations, Contending
 172     That Benefits Do Not            12-037   2/24/2012        10/29/2020   TX0008910073      3/2/2020       1
         Outweigh Added Costs, Urge
         Agency To Work With Us
         To Craft an Effective
         Alternative
         Atypical Selection Practices
 173     and OFCCP’s Good Faith          12-167   8/31/2012        10/27/2020   TX0008910171      4/8/2019       2
         Efforts Requirements
         Atypical Selection Practices
         and Compliance With
 174                                     12-196   10/12/2012       10/27/2020   TX0008910172      3/8/2019       3
         OFCCP’s Recordkeeping
         Requirements
         This Week’s Federal Register
         Publication of OFCCP’s
 175     Final Veterans and Disability   13-188   9/27/2013        10/29/2020   TX0008910074      3/2/2019       2
         Rules Officially Triggers
         Compliance Deadlines

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                                                  Exhibit B
                                           CWC Copyright Registrations
 Claim                                  Memo.    Date of     Date of            Registration   Date of First  Times
                Title of Work
Number                                  Number Publication Registration          Number        Infringement Downloaded
         EEAC’s New “503/4212
 176                                    13-219   11/8/2013        10/29/2020   TX0008910096     2/13/2020       2
         Implementation Guide”
         EEAC’s Review of Latest
         OFCCP Settlements
 177     Confirms Agency’s              13-224   11/15/2013       10/29/2020   TX0008910076      3/4/2019       1
         Aggressive Litigation
         Enforcement Agenda
         EEAC’s Guide To “Closing
 178                                    14-001    1/3/2014        10/27/2020   TX0008910191     11/16/2018      1
         Out” Your Prior Year’s AAP
         EEAC’s Updated Model
         “Equal Opportunity and
 179                                    14-002    1/3/2014        10/27/2020   TX0008910238     3/25/2019       1
         Affirmative Action Program
         Policy Statement” Templates
         EEAC’s Updated Guide To
 180     Setting — or Resetting —       14-006   1/10/2014        10/27/2020   TX0008910185     11/16/2018      2
         Your Annual AAP Cycle
         OFCCP Continues To Give
         Contractors Option of
         Submitting Either
 181     “Incoming” or “Outgoing”       14-007   1/10/2014        10/27/2020   TX0008910166     2/20/2020       2
         AAP AAP When Scheduling
         Letter Is Received Within 30
         Days of Annual Update
         EEAC’s “Executive
         Summary” of OFCCP’s
 182                                    14-016   1/24/2014        10/27/2020   TX0008910202      7/7/2019       1
         Revised Veterans and
         Disability Regulations




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                                          CWC Copyright Registrations
 Claim                                 Memo.    Date of     Date of            Registration   Date of First  Times
               Title of Work
Number                                 Number Publication Registration          Number        Infringement Downloaded
         OFCCP’s New Federal
         Contract Compliance Manual
         Sets Agency Protocol for
 183                                   14-018   1/24/2014        10/27/2020   TX0008910164      2/4/2019       3
         Conducting Individual
         Discrimination Complaint
         Investigations
         President Obama Issues
         Executive Order To Increase
         Minimum Wage for
 184                                   14-048    3/7/2014        10/27/2020   TX0008910085     2/21/2020       2
         Employees of Federal
         Contractors and
         Subcontractors
         EEAC’s Guide to Complying
         With the New 503/4212
 185     Requirement to Document       14-050   3/14/2014        10/27/2020   TX0008910633      3/4/2019       4
         Annual Assessment of
         Outreach Efforts
         EEAC’s Model Employment
 186     Service Delivery System       14-062   3/24/2014        10/27/2020   TX0008910640     7/17/2019       1
         Notification Template
         EEAC’s Updated Guide to
         OFCCP Corporate
 187                                   14-068    4/4/2014        10/27/2020   TX0008910645      7/9/2019       2
         Management Compliance
         Evaluations (CMCEs)
         EEAC’s Updated Primer on
 188     the Basic Scope of OFCCP      14-113    6/6/2014        10/27/2020   TX0008910057     4/23/2019       2
         Jurisdiction




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                                          CWC Copyright Registrations
 Claim                                 Memo.    Date of     Date of            Registration   Date of First  Times
               Title of Work
Number                                 Number Publication Registration          Number        Infringement Downloaded
         OFCCP Posts New Set of
         FAQs on Corporate
         Management Compliance
 189                                   14-144   7/18/2014        10/27/2020   TX0008910663      7/9/2019       2
         Evaluation (CMCE) Process,
         Overhauling Previous
         Guidance
         EEAC’s Updated Guide to
 190     OFCCP-Enforced Contract       14-155    8/1/2014        10/27/2020   TX0008910713     2/21/2019       1
         Clause Requirements
         OFCCP Posts New FAQs on
         Employer-Employee
         Relationship To Provide
 191                                   14-166   8/15/2014        10/27/2020   TX0008910693     12/5/2019       2
         Guidance to Contractors on
         Who Must Be Included in an
         AAP
         Labor Department Issues
         Final Rule Raising Minimum
 192                                   14-205   10/10/2014       10/27/2020   TX0008910702     4/23/2019       2
         Wage on Certain Federal
         Contracts
         EEAC’s Model Template for
         Demonstrating Assessment
 193     of Personnel Processes With   14-252   12/19/2014       10/27/2020   TX0008910058     1/23/2019       2
         Respect to Individuals With
         Disabilities and Veterans
         EEAC’s Checklist for
         Reviewing Physical and
         Mental Qualifications Under
 194                                   15-025    2/6/2015        10/27/2020   TX0008910711     8/29/2019       2
         New Paragraph 22 of
         OFCCP's Revised
         Scheduling Letter


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                                           CWC Copyright Registrations
 Claim                                  Memo.    Date of     Date of            Registration   Date of First  Times
                Title of Work
Number                                  Number Publication Registration          Number        Infringement Downloaded
         Understanding the
 195     Compliance Risks of “1-to-     15-089    5/8/2015        10/27/2020   TX0008910141     2/25/2019       2
         1” Applicant to Hire Ratios
         Close to Half the States Now
         Have Some Form of
 196                                    15-090    5/8/2015        10/27/2020   TX0008910129     11/16/2018      3
         Voluntary Private Sector
         "Veterans' Preference Laws
         OFCCP’s Compliance
         Manual Provides Guidance
 197     on What Contractors Can        15-148   7/31/2015        10/22/2020   TX0008910078      2/4/2019       1
         Expect During an Agency
         Discrimination Investigation
         The Importance of
         Employing Good
 198     Recordkeeping Practices in     15-177    9/4/2015        10/22/2020   TX0008910080      3/8/2019       1
         the Talent Acquisition
         Process
         How Does OFCCP Calculate
 199     Remedies for                   15-190   9/25/2015        10/22/2020   TX0008910083      3/2/2019       1
         Discrimination?
         EEAC’s Written Comments
         to DOL on Proposed Paid
         Sick Leave Regulations Urge
 200                                    16-079   4/22/2016        10/22/2020   TX0008910443     4/23/2019       1
         Clear Exemption for Covered
         Contractors That Already
         Comply
         DOL-VETS Raises
         Threshold for Filing VETS-
 201     4212 Report From $100,000      16-094   5/13/2016        10/22/2020   TX0008910063      7/5/2019       1
         to $150,000 Effective
         October 1, 2015

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                                                  Exhibit B
                                           CWC Copyright Registrations
 Claim                                  Memo.    Date of     Date of         Registration   Date of First  Times
                Title of Work
Number                                  Number Publication Registration       Number        Infringement Downloaded
         Fine for Failure To Post
 202     "EEO is the Law" Poster        16-115   6/10/2016     10/22/2020   TX0008910059      4/9/2019       1
         Increased to $525
         Labor Department Issues
         Final Rule Requiring
         Covered Federal Contractors
 203                                    16-201   10/14/2016    10/22/2020   TX0008910061     4/23/2019       1
         To Provide Employees With
         up to 56 Hours of Paid Sick
         Leave Annually
         EEAC Files Comments With
         OFCCP Requesting
         Additional Flexibility
 204     Regarding Section 503/4212     16-215   11/4/2016     10/22/2020   TX0008910444     6/11/2019       1
         Compliance Requirements,
         Including Use of Self-
         Identification Form CC-305
         "Big Data" Analytics and Its
 205     EEO Implications for           16-257   12/30/2016    10/22/2020   TX0008910045      3/8/2019       1
         Employment Practices
         EEAC’s “Pay Equity”
         Legislation Status Report: A
 206     Look at Where We Are           17-132   6/23/2017     10/22/2020   TX0008910047     6/12/2019       1
         Today and What May Be
         Ahead
         DOL "All Agency" Memo
         Regarding Interaction of
         Benefits Under Service
 207     Contract Act Suggests          17-203   9/22/2017     10/22/2020   TX0008910683      9/4/2019       1
         Contractor Paid Sick Leave
         Rule Is Here To Stay for
         Now

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                                                   Exhibit B
                                            CWC Copyright Registrations
 Claim                                   Memo.    Date of     Date of            Registration   Date of First  Times
                Title of Work
Number                                   Number Publication Registration          Number        Infringement Downloaded
         OFCCP Settlement Update:
         Latest Cases Show
 208     Continuing Focus on             17-237   11/10/2017       10/22/2020   TX0008910300      1/6/2020       1
         Compensation and Steering
         Claims
         EEOC Has Stepped Up Its
         Equal Pay Act Litigation
 209                                     17-257   12/8/2017        10/22/2020   TX0008910297     6/12/2019       1
         Activity, and Employers
         Should Take Notice
         MEMBER FEEDBACK
         REQUESTED: CWC’s
 210     Guide to the Compliance         18-048    3/9/2018        10/22/2020   TX0008910303     11/26/2019      1
         Implications of Campus
         Recruiting
         USCIS Rolls Out
         Enhancements to E-Verify
 211                                     18-088   4/27/2018        10/22/2020   TX0008910304     11/3/2019       1
         Program, Unveils
         Redesigned Website
         MEMBER FEEDBACK
         REQUESTED: CWC’s New
         Website Offers a Number of
 212     Innovative Tools Designed       18-106   5/25/2018        10/22/2020   TX0008910287     7/15/2019       1
         To Help Members Manage
         Their Workplace Compliance
         Challenges
         OFCCP Litigation Update:
         Fate of Two Pending High
 213     Profile Cases Currently Rests   18-109   5/25/2018        10/22/2020   TX0008910295     12/11/2018      1
         With DOL’s Administrative
         Review Board


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                                           CWC Copyright Registrations
 Claim                                  Memo.    Date of     Date of            Registration   Date of First  Times
                Title of Work
Number                                  Number Publication Registration          Number        Infringement Downloaded
         CWC Members Are Sharing
         Best Practices Via Our
 214                                    18-129   6/22/2018        10/22/2020   TX0008910436      7/9/2019       1
         Online Collaboration Center,
         “CWC Connect”
         MEMBER FEEDBACK
         REQUESTED: “CWC
         Reference” Tool Has Been
 215     Expanded To Add AAP            18-136    7/6/2018        10/22/2020   TX0008910280     2/13/2020       1
         Requirements for Individuals
         with Disabilities and
         Protected Veterans
         Most Recent OFCCP
         Financial Settlements
 216                                    18-168   8/17/2018        10/22/2020   TX0008910292      3/4/2019       1
         Continue To Wrap Up Years-
         Old Audits
         OFCCP Financial Settlement
         Update: Focus Continues To
 217                                    18-239   11/16/2018       10/22/2020   TX0008910285      3/4/2019       1
         Be on Disposal of “Aged”
         Audits
         OFCCP Publishes Three
         New Directives, Formally
         Rescinding “Active Case
         Enforcement” Procedures,
 218                                    18-253   12/7/2018        10/22/2020   TX0008910447     1/23/2019       1
         Establishing New "Early
         Resolution Procedures," and
         Inaugurating Informal
         Opinion Letters




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                                                Exhibit B
                                         CWC Copyright Registrations
 Claim                                Memo.    Date of     Date of            Registration   Date of First  Times
               Title of Work
Number                                Number Publication Registration          Number        Infringement Downloaded
         OFCCP’s FY 2018
         Enforcement Numbers Show
 219     Completed Audits Dropped     19-002    1/4/2019        10/22/2020   TX0008910279      3/4/2019       1
         by One-Third From Previous
         Year
         Partial Government
         Shutdown Enters Third
         Week; EEOC, Immigration
 220     Enforcement Agencies         19-005    1/4/2019        10/22/2020   TX0008910581     11/3/2019       1
         Among Those Affected, and
         E-Verify Has Been
         Suspended
         OFCCP Litigation Update:
         The Latest on the High
 221                                  19-038   2/22/2019        10/22/2020   TX0008910277     2/25/2019       1
         Profile Google, Convergys,
         and Oracle Lawsuits
         Conciliation Agreements
         Negotiated With OFCCP
 222     Have Teeth, and the Agency   19-043    3/1/2019        10/22/2020   TX0008910575      3/1/2019       1
         Has Shown Its Intent To
         Enforce Them
         OFCCP’s Forthcoming
         “CSAL” List Will Include
         Focused Reviews and
 223                                  19-045    3/1/2019        10/22/2020   TX0008910253      3/4/2019       1
         Compliance Checks in
         Addition to Standard
         Compliance Reviews




                                                           40
          Case 1:20-cv-01387-AJT-JFA Document 37-4 Filed 02/02/21 Page 152 of 214 PageID# 1503

                                                   Exhibit B
                                            CWC Copyright Registrations
 Claim                                   Memo.    Date of     Date of            Registration   Date of First  Times
                Title of Work
Number                                   Number Publication Registration          Number        Infringement Downloaded
         House Labor Committee
         Approves “Paycheck
 224     Fairness Act” on Party-Line     19-049    3/8/2019        10/22/2020   TX0008910263     4/23/2019       1
         Vote; House Passage Likely,
         But Senate Outlook Is Murky
         OFCCP Director Craig Leen
         Provides Update on Latest
         Agency Developments,
 225     Solicits Feedback from          19-053   3/15/2019        10/22/2020   TX0008910284     3/16/2019       1
         Attendees, During Two
         Separate at CWC's 2019
         Policy Conference
         OFCCP Posts Its New
         Scheduling List Targeting
         3,500 Contractor Entities for
 226                                     19-065   3/29/2019        10/22/2020   TX0008910470     9/24/2019       1
         Compliance Evaluations;
         Audits To Begin Mid-May
         2019
         Factors To Consider When
         Thinking About
 227     Supplementing Applicant         12-074   4/13/2012        10/29/2020   TX0008911912      4/8/2019       3
         Pools With More Diverse
         Candidates
         EEAC’s New "OFCCP Desk
 228                                     15-058   3/27/2015        10/27/2020   TX0008911917     2/20/2020       1
         Audit Submission Checklist"
         EEAC’s Updated Guide to
         Responding to OFCCP
 229                                     15-083    5/1/2015        10/27/2020   TX0008911919     2/26/2019       4
         Requests for Information
         (RFIs)



                                                              41
          Case 1:20-cv-01387-AJT-JFA Document 37-4 Filed 02/02/21 Page 153 of 214 PageID# 1504

                                                 Exhibit B
                                          CWC Copyright Registrations
 Claim                                 Memo.    Date of     Date of         Registration   Date of First  Times
                Title of Work
Number                                 Number Publication Registration       Number        Infringement Downloaded
         What Are the OFCCP
         Compliance Implications of
 230                                   12-118   6/15/2015     10/29/2020   TX0008911973     11/20/2019      1
         Making "Atypical" Selection
         Decisions?
         EEAC’s Model AAP Audit
 231     and Reporting System          15-048   3/13/2015     10/27/2020   TX0008912039     1/14/2019       3
         Template
         EEAC’s Updated OFCCP
 232     Compliance Evaluation         16-083   4/29/2016     10/22/2020   TX0008912041     1/14/2019       1
         Checklist
         OFCCP Compliance
         Template Series: EEAC’s
         Streamlined Sample AAP
 233                                   16-246   12/16/2016    10/22/2020   TX0008911975     4/24/2019       1
         Narrative Template for
         Women and Minorities To
         Help Facilitate Compliance
         Winning or Losing a
         Discrimination Lawsuit
         Hinges on Whether Parties
 234                                   05-278   12/23/2005    11/11/2020   TX0008912678      3/2/2020       1
         Meet Their Burden of Proof;
         EEAC's New Matrix Maps
         Out the Basics
         EEAC's Guide To Preparing
         an Effective Response to
 235                                   08-075   4/11/2008     11/11/2020   TX0008912681      3/2/2020       2
         OFCCP Allegations of
         Systemic Discrimination




                                                         42
          Case 1:20-cv-01387-AJT-JFA Document 37-4 Filed 02/02/21 Page 154 of 214 PageID# 1505

                                                  Exhibit B
                                           CWC Copyright Registrations
 Claim                                  Memo.    Date of     Date of            Registration   Date of First  Times
                Title of Work
Number                                  Number Publication Registration          Number        Infringement Downloaded
         Increasing Enforcement
         Emphasis by OFCCP on
         Systemic Discrimination
 236     Highlights Value of "Mantel-   08-182   8/29/2008        11/11/2020   TX0008912671      3/2/2020       1
         Haenszel" and "Breslow-
         Day" Tests in Evaluating
         Selection Patterns
         Practicing Affirmative
         Action Within the Law: An
 237     Employer's Guide To            08-095    5/9/2008        11/11/2020   TX0008912687      3/6/2020       1
         Navigating the Continuously
         Evolving Legal Environment
         Affirmative Action Post-
         Ricci: The Impact of the
 238     Supreme Court?s Reverse        09-228   11/13/2009       11/11/2020   TX0008912668      3/6/2020       1
         Discrimination Ruling in
         Ricci v. DeStefano
         EEAC?s Template for
         Complying With OFCCP?s
 239     New Section 503/4212           14-055   3/21/2014        11/11/2020   TX0008912694     2/27/2020       1
         Vendor and Subcontractor
         Notification Requirement.
         EEAC's Wide Array of
         "503/4212" Resource
 240                                    15-053   3/20/2015        11/11/2020   TX0008912673     2/27/2020       1
         Materials and Compliance
         Templates
         OFCCP Grants Temporary
         Waiver of Written AAP
 241                                    18-246   11/30/2018       11/11/2020   TX0008912664     3/18/2020       1
         Requirement for California
         Wildfire Relief Contracts.


                                                             43
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                                                 Exhibit B
                                          CWC Copyright Registrations
 Claim                                 Memo.    Date of     Date of         Registration   Date of First  Times
               Title of Work
Number                                 Number Publication Registration       Number        Infringement Downloaded
         OFCCP Resets Annual
         Veteran Hiring Benchmark at
 242                                   19-064   3/29/2019     11/11/2020   TX0008912653     8/16/2019       1
         5.9%, Down From 6.4% Last
         Year.
         Ruling by Administrative
         Law Judge in OFCCP v.
         Analogic Corp. Hands
         Victory to Federal
 243                                   19-074   4/12/2019     11/11/2020   TX0008912651     2/28/2020       1
         Contractor, Finds Agency
         Failed To Prove Systemic
         Compensation
         Discrimination
         Federal Contractor Minimum
         Wage Will Increase From
 244                                   19-195   9/27/2019     11/11/2020   TX0008912658     2/21/2020       1
         $10.60 to $10.80 an Hour on
         January 1, 2020
         MEMBER FEEDBACK
         REQUESTED: CWC's
 245                                   19-239   11/22/2019    11/11/2020   TX0008912659     2/27/2020       1
         Digest of Local Affirmative
         Action Requirements
         EEAC Sample Executive
 246     Order 11246 AAP Narrative      N/A     12/16/2016    11/19/2020   TX0008914767     4/24/2019       1
         for Women & Minorities
         OFCCP Desk Audit
 247                                    N/A     3/27/2015     11/19/2020   TX0008914889     2/20/2020       1
         Submission Checklist
         Model Audit and Reporting
         System, Prepared in
 248                                    N/A     3/13/2015     11/19/2020   TX0008914887     1/14/2019       3
         Accordance with 41 C.F.R.
         60-2.17(d)



                                                         44
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                                                Exhibit B
                                         CWC Copyright Registrations
 Claim                                Memo.    Date of     Date of            Registration   Date of First  Times
               Title of Work
Number                                Number Publication Registration          Number        Infringement Downloaded
         Model Audit and Reporting
         System, Prepared in
 249                                   N/A     3/13/2015        11/19/2020   TX0008914791     1/14/2019       3
         Accordance with 41 C.F.R.
         60-300.44(h), 60-741.44(h)
         EEAC’S UPDATED OFCCP
         COMPLIANCE
 250                                   N/A     4/29/2016        11/19/2020   TX0008914787     1/14/2019       1
         EVALUATION
         CHECKLIST
         EEAC's Guide to
 251     Responding to OFCCP           N/A      5/1/2015        11/19/2020   TX0008914784     2/26/2019       4
         Requests for Information
         Practicing Affirmative
 252                                   N/A     4/13/2012        11/19/2020   TX0008914774      4/8/2019       3
         Action Within the Law
         EEO/AA Compliance in
 253                                   N/A     2/29/2012        11/19/2020   TX0008914770     11/20/2019      1
         Executive Searches




                                                           45
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                         Exhibit C
   Case 1:20-cv-01387-AJT-JFA Document 37-4 Filed 02/02/21 Page 158 of 214 PageID# 1509




SUBMIT ALL REQUIRED INFORMATION TO:
SAMANTHA WITTIE, Manager of Operations and Member Engagement
PHONE:    202.629.5633           Center for Workplace Compliance
EMAIL:    swittie@cwc.org        1501 M Street, NW | Suite 1000
                                 Washington, DC 20005

MEMBERSHIP ELIGIBILITY
CWC is a national non-profit association of employers from all major U.S. industries and economic sectors, including for-profit
corporations, non-profit organizations, and educational institutions. Law firms, consulting firms, and other organizations providing
workplace legal and compliance services are not eligible for CWC membership.
CWC membership is organizational, meaning that all of a member employer’s HR generalists and discipline specialists (compensation,
talent acquisition, compliance, EEO/AA, diversity and inclusion, training and development, etc.), labor and employment attorneys,
and other staff can be registered to access and take advantage of membership benefits, services, and privileges. Non-profit
organizations and educational institutions that elect to pay CWC’s discounted non-profit membership fee may designate up to
three (3) staff members for access to membership benefits, services, and privileges.


ORGANIZATION INFORMATION
ORGANIZATION NAME:                                                       FED TAX ID:
MAILING ADDRESS:                                                         CITY:                                  STATE:             ZIP:
PHONE:                                         FAX:                                    WEBSITE:

CWC members include employers from all major U.S. sectors and industries, including many Fortune 500 organizations. For benchmarking
purposes, please use the list on page two to identify the sector and industry that best describe your business.
SECTOR:                                                                  INDUSTRY:
TOTAL NUMBER OF EMPLOYEES REPORTED ON MOST RECENT CONSOLIDATED EEO-1 REPORT (OR TOTAL U.S. HEADCOUNT):


ORGANIZATION CONTACTS
PRIMARY REPRESENTATIVE
CWC “prime reps” are the individuals designated by each member employer to serve as the principal membership contact. They typically
perform senior-level roles in one or more of the following functions: HR leadership and operations, law and compliance, labor and employee
relations, EEO/AA compliance, diversity and inclusion, talent acquisition, and compensation. Prime reps ensure that other employees within
the organization are aware of their CWC membership, receive “prime-rep-only” communications, vote on proposed changes to CWC bylaws,
and manage membership renewals.

PRIMARY REPRESENTATIVE NAME:                                             TITLE:
MAILING ADDRESS:                                                         CITY:                                  STATE:             ZIP:
PHONE:                                                                   EMAIL:

ADDITIONAL CONTACTS (FOR ACCESS TO MEMBERSHIP BENEFITS, SERVICES, AND PRIVILEGES)
CONTACT 1 NAME:                                                          TITLE:
MAILING ADDRESS:                                                         CITY:                                  STATE:             ZIP:
PHONE:                                                                   EMAIL:
CONTACT 2 NAME:                                                          TITLE:
MAILING ADDRESS:                                                         CITY:                                  STATE:             ZIP:
PHONE:                                                                   EMAIL:
                                                                                                                CWC Membership Application (Rev. 06/2018)
   Case 1:20-cv-01387-AJT-JFA Document 37-4 Filed 02/02/21 Page 159 of 214 PageID# 1510




DUES AND PAYMENT OPTIONS
CWC membership dues are fully deductible as an ordinary and necessary business expense.

ANNUAL MEMBERSHIP DUES                                      PAYMENT BY WIRE/ACH                                 PAYMENT BY CHECK
Regular Membership Rate:               $13,500              Center for Workplace Compliance                     Center for Workplace Compliance
Non-Profit Membership Rate:            $ 7,500              Eagle Bank                                          1501 M Street, NW | Suite 1000
                                  th
Renewals billed annually in the 4 quarter for the           2001 K Street, NW | Suite 502                       Washington, DC 20005
next calendar year. First-year dues prorated to             Washington, DC 20006
reflect first full month of membership.                     ABA#: 055003298 | Account#: 200174027


SIGNATURE
CWC bylaws state that all new members must be approved by the association’s board of directors.

SIGNATURE:
DATE:



INDUSTRY BENCHMARKING INFORMATION
INDUSTRY SECTORS AND INDUSTRIES
• Aerospace                            • Financials                           • Household Products                 • Technology
  » Aerospace and Defense                » Commercial Banks                     » Home Equipment, Furnishings        » Computer Peripherals
• Apparel                                » Diversified Financials               » Household and Personal             » Computer Software
                                         » Insurance: Life, Health (Mutual)       Products                           » Computers, Office Equipment
  » Apparel
                                         » Insurance: Life, Health (Stock)    • Industrials                          » Information Technology Services
• Business Services                      » Insurance: Property and                                                   » Internet Services and Retailing
                                                                                » Construction and Farm
  » Advertising, Marketing                  Casualty (Mutual)                                                        » Network and Other Communications
                                                                                   Machinery
  » Diversified Outsourcing              » Insurance: Property and                                                      Equipment
                                                                                » Electronics, Electrical
    Services                                Casualty (Stock)                                                         » Scientific, Photographic, and Control
                                                                                   Equipment
  » Education                            » Real Estate                                                                  Equipment
                                                                                » Industrial Machinery
  » Financial Data Services              » Securities                                                                » Semiconductors and Other Electronic
  » Temporary Help                                                            • Materials                               Components
                                       • Food and Drug Stores                   » Building Materials, Glass
  » Waste Management
                                         » Food and Drug Stores                 » Forest and Paper Products        • Telecommunications
• Chemicals                                                                                                          » Telecommunications
                                       • Food, Beverages, and Tobacco           » Metals
  » Chemicals
                                         » Beverages                            » Packaging, Containers            • Transportation
• Education                              » Food Consumer Products                                                    » Airlines
                                                                              • Media
  » Educational Institution              » Food Production                                                           » Mail, Package, and Freight Delivery
                                                                                » Entertainment
• Energy                                 » Tobacco                              » Publishing, Printing               » Railroads
  » Energy                                                                                                           » Transportation and Logistics
                                   • Healthcare                               • Motor Vehicles and Parts
  » Mining, Crude-Oil Production                                                                                     » Transportation Equipment
                                     » Health Care: Insurance and               » Motor Vehicles and Parts
  » Oil and Gas Equipment Services     Managed Care                                                                  » Trucking, Truck Leasing
  » Petroleum Refining               » Health Care: Medical Facilities        • Non-Profit                         • Wholesalers
  » Pipelines                        » Health Care: Pharmacy and                » Non-Profit                         » Wholesalers: Diversified
  » Utilities: Gas and Electric        Other Services                         • Retailing                            » Wholesalers: Electronics and Office
                                     » Medical Products and                     » Automotive Retailing, Services       Equipment
• Engineering and Construction
                                       Equipment                                » General Merchandisers              » Wholesalers: Food and Grocery
  » Engineering, Construction
                                     » Pharmaceuticals                          » Specialty Retailers: Apparel       » Wholesalers: Health Care
  » Homebuilders
                                   • Hotels, Restaurants and Leisure            » Specialty Retailers: Other       • Other/Not Sure
                                     » Food Services
                                     » Hotels, Casinos, Resorts

                                                                                                                               CWC Membership Application (Rev. 06/2018)
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                         Exhibit D
Case
 Littler1:20-cv-01387-AJT-JFA    Document
         Adds Shareholder Lance Gibbons     37-4 Filed
                                        in Washington,  02/02/21
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                                                            | Littler Mendelson of 214 PageID#
                                                                                         Page 1 1512
                                                                                                of 2




   Littler Adds Shareholder Lance Gibbons in
   Washington, D.C.
   July 25, 2018


   WASHINGTON, D.C. (July 25, 2018) – Littler, the world’s largest employment and labor law
   practice representing management, is pleased to announce that Lance E. Gibbons has rejoined
   the firm as a shareholder in the Washington, D.C., office. Previously a partner at NT Lakis, LLP,
   Gibbons’ return to Littler marks the eighth shareholder to join the firm since January.

   “Lance is a strong addition to the talented group of shareholders we’ve added this year, as he
   offers clients experienced counsel on labor and employment regulatory matters at all levels of
   government,” said Alison N. Davis, Littler’s office managing shareholder in Washington, D.C. “His
   extensive experience before the U.S. Department of Labor’s Office of Federal Contract
   Compliance Programs will deepen Littler’s position as the foremost advisor of management on
   anti-discrimination laws and affirmative action regulations.”

   With nearly 20 years of experience counseling and representing clients on OFCCP matters,
   Gibbons advises companies on compliance with the array of employment-related requirements
   associated with government contracts, as well as in preparing for and resolving OFCCP audits. He
   also brings extensive experience representing clients on matters before other workplace
   regulatory and enforcement agencies, including the Equal Employment Opportunity Commission.

   “Littler has continued to increase its profile and influence around the globe and here in
   Washington, and I’m excited to return to the firm,” Gibbons said. “In addition to drawing on Littler’s
   robust platform and resources to serve clients, I look forward to supporting the firm’s efforts to
   engage with the government on behalf of employers on labor and employment related
   developments.”




 https://www.littler.com/publication-press/press/littler-adds-shareholder-lance-gibbons-washi... 4/6/2020
Case
 Littler1:20-cv-01387-AJT-JFA    Document
         Adds Shareholder Lance Gibbons     37-4 Filed
                                        in Washington,  02/02/21
                                                       D.C.           Page 162 P.C.
                                                            | Littler Mendelson of 214 PageID#
                                                                                         Page 2 1513
                                                                                                of 2


   As part of his role, Gibbons will work closely with members of Littler’s Workplace Policy Institute®
   (WPI™), which serves as a resource for employers to ensure that they have a voice in legislative
   and regulatory developments that impact their workplaces and business strategies.

   During his time at NT Lakis, Gibbons also served as assistant general counsel to the Center for
   Workplace Compliance, where he assisted the association’s members in understanding and
   managing their workplace compliance requirements and risks. Earlier in his career, he served as
   senior counsel to National Labor Relations Board Member Peter C. Schaumber.

   Gibbons received his J.D., with distinction, from Ohio Northern University College of Law and his
   B.S. from Miami University.

   About Littler

   Littler is the largest global employment and labor law practice, with more than 1,500 attorneys in
   80 offices worldwide. Littler represents management in all aspects of employment and labor law
   and serves as a single-source solution provider to the global employer community. Consistently
   recognized in the industry as a leading and innovative law practice, Littler has been litigating,
   mediating and negotiating some of the most influential employment law cases and labor
   contracts on record for over 75 years. Littler Global is the collective trade name for an
   international legal practice, the practicing member entities of which are separate and distinct
   professional firms.




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   Littler Mendelson is part of the international legal practice Littler Global which operates worldwide through a number of separate
   legal entities. Attorney Advertising.




 https://www.littler.com/publication-press/press/littler-adds-shareholder-lance-gibbons-washi... 4/6/2020
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                         Exhibit E
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Littler
Lance E. Gibbons
Shareholder


1650 Tysons Boulevard
Suite 700
Tysons Corner, VA 22102
main: (703) 442-8425
direct: (202) 772-2520
fax: (703) 442-8428
Igibbons@littlencom



Focus Areas
Affirmative Action/OFCCP Compliance
Investigations
Discrimination and Harassment
Labor Management Relations
Workplace Policy Institute
Government Contractors


Overview
Lance E. Gibbons focuses his practice on advising clients on the specific workplace implications of federal, state, and local
labor and employment laws, with a particular emphasis on the nondiscrimination and affirmative action requirements
enforced by the Labor Department's Office of Federal Contract Compliance Programs (OFCCP). Lance reviews every client
affirmative action plan to ensure regulatory compliance, accuracy, and strategy, anticipating the larger legal implications
of the information contained in the data analyses.


Lance has more than 15 years of experience counseling and representing employers on matters before the OFCCP,
the U.S. Equal Employment Opportunity Commission (EEOC), and other federal, state, and local workplace regulatory
and enforcement agencies. Lance provides his clients with a full range of advice and counsel on workplace legal and
compliance requirements, including:
 •     Advising and counseling clients on all workplace compliance requirements applicable to federal government
       contractors
       Preparing OFCCP desk audit submissions and developing strategic responses to requests for additional information
       Preparing, advising, and representing clients during OFCCP on-site audits and negotiating with OFCCP to resolve
       alleged violations
      Conducting self-critical analyses of compensation data
                                                                                                                              1
  Case 1:20-cv-01387-AJT-JFA Document 37-4 Filed 02/02/21 Page 165 of 214 PageID# 1516
Lance E. Gibbons
                                                                                                               Littler

     Advising and counseling clients on compliance with the National Labor Relations Act (NLRA)
     Conducting statistical disparity analyses for reductions in force
     Developing training programs for HR professionals and management personnel regarding obligations as
     government contractors
     Developing and implementing compliant diversity and inclusion programs

He also has significant experience using statistical and data analysis tools in the contexts of employer hiring decisions and
applicant tracking, promotions, and terminations.


Prior to joining Littler, Lance was a partner at a Washington, D.C., firm where he advised employers on managing
their workplace compliance risks. He also served as assistant general counsel to a related employer association. He
previously served as senior counsel to Member Peter C. Schaumber at the National Labor Relations Board from 2004 to
2007. As such, he offered advice on legal issues and policy questions and represented Member Schaumber in agency
proceedings.


*Not licensed to practice law in Virginia.




Education
J.D., Ohio Northern University College of Law, 1999, With Distinction
B.S., Miami University, 1996


Bar Admissions
District of Columbia
Pennsylvania


Courts
U.S. Supreme Court
U.S. Court of Appeals, D.C. Circuit


Publications & Press
EEOC Provides Additional Guidance on EEO-1Component 2 Information
Littler ASAP
July 2, 2019


                                                                                                                           2
   Case 1:20-cv-01387-AJT-JFA Document 37-4 Filed 02/02/21 Page 166 of 214 PageID# 1517
Lance E. Gibbons
                                                                                                        Littler

OFCCP Issues Opinion Letter on Whether Pell Grants Trigger Federal Contractor Status for Colleges
Littler ASAP
June 5, 2019

Big Law Pay Equity Gets Closer Scrutiny by Small Labor Agency
Bloomberg Law
April 26, 2019

Court Orders EEOC to Collect Compensation Data by September 30, 2019
Littler ASAP
April 25, 2019

The Latest Developments in Federal Labor Policy
Littler Podcast
April 15, 2019

EEOC Files Plan to Require EEO-1Compensation Data Reporting by September 30, 2019
Littler ASAP
April 4, 2019

EEOC Portal Opens for EEO-1Filings With No Word on Employee Compensation
Littler ASAP
March 19, 2019

OFCCP Releases Section 503 Focused Review FAQs
Littler ASAP
March 8, 2019

Dear Littler: Can We Add New Categories to Our Employment Self-Identification Forms for Sex and Race?
Dear Littler
March 5, 2019

OFCCP Continues Efforts to Maximize Efficiency and Increase Transparency with Three New Directives
Littler ASAP
December 3, 2018

Federal Contractors Face Closer Scrutiny
IndustryWeek
September 17, 2018




                                                                                                              3
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Lance E. Gibbons
                                                                                                        Littler

A More Modern Approach to OFCCP's Functional Affirmative Action Programs?
Littler ASAP
September 17, 2018

OFCCP Mails Second Round of CSALs
Littler ASAP
September 10, 2018

DOL Enforcement Agency Sends Contractor Audit Alerts
Bloomberg Law
September 10, 2018

Littler's WPI Labor Day Report 2018
Littler WPI Report
August 30, 2018

Something Old, Something New: Contractor Recognition and AAP Verification on the Horizon at OFCCP
Littler ASAP
August 28, 2018

2018 VETS-4212 Filing Season is Here; Deadline is September 30
Littler ASAP
August 22, 2018

OFCCP Focused Reviews Coming in FY 2019
Littler ASAP
August 14, 2018

OFCCP Acting Director Promises Clear Guidance and Consistency While Laying out a Program of Carrots and Sticks
Littler ASAP
August 6, 2018

Change at the Top: Ondray Harris Stepping Down as OFCCP Director
Littler ASAP
July 26, 2018

Littler Adds Shareholder Lance Gibbons in Washington, D.C.
Littler Press Release
July 25, 2018




                                                                                                                 4
   Case 1:20-cv-01387-AJT-JFA Document 37-4 Filed 02/02/21 Page 168 of 214 PageID# 1519
Lance E. Gibbons
                                                                                                       Littler

Littler Provides In Depth Review of Recent OFCCP Developments
May 17, 2012

Littler Rings in New Year with New Shareholders: Leading Labor and Employment Firm Elevates 13 Associates
Littler Press Release
January 4, 2012

Federal Contractors Get New Scrutiny
SHRM Magazine
November 1, 2011

OFCCP Issues Final Veterans Regulations for Government Contractors
Littler Insight
August 9, 2007


Speaking Engagements
Government Contractor Update I An Energized OFCCP Changes Compliance Requirements and Enforcement Standards
Tysons Corner, VA
August 20, 2019

Attention Government Contractors: OFCCP Update
2019 Mid-Atlantic Employer Conference, Bethesda, MD
June 7, 2019

Attention Government Contractors: OFCCP Policy Changes
2019 Contract Security Washington Summit, Washington, DC
June 6, 2019

Help Wanted: How Artificial Intelligence and Technology Are Changing Talent Acquisition Compliance
2019 Executive Employer Conference, Phoenix, AZ
May 9, 2019

Federal Contractor Roundtable
2019 Littler Executive Employer Conference, Phoenix, AZ
May 8, 2019

The Latest Developments in Federal Labor Policy: A Workplace Policy Institute Briefing
April 9, 2019




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Lance E. Gibbons
                                                                                             Littler

Preparing for an Increase in OFCCP Audit Activity: CSALs, Focused Reviews, VERPs, and More
March 20, 2019

Understanding the Impact of OFCCP's Recent Policy Changes on Federal Contractors
Association of Builders and Contractors Webinar
March 19, 2019

Diversity Symposium 2018
West Virginia University
September 25, 2018

Federal Contractor Compliance Update
Pittsburgh ILG — National Industry Liaison Group
September 14, 2017

OFCCP Compliance Initiatives for 2015
Space Coast ILG — National Industry Liaison Group
January 28, 2015

OFCCP Compliance Initiatives for 2015
Pittsburgh ILG — National Industry Liaison Group
December 9, 2014

OFCCP's New Compliance Review Scheduling Letter and Attached Itemized Listing
October 22, 2014

Revisiting Internet Applicant in 2014
32nd Annual National Conference — ILG, Washington, DC
August 6, 2014

The OFCCP's New Veterans and Disability Regulations
Pittsburgh ILG — National Industry Liaison Group
June 10, 2014

The Risks and Rewards of Self-Identification
Ohio ILG — National Industry Liaison Group
May 13, 2014

OFCCP's Final Regulations for Veterans and Individuals with Disabilities
March 18, 2014



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                                                                                            Littler

OFCCP's New Affirmative Action Regulations for Veterans and Individuals with Disabilities
Space Coast ILG - National Industry Liaison Group
October 14, 2013

OFCCP Final Veterans and Disabilities Regulations
October 10, 2013

OFCCP Final Veterans and Disabilities Regulations
October 8, 2013

Recent Development in OFCCP Compliance
Greater Houston ILG - National Industry Liaison Group
April 18, 2013

Manage Hiring Compliance
Meeting of the Minds 2013 - ADP, Las Vegas, NV
March 17-20, 2013

Workplace Diversity and Discrimination Claims
Denver, CO
June 14, 2012

OFCCP Update: Dealing with an Aggressive Regulatory and Enforcement Agenda
Littler Mendelson, Scottsdale, AZ
May 11, 2012

A Littler OFCCP Webinar Series
March 2, 2010




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  Littler Adds Chris Gokturk in Northern
  Virginia
  February 26, 2019


  TYSONS CORNER, Va. (February 26, 2019) – Littler, the world’s largest employment and labor law
  practice representing management, has added Chris Gokturk as a principal in its Tysons Corner,
  Va., office. Gokturk has more than 20 years of experience in compliance, enterprise risk
  management and statistical analyses.

  “Chris brings a unique skillset in conducting risk assessments, analyzing employment data and
  advising on compliance with requirements enforced by the U.S. Department of Labor’s Office of
  Federal Contract Compliance Programs (OFCCP),” said Michael McIntosh, Littler’s office managing
  shareholder in Tysons Corner. “Her experience and insights will be invaluable for our clients,
  including those pursuing government contracts as they navigate an ever-evolving landscape of
  affirmative action regulations and anti-discrimination laws.”

  Gokturk is a non-attorney consultant who specializes in helping employers understand and
  mitigate their systemic discrimination risks, and also in the development, implementation and
  defense of compliant and data-driven affirmative action programs. She is capable of consulting on
  all phases of the OFCCP compliance review process. Gokturk is also knowledgeable about
  implementation of applicant tracking and human resources information systems and can provide
  guidance to clients on issues related to talent acquisition, analyses of compensation data,
  performance management, diversity and inclusion metrics, workforce planning and restructuring,
  as well as the systems utilized to manage these functions.

  “Chris has a strong technical understanding of the systems companies use to manage employees
  and how those systems communicate with each other,” said Littler shareholder Lance Gibbons,
  who previously worked with Gokturk. “She’s highly respected by her peers and clients, and her
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  extensive experience advising on OFCCP matters, risk management and analyses of employment
  data compliments our OFCCP attorneys’ work and will further strengthen our capabilities in this
  area.”

  With a deep background in analyzing compensation and employment transactions data, as well as
  extensive experience on pay equity issues, Gokturk will work closely with Littler’s data capabilities
  team, as well as play an integral role in the analyses conducted through the Littler Pay Equity
  Assessment™.

  “Littler’s leading role in leveraging technology and data-driven insights to help employers better
  manage their workforces, as well as its depth of experience counseling government contractors
  on affirmative action and OFCCP compliance issues, was a perfect fit for me,” Gokturk said. “I’m
  excited about the opportunity Littler’s platform offers in risk assessments, pay equity audits and
  statistical analyses of employment data.”

  About Littler

  With more than 1,500 labor and employment attorneys in offices around the world, Littler
  provides workplace solutions that are local, everywhere. Our diverse team and proprietary
  technology foster a culture that celebrates original thinking, delivering groundbreaking innovation
  that prepares employers for what’s happening today, and what’s likely to happen tomorrow.

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                         Exhibit G
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Littler
Chris Gokturk
Principal


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direct: (703) 286-3159
fax: (703) 442-8428
cgokturk@littler.com



Focus Areas
Affirmative Action/OFCCP Compliance
Workplace Policy Institute
Robotics, Artificial Intelligence (Al) and Automation


Overview
Chris Gokturk assists companies in understanding and mitigating their affirmative action and systemic discrimination
risks, particularly in the areas of talent acquisition, compensation, performance management, as well as workforce
planning and restructuring.


Chris has more than 20 years of professional experience in compliance, enterprise risk management, and statistics.
She has helped clients across all major industry groups develop, implement, and defend compliant affirmative action
programs.


Chris provides a broad array of services, including:
 •     Preparing fully compliant, data-driven affirmative action programs
       Managing all phases of the Labor Department's Office of Federal Contract Compliance Programs (OFCCP)
       compliance evaluation process
      Conducting rigorous self-critical analyses of compensation data
       Designing and executing statistical analyses of employment transactions data
       Developing legally defensible diversity and inclusion metrics
       Assessing organizational compliance with talent acquisition requirements
       Assisting in implementation of applicant tracking and HRIS systems
      Conducting risk assessments in all areas related to human resources and compliance


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Chris Gokturk
                                                                                                          Littler

      Preparing and evaluating diversity metrics

She is a frequent speaker and trainer on pay equity and the requirements enforced by the OFCCP. In addition to her
practice, Chris is also an active participant in Littler's Diversity Group.


* Chris is a non-attorney Principal with the firm.




Education
B.S., West Georgia College


Publications & Press
Texas, NY Top List of States With Most Harassment Charges
Bloomberg Law
April 10, 2019

Littler Adds Chris Gokturk in Northern Virginia
Littler Press Release
February 26, 2019


Speaking Engagements
How Al and Technology are Changing the Talent Acquisition World
Tysons Corner, VA
October 16, 2019

Government Contractor Update I An Energized OFCCP Changes Compliance Requirements and Enforcement Standards
Tysons Corner, VA
August 20, 2019

EEO-1Component 2 Reporting: What You Need to Know and How to Get It Done
July 19, 2019

Attention Government Contractors: OFCCP Update
2019 Mid-Atlantic Employer Conference, Bethesda, MD
June 7, 2019




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Chris Gokturk
                                                                                                     Littler

Help Wanted: How Artificial Intelligence and Technology Are Changing Talent Acquisition Compliance
2019 Executive Employer Conference, Phoenix, AZ
May 9, 2019




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                         Exhibit H
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  Littler Adds Healthcare Industry Veteran
  William Vail
  May 6, 2019


  ATLANTA (May 6, 2019) – Littler, the world’s largest employment and labor law practice
  representing management, has added William C. Vail, Jr. as Special Counsel in its Atlanta office.
  Vail previously spent seven years at Kindred Healthcare and Kindred at Home. He most recently
  served as Division Vice President and Deputy Chief Litigation Officer of Kindred at Home, the
  nation’s largest home health and hospice provider.

  “Will brings a strong understanding of the issues and challenges facing healthcare employers,
  along with in-depth knowledge of how governing boards operate across the industry,” said L.
  Traywick Duffie, Littler’s Office Managing Shareholder in Atlanta. “Additionally, the insights gleaned
  from his time as an in-house counsel for the largest post-acute healthcare provider in the
  country, combined with his previous law firm experience, will greatly benefit our clients as we
  continue to expand the firm’s robust healthcare practice.”

  At Kindred, Vail advised on employment law compliance across a wide range of areas, including
  wage and hour, employee benefits, leave administration and disability accommodation, and
  federal procurement and contract regulations. He has resolved employment disputes across the
  country involving such issues as discrimination, harassment, retaliation, wage and hour violations,
  and breaches of noncompete agreements. Vail also has extensive experience conducting internal
  investigations, drafting employment agreements, policies and handbooks, performing due
  diligence for employment matters, and managing integration initiatives in mergers and
  acquisitions.

  “I’ve known Will for a long time and have always enjoyed working with him as a client at Kindred,”
  said Angelo Spinola, shareholder in Littler’s Atlanta office and a core member of the firm’s
  Healthcare Practice Group. “His knowledge of the unique ways that employment laws and
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  government regulation impact the companies in the healthcare sector, particularly home care
  providers, nursing homes and assisted living facilities, is important for our clients navigating such a
  highly regulated industry.”

  “Having worked closely with Littler for several years, I’ve seen firsthand that it is the gold standard
  for labor and employment law,” Vail said. “The scope of Littler’s experience across the healthcare
  industry, combined with the firm’s ability to counsel and defend healthcare employers in an
  efficient manner on the full range of issues involving the workplace, is unmatched in the industry.
  I’m excited to work with my new colleagues and to have access to Littler’s robust platform and
  resources, as well as to be a part of such a forward thinking and innovative law firm.”

  Vail received his J.D., cum laude, from the University of Kentucky College of Law and his B.A., cum
  laude, from Washington and Lee University.

  About Littler

  With more than 1,500 labor and employment attorneys in offices around the world, Littler
  provides workplace solutions that are local, everywhere. Our diverse team and proprietary
  technology foster a culture that celebrates original thinking, delivering groundbreaking innovation
  that prepares employers for what’s happening today, and what’s likely to happen tomorrow.

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  Littler Adds Shareholder Jaime Laurent in
  Los Angeles
  August 20, 2018


  LOS ANGELES (August 20, 2018) – Littler, the world’s largest employment and labor law practice
  representing management, is pleased to announce that Jaime B. Laurent has joined the firm as a
  shareholder in Los Angeles. Previously an attorney at the boutique firm Marron Lawyers, Laurent is
  the ninth shareholder to join Littler since January.

  “We’re excited to add Jaime to our deep bench of attorneys in Southern California,” said Shannon
  Boyce, office managing shareholder of Littler’s Los Angeles offices. “The regulatory landscape in
  this state poses unique challenges for employers, and Jaime’s prior background as a private
  practice attorney and as an in-house corporate attorney here in Los Angeles make him a terrific
  addition to our firm.”

  Laurent regularly defends national and international companies in general and complex civil
  litigation involving a range of labor and employment claims, including discrimination,
  misclassification and wage and hour compliance. He has extensive experience representing
  companies in various industries in independent contractor misclassification litigation and draws
  on insights gained from successfully resolving numerous litigation matters to help clients manage
  litigation risks. Laurent also advises clients on proactive risk management at an operational level,
  including drafting labor agreements and advising on best practices.

  “Littler has a great team here in Los Angeles, with a strong reputation that I’ve come to know well,”
  Laurent said. “But I was also drawn to the firm’s robust national and global platform and
  dedication to innovation in the delivery of legal services. I look forward to advancing my practice
  though Littler’s extensive platform and resources.”

  Laurent received his J.D. from Pepperdine School of Law. He earned a B.A. in political science
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  from the University of British Columbia and a B.A. in anthropology from the University of Alberta.

  About Littler

  Littler is the largest global employment and labor law practice, with more than 1,500 attorneys in
  80 offices worldwide. Littler represents management in all aspects of employment and labor law
  and serves as a single-source solution provider to the global employer community. Consistently
  recognized in the industry as a leading and innovative law practice, Littler has been litigating,
  mediating and negotiating some of the most influential employment law cases and labor
  contracts on record for over 75 years. Littler Global is the collective trade name for an
  international legal practice, the practicing member entities of which are separate and distinct
  professional firms.

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  Littler Mendelson Continues High-Profile
  Lateral Growth; JoAnna Brooks Joins in
  San Francisco
  June 17, 2013

  Seasoned Litigator Brings Extensive Class Action Experience; Follows the Arrival of Multiple Significant Lateral
  Hires
  SAN FRANCISCO, CA (June 17, 2013) – Littler Mendelson, P.C. (Littler), the world’s largest
  employment and labor law firm representing management, has added JoAnna Brooks as a
  shareholder in the San Francisco office. Brooks, previously a partner and head of the Class Action
  Practice in Jackson Lewis LLP’s San Francisco office, brings extensive class action litigation
  experience to the firm. Her arrival reflects Littler’s continued attraction of high-profile lateral
  shareholders. In the past year, the firm has added a number of prominent attorneys to its
  shareholder ranks, across multiple practice areas and geographic regions to further expand the
  firm’s national and global platform.

  “High-profile lateral recruitment is one of the keys to our continued success and we are excited
  that a top tier labor and employment practitioner of JoAnna’s caliber joins several others Littler
  has recruited over the last year,” said Thomas Bender and Jeremy Roth, co-presidents and co-
  managing directors of Littler, in a joint statement. “Littler’s global platform, innovative resources
  and depth of our subject matter expertise continue to make the firm a sought after destination for
  prominent lateral candidates.”

  While head of Jackson Lewis’s Class Action Practice in San Francisco, Brooks was involved in
  more than 50 class action litigation cases in California over the last 10 years. She advises clients
  both proactively and reactively on employment best practices, and also serves as defense counsel
  in cases involving harassment, discrimination, breach of contract, wage and hour, and unfair
  business practices. Her experience includes several complex multi-plaintiff and class action
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  litigation cases, and she has represented clients before the California Labor Commissioner,
  California Unemployment Insurance Appeals Board and California Workers’ Compensation
  Appeals Board.

  “We are pleased to have JoAnna join as the newest member of the firm and we look forward to
  her further enhancing the firm’s already strong presence in Northern California,” said Jennifer
  Walt, office managing shareholder of the firm’s San Francisco office. “Her background, including
  significant experience in the retail sector, will further strengthen our service offering to that
  industry.”

  Brooks’ arrival closely follows a high-profile group of laterals in various markets who joined Littler,
  including Don Prophete and Nikki Howell, top notch employment litigators based in Kansas City,
  Tamika Nordstrom in Atlanta, and Damon Hart in Boston. Nationally renowned labor attorneys
  Maury Baskin and Jeff Mintz also joined Littler’s Washington, D.C. and Atlanta offices, respectively,
  earlier this year. And last year, the firm successfully recruited former Jackson Lewis heavyweight
  Michael Lotito, currently co-chair of Littler’s Workplace Policy Institute.

  “Littler has consistently been recognized as a leader in the handling of complex labor and
  employment law matters,” Brooks said. “With its expansive attorney roster and deep resources
  from a knowledge management and innovative technology standpoint, joining a dynamic firm like
  Littler is a tremendous opportunity for me to serve clients in the most effective, efficient manner
  possible.”

  Brooks earned her J.D. from Georgetown University Law Center in 1995 and her B.A. from Purdue
  University in 1992. She is a member of the Bar Association of San Francisco and received an
  American Jurisprudence Award, Moot Court honors and Dean’s List honors while at Georgetown.

  About Littler Mendelson

  Littler Mendelson is the world’s largest labor and employment law firm exclusively devoted to
  representing management. With over 980 attorneys and 57 offices throughout the U.S. and
  globally, Littler has extensive resources to address the needs of U.S.-based and multi-national
  clients from navigating domestic and international employment laws and labor relations issues to
  applying corporate policies worldwide. Established in 1942, the firm has litigated, mediated and
  negotiated some of the most influential employment law cases and labor contracts on record.

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         Unfair Competition and Trade Secrets



         A company's trade secrets, proprietary information and business relationships are among its most
         valuable assets. In today's fluid economy, protecting these essential resources is critical to
         maintaining a company's competitive edge. Similarly, hiring from the competition in a manner that
         maximizes legitimate competitive advantage yet minimizes legal risk is just as important.

         Our attorneys who practice Unfair Competition and Trade Secrets have a keen understanding of
         both the legal and business needs to respond quickly and effectively to situations involving
         intellectual capital and customer relationships. We appreciate that clients confronted with decisions
         about these critical business issues need a trusted advisor who can provide them with solutions
         that are both strategic and practical. Our deep subject matter experience, size, and geographic
         reach, coupled with an intense focus on superior client service and the highest quality work, enable
         us to handle a wide spectrum of matters, both as advisors and litigators.


         Advisors
         We provide strategic advice to employers on all critical aspects of the employment relationship,
         from initial hiring to maintaining security and monitoring of highly confidential information, to
         departure. We work closely with clients to draft agreements containing post-employment
         restrictions that are tailored to their particular needs, with a view towards maximizing the likelihood
         of multi-jurisdictional enforceability-both nationally and often internationally. We also counsel
         clients on securing their confidential information and customer relationships when key employees
         leave the company and join a competitor.

         When a company wants to hire an employee from a competitor, we can provide advice on the best
         approach so that a client can maximize legitimate competitive advantage and minimize litigation
         risk.

         We work with both national and multi-national clients and thus are familiar with the nuances, not
         only of state and federal laws including, for example, the Computer Fraud and Abuse Act and the
          Economic Espionage Act, but also of the laws and requirements of key countries around the
         globe. Littler has its own international offices and also works with affiliated law firms in Europe,
         Canada, Mexico, Central and South America, Asia and other parts of the world.




https://www.littler.com/practice-areas/unfair-competition-and-trade-secrets                                              1/5
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          Litigators
         A signature of our practice is helping our clients avoid costly litigation through a variety of
         preventive measures, such as conducting unfair competition and trade secret audits and
         coordinating forensic examinations and investigations. Yet, when litigation is appropriate and
         necessary, our lawyers move quickly, whether the matter at hand involves TRO/injunction
         proceedings, expedited discovery or a full-blown trial on the merits. Thanks to our numbers, our
         subject matter experience and our geographic footprint, we are able to work with our clients with
         minimal business interruption on their part to identify the issues, gather the evidence, prepare the
         necessary court papers, and move quickly to a hearing or trial. We work extensively with forensic,
         economic and industry consultants and experts and with our own internal eDiscovery attorneys
         and support personnel to streamline the investigation and discovery process.


         We also work closely with clients to reach creative settlements that result in positive business
         outcomes. We are frequently sought out by the ABA and BNA and other prominent national legal
         organizations to share our knowledge of unfair competition and trade secret litigation strategies.




               Contact Our Team
               Complete the form to see how our attorneys may be able to assist you


                             REQUEST A PROPOSAL (IREQUEST-PROPOSAL?PRAC_AREA=UNFAIR
                                          COMPETITION AND TRADE SECRETS)


                   VIEW ALL TEAM MEMBERS (/LAWYER-SEARCH?PRAC_AREA=34033)




          Unfair Competition and Trade Secrets Contacts




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         James M. Witz (lP-eOP-le/james-m-witz).
         Shareholder
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         jwitz@littler.com (mailto:jwitz@littler.com).
          (312) 795-3246




          Ready to meet the whole team?
             VIEW ALL TEAM MEMBERS (/LAWYER-SEARCH?PRAC_AREA=34033)



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      April 16, 2020
      Joint DOJ & FTC Antitrust Guidance Warns EmP-loy:ers About Colluding and Sharing
      ComP-etitive Data During the COVID-19 Crisis (/P-ublication-P-ress/P-ublication/joint-doj-ftc­
      antitrust-guidance-warns-emP-loy:ers-about-colluding-and).
      April 14, 2020
      Rhode Island Joins the New EnglandTrend with a Law Placing Substantial Limitations on
      NoncomP-ete Agreements (/P-ublication-P-ress/P-ublication/rhode-island-joins-new-england­
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      August 12, 2019
      Ontario, Canada: Enforcing NoncomP-etition and Nonsolicitation Clauses UP-ublication­
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      August 12, 2019




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      April 20, 2020
      Ontario: Enforcing NoncomP-etition and Nonsolicitation Clauses (/P-ublication­
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      August 9, 2019
      Who should sign an NDA? (LP-ublication-P-ress/P-ress/who-should-sign-nda).
      July 15, 2019
      TheTOP-Trends in Home Care for 2019 (/P-ublication-P-ress/P-ress/toP--trends-home-care-2019).
       January 6, 2019




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         Trade Secrets Theft: Civil Litigation and Criminal Prosecution
         Trade Secrets Protection, Enforcement and Litigation Conference - Sandpiper Partners, New York, NY
          February 26, 2019 I Denise E. Backhouse




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      Hiring a ComP.etitor's EmpJQY.ees: Minimizing,
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      Lawsuits (/hiring-comP.etitor%E2%80%99s­
      empJQY.ees-minimizing-litigation-exP.osure­
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       Submitted by Meg Felling on Mon. 03/12/2018 - 08:15
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02-05-20 I WORKPLACE EVOLUTION

Before you hire from the competition, read this
Before you recruit a rock-star employee from the competition, be sure to protect your company.




[Photo: Ryan Magslno/Unsplash]

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BY GWEN MORAN
4 MINUTE READ

In this light labor market, employees are considering their options. A 2020 report by employee engagement platform Achievers found that roughly two-
thirds of employees said they may leave their Jobs In 2020.

That's good news for companies on the lookout for talent. However, when hiring employees from competing firms, organizational leadership needs to
protect against certain risks.
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And the very reasons an employee may be attractive as a new hire—such as industry expertise and knowledge of the competition's strategies—could be
cause for concern. If a new hire shares proprietary information or violates an agreement made with a former employer, your company could face legal
consequences. "The law generally prevents a new employer from obtaining trade secrets or proprietary information of a competitor," says employment
attorney David Reischer, CEO of LegalAdvice.com, a legal services referral service. "Claims of 'tortious interference' with a business and 'misappropriation'
[of trade secrets] are typical causes of action that would be made in a lawsuit."

To help protect your company from inadvertently getting into legal or reputational hot water, be sure you put a few practices in place:


PREPARE IN ADVANCE
Adrienne Cooper, chief people officer at FitSmallBusiness.com, a business information platform, says you should do some prep work before having even
preliminary conversations with a prospective hire from a competitor. "Be very clear about what you want to bring into your organization, both a cultural
contribution from that individual, as well as their skill sets and experience, and how that's going to fit in your strategy and evolution, versus framing it as,
'Let's go poach and maybe that'll help us,' she says. It's also critical to understand employment laws in your state and any issues that may be particular to
your industry.

Manche! cautions that even preliminary conversations with a prospective hire from a competing firm can have pitfalls. Let's say you're a high-level
employee who just came out of a strategy meeting and, unbeknownst to your current employer, you've got a job interview in which the interviewer asks
you, 'Where do you see the industry going'?" Having a general discussion is one thing. "It's her expertise, it's her experience, it's her vision of the future.
But if she layers in what she knows is the next-year strategy for her current company, she's crossed the line," Manche! says. "My advice to anyone who's
doing the hiring and anyone who's being recruited is to think very clearly about what's publicly known and what's not."


ASK ABOUT AGREEMENTS
Before you recruit a talented employee who works at a competitor, ask about the agreements the employee has signed, including a non-compete
agreement, a non-disclosure agreement, and a non-solicitation agreement.

These agreements may limit the capacity or role in which the employee can work for a competitor, place restrictions on the information that is shared with
an employer, or prevent working with former customers, employees, or others.

Manche! recommends asking for copies of the agreements the prospective employee signed so you have a clear understanding of the restrictions in place.
Cooper agrees. "It is not helpful for you if the person has injunctions preventing him/her from doing work after joining your company," she says.


BEWARE OF PAST BEHAVIOR
The actions employees take—or even signal they intend to take—before leaving an employer could put your company at risk. In addition to whether the
prospect will be a good fit, examining if they've behaved improperly is another mitigating factor. "Let's say you're recruiting a salesperson, and she walks in
and says, 'Hey, by the way, every one of my clients is ready to move with me.' You need to run away, because this is someone who's pre-solicited her book
of business. That is, in every state I'm in, that's a serious violation of the governing wall," Manche! says.

Conversely, learning more about the reason the person wants to or has separated from a previous employer can be enlightening. In some cases, the
employer may have acted in such a way that the agreement in place is voided. Consult your legal counsel about such issues, especially if the person is at
a high level or has access to sensitive company data.


IMPROVE YOUR OWN PRACTICES
"It is a good idea to have a written policy in place that warns all employees not to take proprietary info and data received from previous employment,"
Reischer says. In addition, if you make an offer to the employee, make an explicit claim in the offer letter that employment may be terminated for bringing
or using or improperly disclosing confidential or proprietary information from previous employment, he recommends.

Review your practices around data management and make improvements if necessary, he adds. "Bringing a lawsuit for when an employee steals company
property is expensive and time-consuming, and always the final resort. The best way to protect company information is to limit access and track access,"
Reischer says. Be sure employees that you do hire from competitors have proper supervision and that you conduct regular check-ins to be sure they're not
using information or engaging in practices that are restricted by past agreements.



ABOUT THE AUTHOR
Gwen Moran writes about business, money and assorted other topics for leading publications and websites. She was named a Small Business Influencer Awards Top 100
Champion in 2015. 2014. and 2012 and is the co-author of The Complete Idiot's Guide to Business Plans (Alpha. 2010), and several other books More




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Focus Areas
ERISA and Benefit Plan Litigation
Class Actions
Unfair Competition and Trade Secrets
Discrimination and Harassment
Hiring, Performance Management and Termination

Overview
Danielle L. Kitson provides advice and counsel to a wide range of employers, representing their interests in a variety of
employment litigation matters in federal and state courts. She handles claims involving:
 • Wrongful termination
 • Wrongful denial of benefits
 • Constructive discharge
 • Sexual harassment, discrimination, and retaliation
 • Wage and hour claims
 • Title VII
 • The Age Discrimination in Employment Act
 • The Americans with Disabilities Act
 •     The Employee Retirement Income Security Act
 •     The Fair Labor Standards Act
 •     The Occupational Safety and Health Act
 •     The Family and Medical Leave Act
 •     Other federal and state employment laws



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Danielle L. Kitson




Prior to joining Littler Mendelson, Danielle worked in-house for a major national railway company where she served as
the primary legal advisor to the senior vice president of human resources. She counseled the company on employment
law issues and managed all employment litigation across the 23 western states in which the company operates. She
began her career as an associate with the Denver office of another firm focusing on employment advice and litigation, as
well as complex securities litigation matters.


During law school, Danielle was a judicial extern for the Honorable Joan Humphrey Lefkow, United States District Court
Judge, Northern District of Illinois. She also served as coordinating comment editor for the Journal of Criminal Law and
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Professional and Community Affiliations
 •     Member, Colorado Bar Association
 •     Member, Nebraska Bar Association
 •     Member, American Bar Association
 •     Board Member, Denver Kids
 •     Program Chair, Federal Practice Update , 2014-2018

Recognition
 •     Named, Super Lawyer, Colorado, Super Lawyers, 2020
 •     Named, Up and Coming, Chambers USA, 2019
 •     Named, Leading Lawyers for Business, Chambers USA, 2017-2018
 •     Named, Recommended Lawyer, Labor and Employment Disputes in Defense, Legal 500 United States, 2016
 •     Order of the Coif

Education
J.D., Northwestern University School of Law, 2002, cum laude
B.A., Columbia University, 1997, cum laude

Bar Admissions
Colorado
Nebraska

Courts
U.S. Court of Appeals, 10th Circuit
U.S. District Court, District of Colorado



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Danielle L. Kitson




Publications & Press
Littler Ranked in 2019 Chambers USA Guide
Littler Press Release
April 25, 2019

Littler Ranked in 2018 Chambers USA Guide
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June 20, 2016

Enviro-Consulting Firm Escapes Damages In Corporate Raiding Case
Colorado Law Week
March 30, 2015

NewFields Prevails in Corporate Raiding Case
Southeast Green
March 20, 2015

NewFields Prevails in Corporate Raiding Case
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Littler Insight
March 18, 2013

Littler Elevates 13 Associates To Shareholder Status
Littler Press Release
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And the Class Certification Battle is Won: A Unanimous Supreme Court Reverses Rule 23(b)(2) Class Certification in Dukes
v. Wal-Mart
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June 21, 2011

Setting the Stage for a Potential Supreme Court Battle in Dukes v. Wal-Mart: A Sharply Divided Ninth Circuit Attempts to
Articulate New Standards that Could Impact Employers
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Speaking Engagements
Socially Acceptable Solicitation: Restrictive Covenants in the Age of Social Media
2019 Rocky Mountain Employer Conference, Denver, CO
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Lorman Webinar
April 25, 2019

Hiring a Competitor’s Employees: Minimizing Your Litigation Exposure
Rocky Mountain Employer Conference
September 21, 2018

Hiring a Competitor’s Employees: Minimizing Litigation Exposure, Defending Competitor Lawsuits
Strafford Webinar
February 28, 2018

Conducting Efficient, Effective, and Lawful Workplace Investigations
2017 Littler Rocky Mountain Employer Conference
October 3, 2017

Federal Practice Update 2017
Colorado Bar Association CLE Webinar
June 16, 2017

Annual Tea and CLE: How To Build a Book of Business
Colorado Women's Bar Association
November 18, 2016



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2016 Rocky Mountain Employer Conference
Denver, CO
September 21, 2016

The 2016 Defend Trade Secrets Act - Protecting Your Business's Most Valuable Assets
Littler, Denver, CO
September 21, 2016

2016 Federal Practice Update
Colorado Bar Association
June 17, 2016

2015 Federal Practice Update
Colorado Bar Association
June 5, 2015

Strategic Considerations for Big Law Attorneys & Their In-House Counsel Client Representatives
Denver, CO
July 24, 2014

2014 Federal Practice Update
Colorado Bar Association
June 20, 2014

Books & Book Chapters
 •     The Practitioner’s Guide to Colorado Employment Law, Chapter 5, Federal Laws Addressing Discrimination in
       Employment Based on Disability




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in this issue:                   How Not To Hire Employees From A Competitor
APRIL 2005                       By Paul Kennedy


A recent million dollar plus     A major retailer recently learned the hard way       handbook to Saks for review. After Saks' in­
judgment highlights the          how not to hire a strong-performing                  house counsel opined that the restriction was
importance of hiring people      employee from a competitor. In a recent              not enforceable, the road was cleared for
for their skills and not for     decision from a Virginia Circuit Court, James,       earnest recruitment and hiring of the
                                 Ltd. v. Saks Fifth Avenue, Inc., et al., Saks was    salesmen. To ease concern about any post­
their confidential business
                                 hit with a $1.6 million judgment for its             employment restraints, and to induce them to
information especially when      actions when it hired a sales employee               defect, Saks agreed to indemnify them - in
hiring employees working for     directly from a competitor, disregarding the         writing - in any ensuing litigation. Further,
direct competitors.              employee's non-compete obligation.                   Saks was aware of the manner and timing of
                                                                                      the salesmen's resignations from James.
                                 T he case illustrates the pitfalls of attempting
                                 to leapfrog the relationship-building process        Significantly, during the recruiting phase, the
                                 to obtain a competitive advantage.                   salesmen provided Saks with James'
                                                                                      confidential information such as the
                                 Factual Background                                   employee handbook that James had expressly
                                                                                      labeled as confidential. Further, while still
                                 Saks sought to boost its high-end sales of           employed with James, both salesmen
                                 men's clothing which had lagged behind sales         physically removed written records regarding
                                 of women's clothing. To achieve its goal, Saks       their customers from James' premises for the
                                 looked to hire two high-powered salesmen             purpose of soliciting the customers when the
                                 from an exclusive men's clothing store that          salesmen became employed with Saks. Saks
                                 was located in the same shopping mall. One           had knowledge of these actions and looked
                                 of the targeted salesmen had generated               the other way
                                 upward of $1 million in annual sales of              When the time came to announce their
                                 mostly custom-made men's clothing. T he              departures, one salesman - the million
                                 other salesman had typically generated just          dollar producer - resigned, but James was
                                 shy of $1 million. Both maintained lists of          able to convince the second salesman to stay
                                 clients that included information such as size       Upon commencing his employment with
                                 measurements and fabric preferences                  Saks, the million dollar producer began
                                 developed over years of selling experience.          soliciting business from the clientele he
                                 Both had been long-time employees of James,          developed at James - with considerable
                                 with one salesman having worked there for            success as Saks had hoped.
                                 more than 15 years.
                                                                                      Two months after his departure and following
                                 Mindful of the investment in its client              declining sales, James sued Saks and its
                                 goodwill     and    relationships,  James            former salesman. It brought claims for the
                                 implemented an employee handbook                     breach of the restrictive covenant, breach of
                                 containing a non-compete provision that              the duty of loyalty, tortious interference,
                                 precluded for three years employment with            conversion and violation of Virginia's business
                                 any competitor within a one-mile radius of           conspiracy statute.
                                 the store location. Each employee who                After a bench trial, the court found in James'
                                 signed an acknowledgement of the handbook            favor. Concluding that the restrictive covenant
                                 agreeing to its terms received additional            was reasonable and enforceable, the court
                                 consideration such as a cash bonus and a             ordered that the salesman be enjoined from
                                 clothing allowance.                                  working at Saks' location in the same mall as
                                 During Saks' courtship of the two James              James for a period of three years following the
                                 salesmen, one of them raised a concern about         Court's Order. In its decision, the court
                                 the non-compete obligation and provided the          rejected Saks' argument that the employee

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     handbook - armed with disclaimer language                              information and not bring any such                                  involvement in the timing and manner of
     - was not a binding contract insofar as the                            information with them. Employers should                             resignation - particularly with more than
     restrictive covenant was concerned.                                    consider adopting policies that the company                         one employee going to the same new
     Further, the court determined that the former                          does not condone or participate in                                  employer - may smack of conspiracy.
     salesman had breached his fiduciary duty to                            compromising third parties' legitimate                            While the Saks v. James case demonstrates a
     James by disclosing confidential company                               business interests or misappropriating                            worst case scenario, employers are well
     information to Saks. Since Saks encouraged                             anyone's trade secrets. Employers should                          advised to consider these issues during the
     and supported the salesman's actions, the                              ensure that such a policy is set forth in an                      hiring and entry phase of any relationship with
     court held Saks jointly and severally liable for                       employee handbook and mention it in offer                         a new employee coming from a competitor.
     the salesman's breach of his duty.                                     letters to new employees, who should then                         The consequences of not doing so, as Saks
                                                                            provide written acknowledgement of their                          learned, can be expensive.
     In addition, the court found that Saks and the                         understanding and agreement to the policy.
     salesman willfully and maliciously conspired                           Further protection is gained from periodically
     to injure James' business. Among the evidence                                                                                            Paul Kennedy is a shareholder in Littler
                                                                            reiterating the policy. It is important for a
     considered, the court found persuasive several                         company to create a culture built on respect                      Mendelson's Washington, D.C. Office. If you
     emails illustrating Saks' desire to hire the
                                                                            for the proprietary information of itself and                     would like further information, please contact
     salesman to obtain James' clients, as well as the                      others.
     possibility that the loss of these two salesmen                                                                                          your Littler attorney at 1.888.Littler,
     might cause James to go out of business given                        · Avoid upfront indemnity agreements                                info@littler.com, or Mr. Kennedy at
     the substantial revenue they represented for                           Evidence of Saks'            pre-employment                       pkennedy@littler.com.
     James. In the end, the court awarded                                   agreement to indemnify the departing
     $548,611 in compensatory damages, an                                   employee showed its anticipation of, and
     amount that was trebled to $1,654,833 based                            willingness to deal with, litigation as well as
     on Virginia's conspiracy law. The court also                           its desire to induce the salesmen to accept
     intended to award attorneys' fees to James.                            the job offer without any financial risk
                                                                            stemming from James' attempt to enforce the
     Even if Saks mounts a successful appeal, the                           non-compete obligation. Entering into such
     decision underscores for all employers the                             pre-employment indemnity agreements
     importance of exercising care in hiring an
                                                                            limited Saks' ability to separate itself from
     employee from a competitor. Leaming from                               responsibility for condoning the salesmens
     Saks' mistakes, here are some steps employers                          misappropriation of James' proprietary
     can take:                                                              information and client relationships. Thus,
      • Solicit and hire skills and abilities but not                       pre-employment indemnity agreements
        client information and relationships                                create substantial risks both as evidence and
        Saks saw these high-powered salesmen (and                           as a financial obligation.
        more importantly their client lists) as a
                                                                          • Document limitations on new employees
        means to effect its strategy to enhance sales of                    with restrictive covenants Assuming the
        high-end men's clothing. The evidence                               invalidity of the non-compete provision,
        showed that Saks simply wanted the                                  Saks took no steps to limit the former James'
        salesmen to transplant their customers.                             salesman's activities. Instead of cautioning
        Employers are well advised in the face of                           him not to capitalize on client relationships
        post-employment restrictions to hire based                          developed at James' expense, Saks condoned
        on skills and abilities to generate revenue,
                                                                            and even encouraged the salesman to do so.
        and not as a shorthand way to capture a
                                                                            It gambled and lost in a big way. A better
        competitor's customers.                                             approach is to limit a new employee's
      • Get advice from independent counsel                                 activities in soliciting former customers and
        Saks' in-house counsel's legal opinion about                        build a data trail of new leads for him or her
        the validity of the non-compete provision                           to get started in establishing new
        was in full display - uncloaked from any                            relationships.        In this way, a new
        privilege - because it was provided to the                          salesperson's success is best attributable to
        salesmen before they joined Saks outside of                         hard work and ability rather than theft.
        any attorney-client relationship. Not only
                                                                          • Avoid the resignation process Saks had
        did the court disagree with counsel's                               knowledge of the departing employees'
        conclusion, but the opinion showed that                             coordination and timing of their resignation
        Saks had willfully disregarded James'
                                                                            from James. It did so on the heels of the
        legitimate business interests on the                                salesmen's representations to Saks that they
        assumption that the non-compete was                                 had taken customer information from James
        unenforceable.                                                      while still employed. The impact of this
      • Set up entry barriers to competitors' trade                         evidence was to show that Saks was more
        secrets To diffuse claims that a hiring                             interested in the transition of client
        decision was made to siphon a former                                relationships than the salesmen's skills.
        employer's    confidential    information,                          Accordingly, while a company can certainly
        companies should caution new employees to                           work with arriving employees to
        refrain from using their former employer's                          accommodate their start dates, any deeper

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      Case
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                Littler                              SAP °
                RECENT DEVELOPMENT




         Court Finds Texas Company Stole Trade
         Secrets after Hiring Employee from
         Competitor
         May 30, 2012


         In late May, after a three-week trial, a Houston federal court jury ruled M3 Technology, Inc. had
         misappropriated trade secrets from innovative engineering software provider AspenTechnology,
         Inc., infringed copyrights, and illicitly interfered with AspenTech's non-compete agreement with a
         former employee, an expert on refinery efficiency and head of AspenTech's R&D Division.

         AspenTech sued the former employee and M3 in April 2010, four months after the employee
         resigned. AspenTech asserted the former employee violated a 1997 non-compete by prematurely
          joining M3, a direct competitor formed by another former AspenTech employee. The non-compete
         prohibited "competition" for 12 months post-employment without AspenTech's written
         permission. Texas law, which has grown increasingly favorable to enforcement of non-competes
         from 1992 to 2012, governed.

         The dispute between AspenTech and the departing employee settled before trial, and included a
         consent permanent injunction with liquidated damages.

         The jury was charged by District Judge David Hittner to consider the evidence for or against
         tortious interference, misappropriation, and copyright infringement by M3. The trial evidence
         showed M3 did not possess specific knowledge about a product (PIMS) designed to maximize
         refinery efficiency before the ex-employee arrived. Aspen claimed it spent $28 million to develop
         PIMS over 13 years.

         Ultimately, AspenTech successfully persuaded the jury that M3 used secrets brought from
         AspenTech to compete improperly. The jury awarded AspenTech both actual and punitive damages.




https://www.littler.com/publication-press/publication/court-finds-texas-company-stole-trade-secrets-after-hiring-employee             1/2
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         This case demonstrates the risks of hiring from competitors without a rigorous risk assessment and
         protocol for rejecting the use of a prior employer's trade secrets.



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IN-DEPTH DISCUSSION




MAY 2, 2016                Trade Secrets Finally Get Federal Law Protection

                           BY SCOTT MCDONALD AND JACKIE JOHNSON



                           UPDATE: On May 11, 2016, President Obama signed the
                           Defend Trade Secrets Act into law.

                           On April 27, 2016, Congress passed the Defend Trade Secrets Act of 2016
                           (S.1890) 1 (DTSA) and sent it to President Obama, who has indicated he will
                           sign it into law. 2 The DTSA, which will take effect on the day it is signed,
                           will provide a new federal court civil remedy for acts of trade secret
                           misappropriation occurring on or after the enactment date. The passage of
                           the DTSA means trade secret owners finally have a truly uniform federal law
                           under which to pursue trade secret misappropriation claims.

                           This article discusses trade secret misappropriation, outlines the provisions of
                           this new law, and offers some practical takeaways for employers.



                           Trade Secret Misappropriation - How Big a Problem is it?

                                       "There are only two categories of companies affected
                                       by trade-secret theft: those that know they've been
                                       compromised and those that don't know yet... "


                                       -Eric Holder, former US. Attorney Genera/.3




                               S. 1890. 114th Cong. (2016) (enacted). available at https//wwwcongress gov/bill/114th-congress/senate­
                               bill/1890
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                               Research Service. April 22.2016. available at https//wwwfas org/sgp/crs/secrecy/R43714.pdf




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The cost of intellectual property theft to American businesses has been estimated at more than $300 billion
a year.4 Trade secret theft by employees is a significant part of this problem. It is generally much easier for an
employee with access to trade secrets in the course of employment to take and use a company's trade secrets
for unauthorized purposes than it is for an outside party to do so. One recent survey indicated that 79% of
employees leaving certain positions like finance, sales, and marketing, took data that belonged to their employer
without permission, and 56% of the individuals surveyed did not believe there was anything criminal about using
a competitor's trade secrets. 5 Statistics like these indicate the issue is one every employer with trade secrets to
protect should pay close attention to.

While most states follow the Uniform Trade Secrets Act (UTSA), there are still significant variations in the law and
how it is applied from state to state because the states were free to modify the model statute. Many have done
so through language changes while others have simply interpreted it differently. 6 And, of even more significance,
there are differences in evidentiary standards, discovery rules, and procedural mechanisms for pursuing trade
secret claims from state to state.7

These differences in trade secret protections among states have created a complicated maze for employers
to navigate. Further difficulties often arise when the parties or witnesses are in different states or the
misappropriating party destroys the evidence of misappropriation or takes it out of the country.8 The DTSA
will provide a new route for trade secret owners that should help address many of these problems and give
employers more options to consider.

The operative provision of the 2016 Defend Trade Secrets Act provides:

            An owner of a trade secret that is misappropriated may bring a civil action under this
            subsection if the trade secret is related to a product or service used in, or intended for use in,
            interstate or foreign commerce.


The DTSA is an amendment to the Economic Espionage Act (EEA), 18 U.S.C. §1831, et seq., 9 which has been
around since 1996, but until now was primarily a criminal law enforcement statute that did not provide for a
private right of civil action. The DTSA now provides for civil claims and original (but not exclusive) jurisdiction in
federal court over claims brought under the statute.

There are several key features to the DTSA of particular interest to employers. The DTSA:

    • Provides uniform definitions for "trade secrets" and "misappropriation" that are generally consistent with
      the Uniform Trade Secrets Act but with a few differences.

4   2013 U.S. Report of the Commission on the Theft of American Intellectual Property, available at http//www.ipcommission.org/report/ip_commission_
    report_052213 pdf.
5   Press Release.Symantec (Feb.6.2013). available at https//www.symantec.com/about/newsroom/press-releases/2013/symantec_0206_0l.
6   The UTSA has been adopted in all states except New York. Massachusetts. and arguably North Carolina (which has adopted a very similar law): see
    Malsberger. Trade Secrets A State-by-State Survey (BNA/ABA 5th Edition 2014).
7   David S. Almeling, Four Reasons to Enact a Federal Trade Secrets Act. Fordham Intellectual Property.Media & Entertainment Law Journal XIX.3 (2009). at 774;
    see also. S. Rept. 114-220. at 2-3 ("Although the differences between State laws and the UTSA are generally relatively minor. they can prove case-dispositive
    they may affect which party has the burden of establishing that a trade secret is not readily ascertainable.whether the owner has any rights against a party
    that innocently acquires a trade secret.the scope of information protectable as a trade secret. and what measures are necessary to satisfy the requirement
    that the owner employ "reasonable measures" to maintain secrecy of the information." See also. Yeh. "Protection of Trade Secrets Overview of Current Law and
    Legislation." supra note 3. p.9.
8   Yeh. "Protection of Trade Secrets Overview of Current Law and Legislation." supra note 3. p.22. (quoting Senator Coons· comment that "[f]ederal courts are
    better suited to working across state and national boundaries to facilitate discovery. serve defendants or witnesses. or prevent a party from leaving the
    country." News Release. Senators Coons. Hatch Introduce Bill to Combat Theft of Trade Secrets and Protect Jobs (Apr. 29.2014.
9   The quoted provisions will be inserted in the EEA at 18 U.S.C. § 1836(b)



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  • Allows for a civil action in federal courts, providing a uniform set of procedural and evidentiary rules (the
    Federal Rules of Civil Procedure and Rules of Evidence).
  • Allows for the seizure of trade secrets from an alleged misappropriator without notice or an evidentiary
    hearing in extraordinary circumstances.
  • Provides for a variety of different remedies including injunctive relief (for actual and threatened
    misappropriation). damages (under a variety of different theories). and exemplary damages (up to two
    times the amount of damages).
  • Limits injunctive relief that can be awarded to avoid conflicts with state law limitations regarding
    noncompete contracts and other restraints of trade.
  • Allows a prevailing party to recover attorneys' fees under certain conditions.
  • Provides protection from prosecution for whistleblowers and retaliation claimants.
  • Requires that employers provide employees notice of the whistleblower protection in order to preserve the
    ability to recover attorneys· fees or exemplary damages.
  • Does not preempt or eliminate state law claims and remedies related to trade secrets, or modify other
    federal laws on intellectual property or unauthorized computer access.
  • Has a three-year statute of limitations that applies a discovery rule.
  • Addresses international trade secret theft and economic espionage.



Uniform Definitions
The DTSA retains most of the definition of "trade secrets" used in the Economic Espionage Act. which generally
follows the UTSA definition. Under this definition. the term "trade secrets" covers "all forms and types of"
information, regardless of how stored, where:


         the owner thereof has taken reasonable measures to keep such information secret; and
         the information derives independent economic value, actual or potential, from not being
         generally known to. and not being readily ascertainable through proper means by another
         person who can obtain economic value from the disclosure or use of the information; ...


The DTSA adds definitions for "misappropriation" and "improper means" to the Economic Espionage Act.

Under the DTSA definition. the term "misappropriation" tracks the UTSA and divides misappropriation into
two categories: (1) improper acquisition and (2) improper use or disclosure. More specifically, it provides that
"misappropriation" means:

     1) acquisition of a trade secret of another by a person who knows or has reason to know that the trade
        secret was acquired by improper means: or
     2) disclosure or use of a trade secret of another without express or implied consent by a person who
       a) used improper means to acquire knowledge of the trade secret; or
       b) at the time of disclosure or use, knew or had reason to know that his/her knowledge of the trade
          secret was
           i.   derived from or through a person who had utilized improper means to acquire it;

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                ii. acquired under circumstances giving rise to a duty to maintain its secrecy or limit its use; or
                iii. derived from or through a person who owed a duty to the person seeking relief to maintain its
                     secrecy or limit its use; or
           c) before a material change of his or her position, knew or had reason to know that it was a trade secret
              and that knowledge of it had been acquired by accident or mistake.


The DTSA states that "improper means" includes theft, bribery, misrepresentation, breach or inducement of a
breach of a duty to maintain secrecy, or espionage through electronic or other means, but does not include
reverse engineering, independent derivation, or any other lawful means of acquisition.




Uniform Procedures and Evidentiary Standards
The DTSA provides that the U.S. district courts have original jurisdiction over civil actions brought under the law.
It is notable that this statement of jurisdiction is not exclusive. This may create issues as to whether pleading a
claim under the DTSA is compulsory in certain circumstances if it is going to be preserved, even if the party is
attempting to litigate only state law claims in state court.10 This issue aside, employers will still have the ability
to capitalize on uniformity advantages of the DTSA because as long as the action is brought in a federal court,
the Federal Rules of Civil Procedure and Federal Rules of Evidence will control instead of state procedural and
evidentiary rules.

To avoid unnecessary disputes related to discovery protections, the statute expressly states that a court may
not authorize or direct the disclosure of any information the owner asserts to be a trade secret unless the court
allows the owner the opportunity to file a submission under seal that describes the interest of the owner in
keeping the information confidential. And, providing information relating to a trade secret to the government or
a court in connection with a prosecution under the DTSA constitutes no waiver of trade secret protection unless
the trade secret owner expressly consents to such waiver.




Seizure Feature
A unique feature of the DTSA is its seizure of evidence provisions. The legislature recognized significant concerns
over the potential for trade secrets to be compromised through use that destroys the value of its secret nature
before an evidentiary hearing can be held, and the possibility of destruction of evidence or its removal from the
country by a misappropriator as soon as the person or entity learns legal action is being taken. Consequently,
the law provides for the ability of a party to, on an ex parte basis (meaning without notice to the opposing
party), apply for and secure an order from a court to have the trade secret material seized by law enforcement
authorities (state or federal) - thereby removing the trade secret information from the alleged misappropriator's
possession until an evidentiary hearing can be held.

However, the DTSA also expressed the sense of Congress that it is important when applying this seizure
mechanism to balance the need to prevent or remedy misappropriation against both (a) legitimate interests of
the party accused of wrongdoing and (b) the need to avoid interrupting the business of third parties. The seizure

10   See. eg, Allied Erecting and Dismantling Co v. Genesis Equipment & Manufacturing. Inc. 805 F.3d 701. 708-709 (6th Cir. 2015) ("A final judgment on the merits
     of an action precludes the parties or their privies from relitigating issues that were or could have been raised in that action.")(quoting Federated Dep't Stores.
     Inc v. Mo1tie. 452 U.S 394. 398. 101 S. Ct 2424. 69 L.Ed. 2d 103 (1981)): Fed. R Civ. P 13(a)(l)-(a)(l)(A) ("A pleading must state as a counterclaim any claim that­
     at the time of its service-the pleader has against an opposing party if the claim (A) arises out of the transaction or occurrence that is the subject matter of
     the opposing party's claim. . ." (emphasis added)).

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mechanism is an extraordinary remedy and has several safeguards. These safeguards include the requirement
to show "extraordinary circumstances" such as evidence that a normal court order would not be complied
with by the alleged misappropriator, or that immediate irreparable injury will occur absent seizure, and that
the risk of harm to the business is greater than that to the misappropriator or third parties. The entity alleging
misappropriation must also show it is likely to prevail on the merits. In addition, the entity cannot have publicized
the requested seizure.

The seizure order must contain provisions protecting the confidentiality of the information, provide guidance to
law enforcement officials executing the seizure on their scope of authority, and require the applicant to post a
bond or other security. An evidentiary hearing is then set to determine whether the seizure order should remain
in place. The applicant must prove the elements to sustain the seizure.

The DTSA contains provisions prohibiting publicity of the seizure that might damage the alleged misappropriator.
There are special provisions covering materials held in the custody of the court as well, such as rules regarding
the storage medium, steps to be taken to protect the confidentiality of the materials seized, and appointment
of a special master to handle logistical matters. And, a party or a person who claims to have an interest in the
subject matter seized may make a motion at any time, which may be heard ex parte, to encrypt any
material seized.

Abuse of the seizure mechanism has consequences. A party that can prove it was damaged by a wrongful or
excessive seizure order can potentially obtain lost profits, costs of materials, loss of goodwill, punitive/exemplary
damages and attorneys' fees.




Injunctive Relief Standards
The DTSA expressly provides for injunctive relief as a remedy to prevent any actual or threatened
misappropriation "on such terms as the court deems reasonable." It allows for an injunction requiring a party to
take affirmative actions to protect a trade secret. And, under exceptional circumstances that render an injunction
inequitable, the future use of the trade secret can be conditioned on the payment of a reasonable royalty to the
trade secret owner for as long a period of time as the misappropriators could have been prohibited from using
the trade secret.

However, there are also some unique limitations to injunctive relief under the DTSA. The DTSA provides that an
injunction under the statute may not prevent a person from entering into an employment relationship, and any
conditions or limitations placed on an individual's employment as a result of an injunction must be based on
evidence of threatened misappropriation and not "merely" the fact that the individual knows certain information.
This signals a limitation on the use of the inevitable disclosure doctrine as it has been applied in
some jurisdictions.

In addition, the injunction cannot conflict with an applicable state law prohibiting restraints on the practice of
a lawful profession, trade or business. This is clearly intended to create some deference to state noncompete
statutes such as the law in California that would prohibit or put significant limits on actions that restrain an
employee's employment options.11



11   Cal. Bus. & Prof. Code§ 16600.




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Whistleblower/Retaliation Claim Immunity Protections
The DTSA contains a provision designed to protect whistleblowers. Specifically, it provides that an individual
shall not be held criminally or civilly liable under any federal or state trade secret law for the disclosure of a trade
secret that is made "in confidence" to a federal, state, or local government official, either directly or indirectly,
or to an attorney, provided that it is disclosed "solely for the purpose of" reporting or investigating a suspected
violation of law, or is made in a complaint or other document filed in a lawsuit or other proceeding filed under
seal so that it is not disclosed to the public.

The law also contains an anti-retaliation provision. Under the DTSA, an individual who files a lawsuit for retaliation
stemming from the employer's suspected law violation may disclose the trade secret to his/her attorney and use
the trade secret information in the court proceeding, provided the individual files any document containing the
trade secret under seal, and does not disclose the trade secret, except pursuant to court order.



Notice Requirement
The DTSA provides that employers must give notice of the immunity provisions of the law described above
in any contract or agreement with an employee that governs the use of a trade secret or other confidential
information. An employer will be deemed to be in compliance with this notice requirement if it provides a cross­
reference to a policy document provided to the employee that describes the employer's reporting policy for a
suspected law violation.

If an employer does not comply with the notice requirement described above, the employer may not be awarded
exemplary damages or attorneys' fees under the statute in an action against an employee who misappropriates
trade secrets. The notice obligation for contracts applies only to contracts that are entered into or updated
after the date of enactment of the DTSA. Consequently, the law does not require employers to replace existing
contracts with new ones. However, for existing employees, even if an existing contract is not replaced or
modified, notice of a policy amendment applicable to the employee that provides notice of the immunity
protection is still advisable.

Notably, the DTSA's definition of "employee" for these protections is expansive. It defines employee to include not
only ordinary employees but also "any individual performing work as a contractor or consultant for an employer."
This suggests that there is a need to examine not only ordinary employee policy documents for purposes of the
statutory notice but also independent contractor and consultant agreements.




No Preemptive Effect
The DTSA has no preemptive effect on other trade secret protection laws. It is part of the Economic Espionage
Act, which already provides that it "shall not be construed to preempt or displace any other remedies, whether
civil or criminal, provided by United States Federal, State, commonwealth, possession, or territory law for the
misappropriation of a trade secret, or to affect the otherwise lawful disclosure of information by any Government
employee under section 552 of title 5 (commonly known as the Freedom of Information Act)." The DTSA
confirms that it retains this limitation by stating that "[n]othing in the amendments made by this section shall be
construed to modify the rule of construction under section 1838 of title 18, United States Code, or to preempt any
other provision of law."

The DTSA expressly provides that it will not be construed to be "a law pertaining to intellectual property" for
purposes of any other act of Congress (presumably intended to distinguish it from federal patent, trademark,

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and copyright laws). And, while there are whistleblower and retaliation claimant protections in the DTSA. the
DTSA is also clear in stating that nothing in its protections will be construed to "authorize, or limit liability for, an
act that is otherwise prohibited by law. such as unlawful access of matter by unauthorized means." This would
presumably include conduct such as trespass, ordinary theft, or unauthorized access to a computer system that
would violate the Federal Computer Fraud and Abuse Act.12




Statute of Limitations
A civil action under the DTSA may not be commenced later than three years after the date on which the
misappropriation is discovered or by the exercise of reasonable diligence should have been discovered. For these
purposes, "a continuing misappropriation constitutes a single claim of misappropriation."

This single-claim construction that triggers the running of the statute of limitations is the same construction used
in the UTSA. Consequently, there is a considerable body of law to help guide employers on the timing issues it
creates. However, this does not mean that the issue is without wrinkles. The knowledge and intent elements in
the definition of "misappropriation" have created some difficult issues with the statute of limitations under the
UTSA. and those will likely carry through to the DTSA.13




Enhanced Focus on International Trade Secret Theft
A significant part of the congressional focus on trade secret laws that gave birth to the DTSA was concern over
international economic espionage.14 There is no uniformly applicable international law or treaty that specifically
addresses the protection of trade secrets, and the protections that do exist within the rules of the World Trade
Organization and similar bodies have significant weaknesses.15 Some have argued that "the United States has not
consistently received cooperation from international jurisdictions in protecting trade secrets in part because it
does not have its own federal civil statute to reference in encouraging the adoption and enforcement of similar
legislation by its treaty partners.''16 The DTSA remedies this problem.

There are also a number of features in the DTSA (beyond the importance of its existence as a federal law
protecting trade secrets) that are designed to help focus on and address the international theft issue. The seizure
feature is expressly designed to be used "in instances in which a defendant is seeking to flee the country...",
as well as in other circumstances.17 And, the DTSA requires the Attorney General to make a biannual report to
the House and Senate Judiciary Committees on international trade secret theft affecting U.S. companies. The
report is to include recommendations for legislative and executive actions to address the problem along with
educational material for U.S. companies to help protect themselves and to provide a means for U.S. companies to
report any theft occurring outside the United States.


12   18 US.C §1030.et seq
13   See e.g.. Cypress Semiconductor Corp v Superior Court. 163 Cal. App. 4th 575 (2008).
14   See Yeh. "Protection of Trade Secrets Overview of Current Law and Legislation.· supra note 3. p. 1 (citing Cyber Espionage and the Theft of US. Intellectual
     Property and Technology Hearings Before the House Energy & Commerce Comm. Subcomm on Oversight and Investigations. 113th Cong. 1st Sess. (2013):
     Economic Espionage and Trade Secret Theft Are Our Laws Adequate for Today's Threats? Hearings Before the Senate Judiciary Comm. Subcomm. on Crime
     and Terrorism.113th Cong. 2d Sess. (2014): Trade Secrets Promoting and Protecting American Innovation. Competitiveness and Market Access 1n Foreign
     Markets Hearings Before the House Judic;ary Comm. Subcomm on Courts. Intellectual Property and Internet. 113th Cong. 2d Sess. (2014)).
15   Id. at 11-15. 16-18 (discussing current administration initiatives to address the international problem).
16   Trade Secrets Promoting and Protecting American Innovation. Competitiveness and Market Access in Foreign Markets Hearings Before the House Judiciary
     Comm. Subcomm on Courts. Intellectual Property and Internet. 113th Cong. 2d Sess. (2014) (statement of Thaddeus Burns. Senior Counsel. General Electric.on
     behalf of the Intellectual Property Owners Association). see also. Yeh. "Protection of Trade Secrets Overview of Current Law and Legislation." p. 20.
17   S. Rept 114-220.at 6.

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Practical Takeaways
Employers looking to take advantage of the new options provided under the DTSA should consider the
following practical measures:
  1. Examine contracts and confidential information protection policies with employees and independent
     contractors to evaluate the need for notice language regarding the DTSA whistleblower and retaliation
     claimant protections. Inclusion of this language can help preserve remedies for misappropriation.
 2. Examine contracts covering confidential information and/or trade secrets and consider the use of savings
    clause language to help safeguard rights provided under the DTSA.
 3. Examine applicable state law options in the most likely states for a legal action involving your company
    (e.g., the location of the principal place of business), and identify in advance any substantive and procedural
    advantages of the state law versus the new federal law (DTSA) so that a decision on which option to
    pursue (state or federal court action) can be made more quickly when need for injunctive relief arises.
 4. Examine hiring and on-boarding procedures to make sure that reasonable steps are being taken to avoid
    newly hired employees bringing trade secrets of a prior employer into the workplace or using them.
 5. Examine employee termination and exit processing procedures to ensure appropriate protocols are in place
    to secure the return of confidential and trade secret information that might be in a departing employee's
    possession or control, and to identify criteria indicative of the possible need to pursue a seizure order.
 6. Consider establishing an identification process to flag in advance trade secret information that is of the
    highest priority to protect, and that might require the pursuit of a seizure order if misappropriated.
  7. If international theft is a concern, monitor the biannual reports from the Attorney General to Congress and
     the recommendations and educational materials generated by this process, and evaluate reporting options
     to be pursued so that the company's industry is appropriately represented in any future congressional
     evaluations and developments on the issue.




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                RECENT DEVELOPMENT




          Recent Study Reveals Troubling Amount of
          Employee Misuse and Theft of Company
          Data
         March 19, 2013

         A recent studY. by independent data privacy
         research firm Ponemon Institute of 3,317
         individuals in six industrialized countries found that
         employees are moving intellectual property,
         including trade secrets, outside their companies in
         all directions.


         Over half of those surveyed admitted they had
         emailed business documents to their personal
         email accounts; 41% said they do this at least once
         a week. The same percentage of respondents confessed they downloaded company IP to
         personally-owned tablets or smartphones. A majority of those surveyed did not believe this was
         "wrong." The most common justification for data misuse was that "it's not hurting the
         company." 59% of U.S. survey respondents believed it would be fine for a software developer to re­
         use source code he created for a prior employer, even without permission (a higher percentage
         than in the U.K., France, China, or South Korea). Furthermore, 37% of the employees polled
         reported they use file-sharing apps (such as Google Docs™ or Dropbox™ ) in the cloud, without
         permission from their employers. The majority of survey respondents admitted they did not take
         any steps to delete the data after transferring it. Thus, when employees leave, they may retain
         confidential information, without malice or even forethought. Half of the survey respondents admit
         they left employment with portions of their former employer's confidential information, and 40%
         say they will use it in their new jobs.




https://www.littler.com/publication-press/publication/recent-study-reveals-troubling-amount-employee-misuse-and-theft               1/2
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         This survey exposes several possible risks for employers, including: (a) as companies lose
         employees, they may also be losing trade secrets to competitors; and (b) as they hire employees,
         they may be unwittingly receiving the benefit of unfairly retained trade secrets. 51% of the
         employees polled reported: "My company doesn't strictly enforce its policies."


          Employers can take several steps to attempt to reduce these risks. One way to minimize the risk of
         losing proprietary information to former employees is to implement-and enforce-formal training
         policies for management and employees surrounding data security and privacy. Employers should
         also consider establishing procedures to monitor and regulate employee access privileges.
          Likewise, having employees sign well-drafted non-disclosure agreements during employment
         should help employers combat the loss of company data (including trade secrets) after employees
         depart.


         Photo credit: dra schwartz




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